                                                                            PROTO,REOPEN,STAYED
                           United States District Court
                    Eastern District of Wisconsin (Green Bay)
                CIVIL DOCKET FOR CASE #: 1:08−cv−00488−WCG

DeKeyser et al v Thyssenkrupp Waupaca Inc                     Date Filed: 06/04/2008
Assigned to: Chief Judge William C Griesbach                  Jury Demand: Plaintiff
Case in other court: USCA DeKeyser, et al 10/08/12, 12−3306   Nature of Suit: 710 Labor: Fair Standards
                     USCA Dekeyser 05/16/16, 16−2159          Jurisdiction: Federal Question
Cause: 29:201 Fair Labor Standards Act
Plaintiff
Ryan DeKeyser                                 represented by John Gordon Rudd , Jr
                                                             Zimmerman Reed PLLP
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                                                             80 S Eighth St
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      Case 1:18-cv-01193-WCG Filed 09/07/17 Page 1 of 64 Document 1-1
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Plaintiff
Thomas Cooper                        represented by John Gordon Rudd , Jr
                                                    (See above for address)
                                                    LEAD ATTORNEY
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                                                 Kelly A Lelo
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                                                 T Joseph Snodgrass
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                                                 Patricia Agnes Bloodgood
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                                                 Shawn M Raiter
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Plaintiff
Harley Granius                       represented by John Gordon Rudd , Jr
                                                    (See above for address)
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      Case 1:18-cv-01193-WCG Filed 09/07/17 Page 2 of 64 Document 1-1
                                                   LEAD ATTORNEY
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Plaintiff
Carlo Lantz                          represented by John Gordon Rudd , Jr
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                                                    LEAD ATTORNEY
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                                                   Shawn M Raiter
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED


V.
Defendant
Thyssenkrupp Waupaca Inc             represented by Joseph Louis Olson
doing business as                                   Michael Best & Friedrich LLP
Waupaca Foundry Inc                                 100 E Wisconsin Ave − Ste 3300
                                                    Milwaukee, WI 53202−4108
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                                                    Email: jlolson@michaelbest.com
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                                                   Paul E Benson
                                                   Michael Best & Friedrich LLP
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      Case 1:18-cv-01193-WCG Filed 09/07/17 Page 3 of 64 Document 1-1
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                                                         ATTORNEY TO BE NOTICED


Date Filed   #   Page Docket Text
06/04/2008   1        COMPLAINT (Summons(es) issued) against Thyssenkrupp Waupaca Inc filed
                      by Harley Granius, Ryan DeKeyser, Carlos Lantz, Thomas Cooper. Consent
                      Forms Distributed for Magistrate Judge Patricia J Gorence. Jury demand;
                      (Filing Fee PAID $350).(cav) (Additional attachment(s) added on 6/9/2008: #
                      1 Civil Cover Sheet) (tlf).
06/12/2008   2        CERTIFICATE of Interest by Harley Granius, Ryan DeKeyser, Carlos Lantz,
                      Thomas Cooper. (Attachments: # 1 Certificate of Service)(Snodgrass, T)
06/12/2008   3        Refusal to Jurisdiction by US Magistrate Judge by Harley Granius, Ryan
                      DeKeyser, Carlos Lantz, Thomas Cooper. (Attachments: # 1 Certificate of
                      Service)(Snodgrass, T)
06/12/2008   4        ATTACHMENTS Consent to Become a Party Plaintiff by Harley Granius,
                      Ryan DeKeyser, Carlos Lantz, Thomas Cooper re 1 Complaint,. (Attachments:
                      # 1 Certificate of Service)(Snodgrass, T)
06/16/2008   5        ATTACHMENTS Consent to Become a Party Plaintiff for Mark Krejcarek by
                      Harley Granius, Ryan DeKeyser, Carlos Lantz, Thomas Cooper re 1
                      Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
06/19/2008   6        ATTACHMENTS Consent to Become a Party Plaintiff for Edward Hubbell
                      by Harley Granius, Ryan DeKeyser, Carlos Lantz, Thomas Cooper re 1
                      Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
06/20/2008   7        NOTICE of Appearance by Mitchell W Quick on behalf of Thyssenkrupp
                      Waupaca Inc. Attorney(s) appearing: Mitchell W. Quick, Paul E. Benson,
                      Joseph L. Olson (Quick, Mitchell)
06/20/2008   8        STIPULATION Of The Parties Regarding Service of Process, The Deadline
                      for Filing Responsive Pleadings, Amendments to the Case Caption and the
                      Parties' Rule 26(f) Conference by Thyssenkrupp Waupaca Inc. (Quick,
                      Mitchell)
06/20/2008   9        PROPOSED Order Regarding Service of Process, The Deadline For Filing
                      Responsive Pleadings, Amendments to the Case Caption and the Parties' Rule

     Case 1:18-cv-01193-WCG Filed 09/07/17 Page 4 of 64 Document 1-1
                    26(f) Conference filed by Thyssenkrupp Waupaca Inc. (Quick, Mitchell)
06/20/2008   10     CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Quick,
                    Mitchell)
06/23/2008   11     Refusal to Jurisdiction by US Magistrate Judge by all defendants. (Quick,
                    Mitchell)
06/23/2008   12     ORDER approving 8 Stipulation filed by Thyssenkrupp Waupaca Inc., signed
                    by Judge William C. Griesbach on 06−23−2008. Defendants shall have until
                    July 11, 2008 to answer or otherwise plead in response to Plaintiffs Complaint.
                    The name Dan Warpinski is stricken from the Summons, and all future
                    references to Carlos Lantz will be to Carlo Lantz. See Order for full detail. (cc:
                    all counsel)(Griesbach, William)
06/25/2008   13     ATTACHMENTS Consent to Become a Party Plaintiff for Terry Rew, Mark
                    Myers, Daniel Potter, Davis Dollhopf, Justin Reible, Shawn Kehoe, Samuel
                    Sheldon, James Malek, Thomas Graves and Bruce Tomaszewski by Harley
                    Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1 Complaint,.
                    (Attachments: # 1 Certificate of Service)(Snodgrass, T)
06/27/2008   14     ATTACHMENTS Consent to Become a Party Plaintiff for Billy Kinser, Jr. by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
07/09/2008   15     ATTACHMENTS Consent to Become a Party Plaintiff for Shannon
                    Bromagen and Jason McKenzie by Harley Granius, Ryan DeKeyser, Carlo
                    Lantz, Thomas Cooper re 1 Complaint,. (Attachments: # 1 Certificate of
                    Service)(Regan, Anne)
07/10/2008   16     STIPULATION of the Parties Regarding the Deadline for Filing Responsive
                    Pleadings by Thyssenkrupp Waupaca Inc. (Attachments: # 1 Text of Proposed
                    Order)(Quick, Mitchell)
07/10/2008   17     ATTACHMENTS Consent to Become a Party Plaintiff for Randall Gamble by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
07/11/2008          MARGIN ORDER approving 16 Stipulation filed by Thyssenkrupp Waupaca
                    Inc., and granting Defendants an extension until July 16, 2008, to answer or
                    otherwise plead in response to Plaintiffs Complaint, signed by Judge William
                    C. Griesbach on 07−11−2008. (cc: all counsel)(Griesbach, William)
07/11/2008   18     ATTACHMENTS Consent to Become a Party Plaintiff for Curt Raygo by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
07/16/2008   19     ATTACHMENTS Consent to Become a Party Plaintiff for Mark Hanson,
                    John Prill and Michael Linsmeier by Harley Granius, Ryan DeKeyser, Carlo
                    Lantz, Thomas Cooper re 1 Complaint,. (Attachments: # 1 Certificate of
                    Service)(Snodgrass, T)
07/16/2008   20     ATTACHMENTS Consent to Become a Party Plaintiff for Raymond Barber
                    by Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)


    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 5 of 64 Document 1-1
07/16/2008   21     MOTION to Dismiss Notice of Motion and Motion to Dismiss the Second,
                    Third and Fourth Causes of Action and a Portion of the First Cause of Action
                    of Plaintiffs' Complaint by Thyssenkrupp Waupaca Inc. (Benson, Paul)
07/16/2008   22     BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 21 MOTION to
                    Dismiss Notice of Motion and Motion to Dismiss the Second, Third and
                    Fourth Causes of Action and a Portion of the First Cause of Action of
                    Plaintiffs' Complaint. (Benson, Paul)
07/21/2008   23     ATTACHMENTS Consent to Become a Party Plaintiff for Richard M. Smith
                    by Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint, 20 Attachments. (Attachments: # 1 Certificate of Service)(Regan,
                    Anne)
07/22/2008   24     ATTACHMENTS Consent to Become a party Plaintiff for Mark Allen
                    Sandage and James E. Spurling II by Harley Granius, Ryan DeKeyser, Carlo
                    Lantz, Thomas Cooper re 1 Complaint,. (Attachments: # 1 Certificate of
                    Service Consent to Become a party Plaintiff for Mark Allen Sandage and
                    James E. Spurling II)(Snodgrass, T)
07/28/2008   25     ATTACHMENTS Consent to Become a Party Plaintiff for Wesley Ball, Gary
                    Butts and Shane Devine by Harley Granius, Ryan DeKeyser, Carlo Lantz,
                    Thomas Cooper re 1 Complaint,. (Attachments: # 1 Certificate of Service
                    Consent to Become a Party Plaintiff for Wesley Ball, Gary Butts and Shane
                    Devine)(Snodgrass, T)
07/31/2008   26     ATTACHMENTS Consent to Become a Party Plaintiff for Donnie Lee
                    Vaughn Jr. by Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper
                    re 1 Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
08/05/2008   27     ATTACHMENTS Consent to Become a Party Plaintiff for Jeremy Brown by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
08/11/2008   28     AFFIDAVIT of Anne T. Regan in Opposition to Defendant's Motion to
                    Dismiss. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                    D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G (Part 1), # 8 Exhibit G (Part 2), #
                    9 Exhibit G (Part 3))(Regan, Anne)
08/11/2008   29     BRIEF in Opposition filed by Harley Granius, Ryan DeKeyser, Carlo Lantz,
                    Thomas Cooper re 21 MOTION to Dismiss Notice of Motion and Motion to
                    Dismiss the Second, Third and Fourth Causes of Action and a Portion of the
                    First Cause of Action of Plaintiffs' Complaint. (Attachments: # 1 Certificate of
                    Service)(Regan, Anne)
08/11/2008   30     MOTION for Protective Order Sanctions and Corrective Notice by all
                    plaintiffs. (Snodgrass, T)
08/11/2008   31     BRIEF in Support filed by all plaintiffs re 30 MOTION for Protective Order
                    Sanctions and Corrective Notice. (Snodgrass, T)
08/11/2008   32     AFFIDAVIT of T. Joseph Snodgrass in Support of Plaintiffs' Motion for
                    Protective Order, Sanctions, and Corrective Notice. (Attachments: # 1
                    Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit)(Snodgrass, T)
08/11/2008   33

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 6 of 64 Document 1-1
                    CERTIFICATE OF SERVICE by all plaintiffs of Notice of Motion & Motion
                    for Protective Order, Sanctions and Corrective Notice, Brief, Affidavit of T.
                    Joseph Snodgrass and Exhibits A−E (Snodgrass, T)
08/12/2008   34     ATTACHMENTS Consent to Become a Party Plaintiff for Clinton Moore by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
08/18/2008   35     ATTACHMENTS Consent to Become a Party Plaintiff for Paul Carver and
                    Jacob Day by Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper
                    re 1 Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
08/25/2008   36     ATTACHMENTS Consent to Become a Party Plaintiff for Dwaine Graves by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
08/28/2008   37     REPLY BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 21
                    MOTION to Dismiss Notice of Motion and Motion to Dismiss the Second,
                    Third and Fourth Causes of Action and a Portion of the First Cause of Action
                    of Plaintiffs' Complaint. (Attachments: # 1 Certificate of Service)(Benson,
                    Paul)
08/28/2008   38     ATTACHMENTS Consent to Become a Party Plaintiff for Jason VanHoose
                    by Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
09/04/2008   39     BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 30 MOTION for
                    Protective Order Sanctions and Corrective Notice. (Benson, Paul)
09/04/2008   40     DECLARATION of Paul E. Benson. (Attachments: # 1 Exhibit A, # 2 Exhibit
                    B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Benson, Paul)
09/04/2008   41     CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
09/09/2008   42     MOTION to Certify Class by Harley Granius, Ryan DeKeyser, Carlo Lantz,
                    Thomas Cooper. (Attachments: # 1 Text of Proposed Order)(Regan, Anne)
09/09/2008   43     BRIEF in Support filed by Harley Granius, Ryan DeKeyser, Carlo Lantz,
                    Thomas Cooper re 42 MOTION to Certify Class. (Regan, Anne)
09/09/2008   44     AFFIDAVIT of Anne T. Regan in Support of Plaintiffs' Motion for
                    Conditional Certification. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                    Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit g, # 8
                    Exhibit h, # 9 Exhibit I, # 10 Exhibit j, # 11 Exhibit K, # 12 Exhibit L)(Regan,
                    Anne)
09/22/2008   45     ATTACHMENTS Consent to Become a Party Plaintiff for Matt Nichols by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
09/22/2008   46     REPLY BRIEF in Support filed by Harley Granius, Ryan DeKeyser, Carlo
                    Lantz, Thomas Cooper re 30 MOTION for Protective Order Sanctions and
                    Corrective Notice. (Snodgrass, T)
09/22/2008   47     AFFIDAVIT of T. Joseph Snodgrass. (Attachments: # 1 Exhibit A−D, # 2
                    Exhibit E−H, # 3 Exhibit I)(Snodgrass, T)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 7 of 64 Document 1-1
09/22/2008   48     CERTIFICATE OF SERVICE by Harley Granius, Ryan DeKeyser, Carlo
                    Lantz, Thomas Cooper (Snodgrass, T)
09/24/2008   49     ATTACHMENTS Consent to Become a Party Plaintiff for James Burns by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
10/03/2008   50     BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 42 MOTION to
                    Certify Class. (Benson, Paul)
10/03/2008   51     DOCUMENT FILED IN ERROR − SEE 58 Declaration of Paul E. Benson.
                    (Benson, Paul) Modified on 10/7/2008 (tlf).
10/03/2008   52     DECLARATION of Larry Chandler. (Benson, Paul)
10/03/2008   53     DECLARATION of Barbara Flees. (Benson, Paul)
10/03/2008   54     DECLARATION of Joey Leonard. (Benson, Paul)
10/03/2008   55     DECLARATION of Derrel Zellers. (Benson, Paul)
10/03/2008   56     DECLARATION of James Zobel. (Benson, Paul)
10/03/2008   57     CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
10/03/2008   58     DECLARATION of Paul E. Benson (Corrected version to replace Docket
                    Entry No. 51). (Benson, Paul)
10/06/2008   59     7.4 MOTION for Leave to File Instanter a Sur−Reply in Opposition to
                    Plaintiffs' Motion for Protective Order, Sanctions and Corrective Notice by
                    Thyssenkrupp Waupaca Inc. (Attachments: # 1 Sur−Reply)(Benson, Paul)
10/06/2008   60     CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
10/08/2008   61     7.4 MOTION for Protective Order Delaying Plaintiffs' from Taking a
                    Corporate Deposition Pursuant to Fed.R.Civ.P. 30(b)(6) by Thyssenkrupp
                    Waupaca Inc. (Attachments: # 1 Text of Proposed Order)(Benson, Paul)
10/08/2008   62     DECLARATION of Paul E. Benson. (Attachments: # 1 Exhibit 1, # 2 Exhibit
                    2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5)(Benson, Paul)
10/08/2008   63     CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
10/09/2008   64     ORDER granting 61 Motion for Protective Order, signed by Judge William C.
                    Griesbach on 10−09−2008. See Order for full detail. (cc: all counsel)
                    (Griesbach, William)
10/10/2008   65     BRIEF in Opposition filed by Harley Granius, Ryan DeKeyser, Carlo Lantz,
                    Thomas Cooper re 59 7.4 MOTION for Leave to File Instanter a Sur−Reply in
                    Opposition to Plaintiffs' Motion for Protective Order, Sanctions and
                    Corrective Notice Plaintiffs' Rule 7.4(b) Memorandum Opposing Defendant's
                    Rule 7.4 Expedited Non−Dispositive Motion for Leave to File Surreply.
                    (Regan, Anne)
10/10/2008   66     AFFIDAVIT of Anne T. Regan in Support of Plaintiffs' Rule 7.4(b)
                    Memorandum Opposing Defendant's Rule 7.4 Expedited Non−Dispositive
                    Motion for Leave to File Surreply. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                    # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Errata

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 8 of 64 Document 1-1
                    G)(Regan, Anne)
10/10/2008   67     CERTIFICATE OF SERVICE by Harley Granius, Ryan DeKeyser, Carlo
                    Lantz, Thomas Cooper (Regan, Anne)
10/15/2008   68     REPORT of Rule 26(f) Plan by all parties. (Attachments: # 1 Certificate of
                    Service)(Snodgrass, T)
10/20/2008   69     NOTICE of Hearing: Rule 16 Telephone Scheduling Conference set for
                    11/21/2008 09:15 AM before Judge William C Griesbach. (cc: all
                    counsel)(mec)
10/20/2008   70     REPLY BRIEF in Support filed by Harley Granius, Ryan DeKeyser, Carlo
                    Lantz, Thomas Cooper re 42 MOTION to Certify Class. (Regan, Anne)
10/20/2008   71     AFFIDAVIT of Anne T. Regan in Support of Plaintiffs' Reply Memorandum
                    Supporting Their Motion for Conditional Certification. (Attachments: # 1
                    Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                    Exhibit F, # 7 Exhibit G, # 8 Exhibit H (Part 1), # 9 Exhibit H (Part 2), # 10
                    Exhibit I)(Regan, Anne)
10/20/2008   72     DECLARATION of Gary Butts in Support of Plaintiffs' Motion for
                    Conditional Certification and Notice. (Regan, Anne)
10/20/2008   73     DECLARATION of Thomas Cooper in Support of Plaintiffs' Motion for
                    Conditional Certification and Notice. (Regan, Anne)
10/20/2008   74     DECLARATION of Ryan DeKeyser in Support of Plaintiffs' Motion for
                    Conditional Certification and Notice. (Regan, Anne)
10/20/2008   75     DECLARATION of Harley Granius in Support of Plaintiffs' Motion for
                    Conditional Certification and Notice. (Regan, Anne)
10/20/2008   76     DECLARATION of James Koschak in Support of Plaintiffs' Motion for
                    Conditional Certification and Notice. (Regan, Anne)
10/20/2008   77     DECLARATION of Carlo Lantz in Support of Plaintiffs' Motion for
                    Conditional Certification and Notice. (Regan, Anne)
10/20/2008   78     AFFIDAVIT of Chris Wennesberg in Support of Plaintiffs' Motion for
                    Conditional Certification and Notice. (Regan, Anne)
10/20/2008   79     CERTIFICATE OF SERVICE by Harley Granius, Ryan DeKeyser, Carlo
                    Lantz, Thomas Cooper (Regan, Anne)
10/27/2008   80     ATTACHMENTS Consent to Become a Party Plaintiff for Scott Husbeck by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper re 1
                    Complaint,. (Attachments: # 1 Certificate of Service)(Regan, Anne)
11/20/2008   81     NOTICE of Rescheduled Hearing: Rule 16 Telephone Scheduling Conference
                    rescheduled from 11/21/2008 to 12/3/2008 09:30 AM before Judge William C
                    Griesbach. (cc: all counsel)(mec)
11/26/2008   82     DECISION AND ORDER GRANTING IN PART AND DENYING IN PART
                    21 MOTION to Dismiss the Second, Third and Fourth Causes of Action and a
                    Portion of the First Cause of Action of Plaintiffs' Complaint filed by
                    Thyssenkrupp Waupaca Inc., signed by Judge William C. Griesbach on

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 9 of 64 Document 1-1
                    11−26−2008. Waupacas motion to dismiss is granted as to the record keeping
                    claim that is part of the second cause of action. In all other respects, it is
                    denied. See Decision for full detail. (cc: all counsel)(Griesbach, William)
12/03/2008   83     Minute Entry for proceedings held before Judge William C Griesbach: Rule 16
                    Telephone Scheduling Conference held on 12/3/2008. Discovery due by
                    9/1/2009. (mec) (Entered: 12/04/2008)
12/10/2008   84     Defendant's ANSWER to 1 Complaint, and Affirmative Defenses by
                    Thyssenkrupp Waupaca Inc.(Olson, Joseph)
12/10/2008   85     CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Olson, Joseph)
12/12/2008   86     7.4 MOTION for Protective Order Unopposed Rule 7.4 Expedited
                    Non−Dispositive Motion for Entry of a Stipulated Protective Order and
                    Stipulated Claw Back Agreement by Thyssenkrupp Waupaca Inc.
                    (Attachments: # 1 Stipulated Protective Order, # 2 Stipulated Claw Back
                    Agreement)(Benson, Paul)
12/12/2008   87     CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
12/15/2008   88     STIPULATED PROTECTIVE ORDER signed by Judge William C Griesbach
                    on 12/15/2008. (cc: all counsel)(Griesbach, William)
12/15/2008   89     STIPULATED CLAW BACK AGREEMENT ordered and entered by Judge
                    William C Griesbach on 12/15/2008. (cc: all counsel)(Griesbach, William)
12/18/2008   90     ORDER denying 30 Motion for Protective Order; finding as moot 59 Motion
                    for Leave to File Sur−Reply, signed by Judge William C. Griesbach on
                    12−17−2008. See Order for full detail. (cc: all counsel) (Griesbach, William)
12/18/2008   91     DECISION AND ORDER granting 42 Motion for Conditional Certification
                    AND Approval of Notice to Potential FLSA Plaintiffs, signed by Judge
                    William C. Griesbach on 12−17−2008. It is Ordered that counsel of record for
                    Plaintiffs are appointed as Class Action Counsel. It is further Ordered that
                    within 14 days of the date of this order Waupaca will provide the names and
                    addresses of all persons who are or were employed by Waupaca at its six
                    foundries for any time since June 4, 2005, to Plaintiffs' counsel. It is also
                    Ordered that Plaintiffs are authorized to give notice of this lawsuit to all
                    non−exempt, hourly−paid production employees, employed at any of its six
                    foundries during the period commencing three years prior to the filing of this
                    lawsuit, in the finalized notice form prepared by this Court and filed as an
                    attachment to this Order. Such notice may be sent via first class mail to the
                    conditionally−certified class and may also appear in newspapers. See Decision
                    and Order for full detail. (Attachments: # 1 Notice to Potential FLSA
                    Plaintiffs) (cc: all counsel) (Griesbach, William)
12/30/2008   92     STIPULATION to Amend Certain Language by Harley Granius, Ryan
                    DeKeyser, Carlo Lantz, Thomas Cooper. (Attachments: # 1 Proposed Order, #
                    2 Ex. A to Proposed Order, # 3 Certificate of Service)(Swanson, Kelly)
12/30/2008   93     ATTACHMENTS Correct Ex. A to Proposed Order to Amend Certain
                    Language by Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper
                    re 92 Stipulation. (Attachments: # 1 Certificate of Service)(Swanson, Kelly)
01/06/2009   94

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 10 of 64 Document 1-1
                    ORDER TO AMEND CERTAIN LANGUAGE OF THE COURT'S 12/18/08
                    DECISION AND ORDER GRANTING CONDITIONAL CERTIFICATION
                    AND APPROVING NOTICE TO POTENTIAL FAIR LABOR
                    STANDARDS ACT PLAINTIFFS, AND AMENDING CERTAIN
                    LANGUAGE OF THE NOTICE ITSELF, signed by Judge William C
                    Griesbach on January 5, 2009. (Attachments: # 1 Notice) (cc: all
                    counsel)(Griesbach, William)
01/22/2009   95     MOTION for Consideration of Certification for Interlocutory Appeal by
                    Thyssenkrupp Waupaca Inc. (Benson, Paul)
01/22/2009   96     BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 95 MOTION for
                    Consideration of Certification for Interlocutory Appeal. (Benson, Paul)
01/23/2009   97     NOTICE by all plaintiffs James A. Bauer; Roger M. Beaudo; Marty W.
                    Egerer; Eric W. Frizzell; Gregory W. Frizzell; Robert J. Gogel, Jr.; Timothy
                    M. Gustafson; Michael H. Holder; Jason E. Hollingsworth; Edward O.
                    Hubbell, III; Jerrid J. Johnson; Kenneth L. Johnson; Corre L. Kaminski; Leon
                    D. King; James R. Koontz; Jeffrey M. Kulas; George A. Meyers; Dale E.
                    Olsen; Steven R. Olsen; Duane F. Panske; John T. Peskie; Rodney J. Pizinski;
                    Timothy J. Raygo; Theodore J. Robbins; James J. Semrau; Bryan J. Smith;
                    Wendell L. Smith; Dana F. Stansfield; and Richard W. Wagner (Attachments:
                    # 1 Certificate of Service)(Regan, Anne)
01/26/2009   98     NOTICE by all plaintiffs Consents to Participate of: CHRISTOPHER M
                    ADAMS; JARED L AHL; ERIC B ALDERSON; JASON G ALLEN; BRIAN M
                    ALLYN; ZACHARY G ANDERSON; THERESA M ARNDT−LADUBEC;
                    JOHN D BALLEW; JAMES F BARDEN; RICHARD N BARTELT; JODY F
                    BAXTER JR; STEVEN M BELL II; DUANE G BEYERSDORF; CHARLES T
                    BILLINGSLEY; WILLIAM H BROCK; HOLLY R BRYAN; MARK A
                    BRZEZINSKI; DONALD L BUCKMAN; BERNARD W BYRD; RICHARD B
                    CARLISLE; WILLIAM D CARWILE JR; ANTHONY W CASTELLO; MARK D
                    CHRISTIAN; MARK CIVIK; AARON R COOK; JUSTIN D COOK; JIMMIE L
                    COUCH; TIMOTHY N CRISP; WESLEY S CRONAN; JOHN P DANIEL;
                    MERLE W DENNY JR; ADAM S DERRICK; BRYAN L DEVINE; BRADLEY S
                    DIESTLER; KRISTOPHER S DOMASZEK; JOSEPH L DURRANT; PAUL W
                    DURRANT; NICHOLAS T EDGE; CHRISTOPHER D ELLIS; TERRENCE L
                    EVRARD; JAMES A FAUGHT; DAVID L FRANTZEN; PAUL R FRETZ;
                    JIMMIE E GALLAHER; TERRY A GRAHAM; KYLE E GREENWELL;
                    MONTE E GREGORY; BRETT M GRUENWALD; THOMAS V HARDMAN;
                    CHARLES B HAWKINS; JEREMY K HIGDON; DONALD J
                    HOLLINGSWORTH JR; ROBERT E HOULE; GARY W HOWARD; PERRY A
                    HOWARD; ROGER T HOWARD; JOHNNY R HUGHES JR; BRUCE A
                    HUNT; CHRISTOPHER J HUTCHISON; THOMAS H JONES; WILLIAM A
                    JONES; TRAVIS B JORGENSEN; JEREMY L KIRKLAND; DEAN C
                    KNEPPER; JERRY R LARSON; JOSEPH E LEDUFF; RUSSELL L
                    MAHERY; ERIC S MARTIN; JOHNNY D MARTIN; WILLIAM W MARTIN;
                    TROY D MATZ; RV MCCANN; MARK J MCKENZIE; MICHAEL V
                    MERRELL; MATTHEW L MILBURN; JEREMY B MOORE; EDWARD S
                    MOSS; RICARDO MUNOZ; STEVEN R NUNN; JAMES C PATRICK;
                    RAYMOND E PAYNE; ADAM M PHILLIPS; GRANT L POSPICHAL JR;
                    RODNEY D POWERS; DANIEL V RAY; JASON R RICHARDS; STEPHEN P
                    RICHARDS; DOMICO M RILEY; CHRISTOPHER E RISLEY; ROBERT N

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 11 of 64 Document 1-1
                    RUDD; DAVID W RUDY; DAVID L SANDAGE; WILLIAM A SCHWARK JR;
                    KENNETH L SEXTON JR; KEVIN L SEXTON; MATTHEW D SIMS; RONNIE
                    L SMITHERS JR; JAMES W SMYTH JR; JASON M STALLINGS; MICHAEL
                    C STEPHENS; GREGORY P STRATHMANN; CARL D SUTTON;
                    JEFFERSON D TAYLOR; JOHN L THOMAS; TROY A TODD; JOHN H
                    TURPEINEN JR; HARRY T UNDERBERG JR; EDGAR B WALDEN; JAMIE
                    L WANINGER; GREGORY A WEISE; MARCUS R WHITTAKER II;
                    STEPHEN D WILLIAMS; KENNETH L WILLIAMSON; DANE L WINKLER;
                    BRYAN S YOUNG; and DAVID J ZAZZETTI (Attachments: # 1 Certificate of
                    Service)(Regan, Anne)
01/27/2009    99    NOTICE by all plaintiffs Consents to Participate of JAMES A.
                    BILLINGSLEY; BRIAN J. BURNETT; CHRISTOPHER J. CASE; SCOTT O.
                    DeWITT; BRANDON R. FORD; KENNETH J. GOSNELL; LARRY J.
                    KETTLEWELL; DEE M. PIERCE; and HOWELL C. ROACH, JR.,
                    (Attachments: # 1 Certificate of Service)(Regan, Anne)
01/28/2009   100    NOTICE by all plaintiffs Consents to Participate of RHONDA K. ABBOTT;
                    FELICIA F. DAKE; EDWARD F. DARVIN; REBECCA D. LEAVITT; LeROY
                    E. LEHMAN; ROGER L. NABER; KELLY G. PETERSON; BRYAN A.
                    RESCH; JESUS D. ROGUE; CLINT E. STONER; JEFFERY R. WALCHER;
                    GENE F. WENDLANDT; STEVEN M. WERNER; and DEBRA L. WILDE
                    (Attachments: # 1 Certificate of Service)(Regan, Anne)
01/29/2009   101    NOTICE by all plaintiffs Consents to Participate of SCOTT A. AUSTIN;
                    MATTHEW S. BRINKLEY; BRUCE T. BUCKINGHAM; GERALD W.
                    CHAMBERLAIN; JEFFREY S. DUROCHER; DANIEL L. FRANCIS;
                    JOSEPH V. GUARISCO; DAVID S. GUNN; WILLIAM A. HARRIMAN;
                    STEVEY D. HOPE; KENNETH L. JENKINS; NED−JOHN N. JONES; JOHN
                    J. LaCOMBE; JAMES R. LAWSON, JR.; ALEX MASIAS, JR.; ANTHONY W.
                    OWENS; JOHN A. PAGEL; JOSEPH W. RILEY; BRIAN D. STEELE; JASON
                    K. STILES; DANNY L. SWAFFORD; WILLIAM O. TINCH; JESSE D.
                    UNDERHILL; LAWRENCE W. VAN MAASTRICH, JR.; and ALYCEN A.
                    WARPINSKI (Attachments: # 1 Certificate of Service)(Regan, Anne)
01/30/2009   102    NOTICE by all plaintiffs Consents to Participate of CHRISTOPHER L.
                    APPLEGATE; TIMOTHY L. BOOKOUT; EDWARD W. BOEHMAN;
                    MATTHEW A. COREY; MURLE L. CROWE; STANLEY G. FUQUA, JR.;
                    DONALD H. GRAVES; DEVIN T. GREENE; WILLIAM J. HARRIS; PAUL W.
                    KING; WINSTON D. KING; DAVID A. McSTOOTS; MATTHEW T.
                    MUMBRUE; TRACI L. SCHAEFER; MICHAEL P. SEIBERT; MATTHEW L.
                    SILVERS; LOUIS W. WOODS; and KEITH R. YANO (Attachments: # 1
                    Certificate of Service)(Regan, Anne)
02/02/2009   103    NOTICE by all plaintiffs Consents to Participate of ROBERT W. ARNDT;
                    WILLIAM T. CALHOUN; LOUIS J. CHICH; LARRY L. COOPER JR; DAVID
                    L. DESGRANGES; BRADLEY D. EBERLE; CHAD M. GARRIGAN; KEITH A.
                    HENRY; HAROLD E. HICKS; JASON R. JOHNSON; WILLIAM A. KING;
                    MICHAEL J KOSCHAK; ROBERT E. LEE; PATRICK A. LEOPOLD;
                    DONALD W. LIGHTFOOT; JOHN M. LINDER; THOMAS E. MANDE; JOSH
                    A. MAROON; CHASITY B. MCDERMOTT; SHANE E. MENTZEL; JAMES E.
                    MOSES; JEREMY A. MURPHY; BARBARA J. NELSON; CHRISTOPHER T.
                    NELSON; ZACHERY L. PAYNE; PETER D. PEHOSKI; MICHAEL L.

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 12 of 64 Document 1-1
                    PLEMONS; JERRY L. STEIGER; JAMES M. STUMPNER; DANNY J.
                    STURGEON; and GORDON G. WILLIAMS (Attachments: # 1 Certificate of
                    Service)(Regan, Anne)
02/03/2009   104    NOTICE by all plaintiffs Consents to Participate of MICHAEL O. BLACK;
                    HEATH D. DERRICK; RALPH D. LEIGHT; CHARLIE J. ROGERS; and
                    RICHARD L. SQUIRES (Attachments: # 1 Certificate of Service)(Regan,
                    Anne)
02/04/2009   105    NOTICE by all plaintiffs Consents to Participate of ROBERT W. BERNARD,
                    JR.; MATTHEW D. HAKES; MICHAEL P. KURYLO; HANK J. LYNCH; and
                    BRIAN S. STANCHIK (Attachments: # 1 Certificate of Service)(Regan, Anne)
02/06/2009   106    NOTICE by all plaintiffs Consents to Participate of BRIANNA R.
                    ANDERSEN; JOHN S. AULL; TRAVIS W. BARNETT; MATTHEW L.
                    BAWGUS; ANTHONY J. EATON; JONATHAN R. HARDMAN; MATT J.
                    HERWALD; JOSHUA C. HURM; MALCOLM J. JACKSON; ROBERT P.
                    JOHNSON; JESSE M. MAYE; ISAAC J. McCARTY; TRAVIS J. MILLER;
                    RODNEY L. MOONEY; JOSEPH B. ROCCIA; KEN T. SCHNEIDER; SCOTT
                    R. STREMKOWSKI; CHRISTOPHER R. UECKE; MICHAEL J. VAN EPPES;
                    and NATHAN K. WININGS (Attachments: # 1 Certificate of Service)(Regan,
                    Anne)
02/09/2009   107    NOTICE by all plaintiffs Consents to Participate for GARY L. BAIN;
                    RONALD L. DAIN; EUGENE DAVIDSON, JR.; JAMES A. FRANZ;
                    NATHANIEL B. GRITNER; STEVEN J. HARRIS; JOSH E. HARDIN;
                    BRANDON D. JARVIS; DWIGHT D. KNEPPER; ROBERT W. LUCHT;
                    BENJAMIN R. LUTTER; MICHAEL P. MANASTERSKI; JAMES A. MOORE;
                    GLEN D. NADELLA; WILLIAM T. OMOHUNDRO; JASON T. POWERS;
                    ALLAN R. SANKEY; ALAN R. SCHROEDER; GOLDMAN D. SMITH, JR.;
                    MICHAEL G. SPRANGERS; RUSSELL C. TODD; MICHAEL J. WAGNER;
                    JOHN M. WILKINSON; and PAUL S. ZYNDA (Attachments: # 1 Certificate of
                    Service)(Regan, Anne)
02/11/2009   108    NOTICE by all plaintiffs Consents to Participate of DUANE J. BIELY;
                    MICHAEL G. FAHSER; JAMES A. KEMPKA; JEREMY J. PIERSON;
                    ANTHONY W. PLANTZ; TROY R. REIBLE; and EDWARD G. SMITH, JR.
                    (Attachments: # 1 Certificate of Service)(Regan, Anne)
02/13/2009   109    NOTICE by all plaintiffs Consents to Participate of CASEY G. BANKS;
                    THOMAS J. BRUNO; MICHAEL S. COOPER; JEREMY K. GALLOWAY;
                    DAVID E. GRAY; MIKE P. HIRTE; ANNETTE M. KRUGER; ANTHONY J.
                    MONTES; DANIEL A. PENDERGRASS; and CHRISTOPHER M. ROARK
                    (Attachments: # 1 Certificate of Service)(Regan, Anne)
02/17/2009   110    NOTICE by all plaintiffs Consents to Participate of KENNETH D AUSTIN,
                    KARL O BAIN, MICHAEL BARTLETT, DAVID A BEERTZER JR, MARK A
                    BEHRENT, MARK L BESKE, JAMES R CRAIG, SAMUEL T GATLIN, RAY C
                    GIGNAC, DAVID R HAKES, JULIE A HARRIS, DANIEL R JAKUPS, JUSTIN
                    E KEY, KEVIN M KIDD, JOHN N LASHLEY, DANNY R LOVINGOOD,
                    JUSTIN T MASTERSON, DARRELL N MCCARTHY, CHRISTOPHER L
                    MERTZ, CLYDE A MILLER JR, ALAN W PETRI, JAMES D PLEMONS,
                    NATHAN G REISWITZ, THOMAS P REITZ, SHANE A RUCKER, ROBERT M
                    SMITH, JEREMIAH M STURGEON, and MAX W THOMPSON (Attachments:

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 13 of 64 Document 1-1
                    # 1 Certificate of Service)(Regan, Anne)
02/17/2009   111    BRIEF in Opposition filed by all plaintiffs re 95 MOTION for Consideration
                    of Certification for Interlocutory Appeal. (Attachments: # 1 Certificate of
                    Service)(Regan, Anne)
02/19/2009   112    NOTICE by all plaintiffs Consents to Participate of GARY W. AUSTIN;
                    JAMES R. DOBIE; JAMES A. HOLMES, JR.; and DAYTANA S. RANEK
                    (Attachments: # 1 Certificate of Service)(Regan, Anne)
02/20/2009   113    NOTICE by all plaintiffs Consents to Participate of MICHAEL R. BERRY;
                    STEPHEN A. BRUCE; CALEB M. FARLEY; ANNETTE M. PIERSON;
                    JUSTIN E. PIERSON; JEFFREY PIERSON; CARL J. SIEVERT; and
                    CHRISTOPHER M. TOWNS (Attachments: # 1 Certificate of Service)(Regan,
                    Anne)
02/23/2009   114    NOTICE by all plaintiffs Consents to Participate of KEVIN F. BROCK;
                    TIMOTHY M. CAMPBELL; GEORGE M. DEADWYLER; MICHAEL M.
                    DEADWYLER; DEWEY A. DEVER; CLAYTON M. HEGERMANN; DANIEL
                    P. HIRTE; TERI P. KRUSA; DUSTIN A. LINDSEY; THOMAS G.
                    McCAULEY, JR.; RANDAL L. MORGAN; and CHARLES M. NIEMUTH
                    (Attachments: # 1 Certificate of Service)(Regan, Anne)
02/24/2009   115    NOTICE by all plaintiffs Consent to Participate of STEVEN R. DeWITT
                    (Attachments: # 1 Certificate of Service)(Regan, Anne)
02/25/2009   116    NOTICE by all plaintiffs Consents to Participate of DAVID A SEBERO and
                    JUSTIN M WAVRUK (Attachments: # 1 Certificate of Service)(Regan, Anne)
02/26/2009   117    NOTICE by all plaintiffs Consents to Participate of AVERY HUGHES;
                    DOUGLAS E. RICHARDS; MICHAEL G. RICHARDS; TIMOTHY M. VINE;
                    and JAMES M. WOLFE (Attachments: # 1 Certificate of Service)(Regan,
                    Anne)
02/27/2009   118    NOTICE by all plaintiffs Consents to Participate of STEPHEN L BYRNE;
                    LAURIE K SCHMIDT; MICHAEL S SCHULTZ; MICHAEL J SORENSON;
                    and THOMAS A WILLIAMS (Attachments: # 1 Certificate of Service)(Regan,
                    Anne)
03/02/2009   119    NOTICE by all plaintiffs Consents to Participate of BENJAMIN O BENSON;
                    WILLIAM L BRADEN; JOHN R DAKE; MONTAZZ A DICKEY; TREVOR W
                    DUNN; JERRY W HOOD; BENJAMIN L HORSTING; RONALD M HOWELL
                    III; and KENNETH E WILLIAMS (Attachments: # 1 Certificate of
                    Service)(Regan, Anne)
03/03/2009   120    NOTICE by all plaintiffs Consents to Participate of JOSHUA S DOSS and
                    MICHAEL L HAMMOND, JR., (Attachments: # 1 Certificate of
                    Service)(Regan, Anne)
03/04/2009   121    NOTICE by all plaintiffs Consents to Participate of JOSEPH E GLENETSKI
                    ROBERT A JOHNSTON and MICHAEL W THORN (Attachments: # 1
                    Certificate of Service)(Regan, Anne)
03/05/2009   122    NOTICE by all plaintiffs Consents to Participate of JOSEPH R GILLESPIE;
                    THOMAS W GUNTER; ANTWAN M KENNEDY; JONATHAN G MAAHS;
                    DERRICK A NEELEY; TONY L SLOOP; JEFFREY S STEWART; and JOE D

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 14 of 64 Document 1-1
                    VASQUEZ (Attachments: # 1 Certificate of Service)(Regan, Anne)
03/06/2009   123    NOTICE by all plaintiffs Consents to Participate of JEREMY J MARCOE and
                    THOMAS L MARSHALL (Attachments: # 1 Certificate of Service)(Regan,
                    Anne)
03/06/2009   124    REPLY BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 95
                    MOTION for Consideration of Certification for Interlocutory Appeal.
                    (Benson, Paul)
03/06/2009   125    CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
03/09/2009   126    NOTICE by all plaintiffs Consents to Participate of JOHNATHAN C CHASE;
                    MICHAEL J COURTNEY; JOHN J CUMMINGS; EDWARD S CURTIS;
                    JEREMIAH R ELANDT; HOY T GARRETT JR.; MONTANA R GRAHAM;
                    PATRICK J HAGEN; JIMMY P HERRERA; MICHAEL L JOHNSON; BRIAN
                    L KEENAN; NICHOLAS L KITOWSKI; JOSEPH S LEWANDOWSKI; LARRY
                    G LOCKE; JIM B MCCALLISTER; CHARLES E MCCOY; KURT A
                    MICHALIK; CHRISTOPHER A NORMAN; NICHOLAS D PAYNE;
                    CHARLES E SLATER; MICHAEL R SIMMONS; AARON L STRAHL;
                    MICHAEL J WHITE; TOD C WOOLDRIDGE; STEVE L WILLERSON SR.;
                    and MICHAEL A WROBLEWSKI (Attachments: # 1 Certificate of
                    Service)(Regan, Anne)
03/10/2009          Docket Annotation. Court notified by Atty. Regan that Steve Willerson, Sr.
                    was included in 126 Notice in error and is not a party to this case. (mec)
03/12/2009   127    NOTICE by all plaintiffs Consent to Participate of KENNY L. STOKES
                    (Attachments: # 1 Certificate of Service)(Regan, Anne)
03/20/2009   128    ORDER denying 95 Motion to Certify an Interlocutory Appeal, signed by
                    Judge William C. Griesbach on 03−20−2009. As the Court finds that the
                    statutory criteria of § 1292(b) are not met, Waupacas motion to certify the
                    question of whether the plaintiffs Rule 23 class action claims are barred by the
                    opt in collective action procedures of the FLSA is DENIED. (cc: all counsel)
                    (Griesbach, William)
06/10/2009   129    STATUS REPORT Joint Status Report in Advance of the June __, 2009 Status
                    Conference by Thyssenkrupp Waupaca Inc. (Attachments: # 1 Text of
                    Proposed Order)(Benson, Paul)
06/16/2009   130    NOTICE of Hearing: (cc: all counsel) Status Conference set for 6/26/2009
                    01:30 PM before Judge William C Griesbach. (cav)
06/26/2009   131    ORDER following June 26, 2009 status conference, signed by Judge William
                    C. Griesbach on 06−26−2009. See Order for full detail. The Court shall hold
                    another status conference with counsel for the parties on July 30, 2009, at 1:00
                    p.m. to address issues related to the further handling of this case. (cc: all
                    counsel)(Griesbach, William)
06/26/2009   132    Minute Entry for proceedings held before Judge William C Griesbach: Status
                    Conference held on 6/26/2009. The Court sets a further Status Conference for
                    7/30/2009 01:00 PM before Judge William C Griesbach. Parties submissions
                    are due on or before 7/20/2009. (Tape #062609) (mec) (Entered: 06/29/2009)
07/13/2009   133    Transcript Request for Status Conference Hearing on 6/26/2009. (mec)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 15 of 64 Document 1-1
07/20/2009   134    Report from Defendant on Case Management in Advance of the July 30, 2009
                    Status Conference. (Benson, Paul)
07/20/2009   135    CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Olson, Joseph)
07/20/2009   136    Report from T. Joseph Snodgrass Plaintiffs' Case Management Report in
                    Advance of the July 30, 2009 Status Conference. (Snodgrass, T)
07/20/2009   137    DUPLICATE ENTRY − Report from T. Joseph Snodgrass Plaintiffs
                    Memorandum Regarding Case Management. (Snodgrass, T) Modified on
                    7/21/2009 to reflect duplicate entry (cav).
07/20/2009   138    Report from T. Joseph Snodgrass Plaintiffs Memorandum Regarding Case
                    Management. (Snodgrass, T)
07/20/2009   139    AFFIDAVIT of T. Joseph Snodgrass in Support of Plaintiffs' Report on Case
                    Management in Advance of the July 30, 2009 Status Conference.
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                    Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Certificate of
                    Service)(Snodgrass, T)
07/22/2009   140    TRANSCRIPT of Status Conference held on June 26, 2009 before Judge
                    William C. Griesbach Court Reporter/Transcriber John W. Gales, Contact at
                    (920) 496−9313. Tape Number: 062609. Transcripts may be purchased
                    through the court reporter using the Transcript Order Form found here or
                    viewed at the court public terminal. NOTICE RE REDACTION OF
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov; Redaction Statement due 8/12/2009. Redacted
                    Transcript Deadline set for 8/24/2009. Release of Transcript Restriction set for
                    10/20/2009. (Bouressa & Gales, Reporter)
07/28/2009   141    RESPONSE filed by Thyssenkrupp Waupaca Inc re 138 Report Defendant's
                    Memorandum Regarding Case Management and Responding to Plaintiffs'
                    Memorandum Regarding Case Management (Benson, Paul)
07/28/2009   142    DECLARATION of Paul E. Benson in Support of Defendant's Memorandum
                    Regarding Case Management and Responding to Plaintiffs' Memorandum
                    Regarding Case Management. (Benson, Paul)
07/28/2009   143    CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
07/30/2009   144    Minute Entry for proceedings held before Judge William C Griesbach: Status
                    Conference held on 7/30/2009. Motions due by 9/1/2009. The Court does not
                    open discovery at this point. The Court will allow filing of counter−affidavits
                    and expert affidavits. (Tape #073009) (mec) (Entered: 08/03/2009)
08/04/2009   145    TRANSCRIPT REQUEST by Thyssenkrupp Waupaca Inc for hearing held
                    07/30/09. (cav)
08/06/2009   146    TRANSCRIPT of Status Conference held on July 30, 2009 before Judge
                    William C. Griesbach Court Reporter/Transcriber Julie A. Bouressa, Contact
                    at (920) 496−9313. Tape Number: 073009. Transcripts may be purchased
                    through the court reporter using the Transcript Order Form found here or
                    viewed at the court public terminal. NOTICE RE REDACTION OF

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 16 of 64 Document 1-1
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov; Redaction Statement due 8/27/2009. Redacted
                    Transcript Deadline set for 9/8/2009. Release of Transcript Restriction set for
                    11/4/2009. (Bouressa & Gales, Reporter)
09/01/2009   147    MOTION for Partial Summary Judgment by all plaintiffs. (Snodgrass, T)
09/01/2009   148    AFFIDAVIT of Jennifer G. Lurken in Support of Plaintiffs' Motion for Partial
                    Summary Judgment. (Snodgrass, T)
09/01/2009   149    AFFIDAVIT of T. Joseph Snodgrass in Support of Plaintiffs' Motion for
                    Partial Summary Judgment. (Snodgrass, T)
09/01/2009   150    CERTIFICATE OF SERVICE by all plaintiffs (Snodgrass, T)
09/04/2009   151    Brief in Support 147 of Motion for Partial Summary Judgment filed by all
                    plaintiffs. (mec) Modified on 12/11/2012 to unseal document (cav).
09/04/2009   152    EXHIBITS A,B,L,M,N,O,P,R,X,Z,AA,BB,FF,GG,HH,JJ to 149 Affidavit of
                    T. Joseph Snodgrass by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz. DOCUMENT FILED IN PAPER FORMAT.(mec) (Entered:
                    09/08/2009)
09/04/2009   153    SEALED DOCUMENT. EXHIBITS
                    C,D,E,F,G,H,I,J,K,Q,S,T,U,V,W,CC,DD,EE,II,KK,LL,MM,NN to 149
                    Affidavit of T. Joseph Snodgrass filed by Thomas Cooper, Ryan DeKeyser,
                    Harley Granius, Carlo Lantz. (mec) (Additional attachment(s) added on
                    3/1/2011: # 1 Exhibits Part 1, # 2 Exhibits Part 2) (aw). (Entered: 09/08/2009)
09/04/2009   154    EXHIBIT A Part 1 of 5 to the 148 Affidavit of Jennifer Lurken filed by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. DOCUMENT
                    AVAILABLE IN PAPER FORMAT.(mec) (Entered: 09/08/2009)
09/04/2009   155    EXHIBIT A Part 2 of 5 to the 148 Affidavit of Jennifer Lurken by Thomas
                    Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. DOCUMENT
                    AVAILABLE IN PAPER FORMAT.(mec) (Entered: 09/08/2009)
09/04/2009   156    EXHIBIT A Part 3 of 5 to the 148 Affidavit of Jennifer Lurken filed by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. DOCUMENT
                    AVAILABLE IN PAPER FORMAT.(mec) (Entered: 09/08/2009)
09/04/2009   157    EXHIBIT A Part 4 of 5 to the 148 Affidavit of Jennifer Lurken filed by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. DOCUMENT
                    AVAILABLE IN PAPER FORMAT.(mec) (Entered: 09/08/2009)
09/04/2009   158    EXHIBIT A Part 5 of 5 to the 148 Affidavit of Jennifer Lurken filed by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. DOCUMENT
                    AVAILABLE IN PAPER FORMAT.(mec) (Entered: 09/08/2009)
09/04/2009   159    EXHIBIT B Part 1 of 4 to the 148 Affidavit of Jennifer Lurken filed by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. DOCUMENT
                    AVAILABLE IN PAPER FORMAT.(mec) (Entered: 09/08/2009)
09/04/2009   160    EXHIBIT B Part 2 of 4 to the 148 Affidavit of Jennifer Lurken filed by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. DOCUMENT
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 17 of 64 Document 1-1
                    AVAILABLE IN PAPER FORMAT.(mec) (Entered: 09/08/2009)
09/04/2009   161    EXHIBIT B Part 3 of 4 to the 148 Affidavit of Jennifer Lurken filed by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. DOCUMENT
                    AVAILABLE IN PAPER FORMAT.(mec) (Entered: 09/08/2009)
09/04/2009   162    EXHIBIT B Part 4 of 4 to the 148 Affidavit of Jennifer Lurken filed by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. DOCUMENT
                    FILED IN PAPER FORMAT.(mec) (Entered: 09/08/2009)
09/04/2009   163    EXHIBIT C to the 148 Affidavit of Jennifer Lurken filed by Thomas Cooper,
                    Ryan DeKeyser, Harley Granius, Carlo Lantz. DOCUMENT FILED IN
                    PAPER FORMAT.(mec) (Entered: 09/08/2009)
09/04/2009   164    Document Sealed. Proposed Findings of Fact and Conclusions of Law in
                    Support of 147 Motion for Partial Summary Judgment filed by Thomas
                    Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. (mec) (Entered:
                    09/08/2009)
09/21/2009   165    NOTICE of Appearance by Patricia Agnes Bloodgood on behalf of Thomas
                    Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. Attorney(s) appearing:
                    Patricia A. Bloodgood (Attachments: # 1 Certificate of Service)(Bloodgood,
                    Patricia)
09/21/2009   166    NOTICE by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz
                    Withdrawal of Ronald S. Goldser (Attachments: # 1 Certificate of
                    Service)(Goldser, Ronald)
09/28/2009   167    STIPULATION for Extension of Time by Thyssenkrupp Waupaca Inc.
                    (Attachments: # 1 Text of Proposed Order)(Benson, Paul)
09/28/2009   168    CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
09/30/2009          MARGIN ORDER approving 167 Stipulation and GRANTING an unopposed
                    extension of time, signed by Judge William C. Griesbach on 09−30−2009.
                    Defendant's request for an extension through October 19, 2009, to file its
                    materials in response to Plaintiffs Motion for Partial Summary Judgment 147
                    is GRANTED. Plaintiffs shall have until November 20, 2009, to file their
                    Reply in Support of their Motion for Partial Summary Judgment 147 . (cc: all
                    counsel)(Griesbach, William)
10/19/2009   169    Cross MOTION for Summary Judgment by Thyssenkrupp Waupaca Inc.
                    (Benson, Paul)
10/19/2009   170    DOCKETED IN ERROR; See 171 BRIEF in Opposition filed by
                    Thyssenkrupp Waupaca Inc re 147 MOTION for Partial Summary Judgment
                    and in Support of Defendant's Cross−Motion 169 for Summary Judgment.
                    (Benson, Paul) Modified on 10/21/2009 (aw)
10/19/2009   171    BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 147 MOTION
                    for Partial Summary Judgment and in Support of Defendants Cross−Motion
                    169 for Summary Judgment (Corrected Brief to Replace 170 ). (Benson, Paul)
10/19/2009   172    STATEMENT OF FACT by Thyssenkrupp Waupaca Inc in Response to
                    Plaintiffs Statement of Proposed Findings of Fact and Conclusions of Law and
                    Waupacas Additional Facts. (Benson, Paul)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 18 of 64 Document 1-1
10/19/2009   173    Proposed Findings of Fact by Thyssenkrupp Waupaca Inc (Benson, Paul)
10/19/2009   174    DECLARATION of Paul E. Benson. (Attachments: # 1 Exhibit A − Statement
                    of Position Re: TLVs and BEIs, # 2 Exhibit B − Policy Statement on the Uses
                    of TLVs and BEIs, # 3 Exhibit C − NIOSH Respiratory Diseases Research
                    Program, Section 5.3 Silica−Induced Lung Cancer, # 4 Exhibit D −
                    Determining Silica Exposure., # 5 Exhibit E − Introduction Section of the U.S.
                    Dept. of Labor, Occupational Safety & Health Administration, Regulations
                    (Preambles to the Final Rules), Section 6 VI. Health Effects Discussion and
                    Determination of Final PEL, # 6 Exhibit F − Definition of Permissible
                    Exposure Limit, # 7 Exhibit G − Excerpts from the March 10, 2009 Deposition
                    of Bryant Esch, # 8 Exhibit H − Wage and Hour Administrators Memorandum
                    No. 2006−2 (May 31, 2006), # 9 Exhibit I − Excerpt to the Department of
                    Labor Field Operations Handbook at Section 31b13 (9/19/96))(Benson, Paul)
10/19/2009   175    DECLARATION of Paul E. Benson pursuant to Rule 56(f). (Benson, Paul)
10/19/2009   176    DECLARATION of Dr. Mark A. Roberts, M.D., Ph.D., FACOEM.
                    (Attachments: # 1 Exhibit A − Cirriculum Vitae, # 2 Exhibit B − Kolp Study,
                    Comprehensibility of Material Safety Data Sheets (1993), # 3 Exhibit C −
                    Kolp Study, Assessment of the Accuracy of Material Safety Data Sheets
                    (1995))(Benson, Paul)
10/19/2009   177    DECLARATION of Joey D. Leonard. (Attachments: # 1 Exhibit A −
                    Plaintiffs' Third Amended Notice of Videotaped Corporate Deposition
                    Pursuant to Fed. R. Civ. P. 30(b)(6))(Benson, Paul)
10/19/2009   178    DECLARATION of Bryant Esch. (Attachments: # 1 Exhibit A − Plaintiffs'
                    Third Amended Notice of Videotaped Corporate Deposition Pursuant to Fed.
                    R. Civ. P. 30(b)(6))(Benson, Paul)
10/19/2009   179    DECLARATION of Frederick Kohloff, CSHM. (Benson, Paul)
10/19/2009   180    DECLARATION of Dr. Jeffrey E. Fernandez. (Attachments: # 1 Exhibit A −
                    Curriculum Vitae, # 2 Exhibit B − List of Cases for Testimony, # 3 Exhibit C
                    − Shapiro & Wilk Analysis, # 4 Exhibit D − Kolmogorov−Smirnov Analysis,
                    # 5 Exhibit E − Sheskin Handbook, # 6 Exhibit F − DVD of Video Clips (filed
                    in hard copy with Court), # 7 Exhibit G − DVD of Video Clips (filed in hard
                    copy with Court), # 8 Exhibit H − DVD of Video Clips (filed in hard copy
                    with Court))(Benson, Paul)
10/19/2009   181    DECLARATION of Kim K. Voss, CSP. (Benson, Paul)
10/19/2009   182    DECLARATION of Barbara Flees. (Benson, Paul) Modified on 10/21/2009
10/19/2009   183    CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
10/20/2009          NOTICE of Electronic Filing Error to Attorney Benson re 176 − 182
                    Declaration, All documents should contain an electronic
                    signature.Electronically filed documents should not be scanned document
                    whenever possible. This document does not need to be re−filed; Please refer to
                    the user manuals on electronic case filing found at www.wied.uscourts.gov
                    (aw)
10/27/2009   184    MOTION Rule 7.4 Expedited Non−Dispositive Motion Regarding Plaintiffs
                    Motion for Partial Summary Judgment (ECF 147) and Defendants

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 19 of 64 Document 1-1
                    Memorandum of Law in Opposition to Plaintiffs Motion for Partial Summary
                    Judgment and in Support of Defendants Cross−Motion for Summary Judgment
                    (ECF 171) by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz.
                    (Attachments: # 1 Certificate of Service)(Rudd, John)
10/27/2009   185    AFFIDAVIT of J. Gordon Rudd, Jr. in Support of Plaintiffs' Rule 7.4
                    Expedited Non−Dispositive Motion. (Attachments: # 1 Exhibit A, # 2
                    Certificate of Service)(Rudd, John)
11/03/2009   186    RESPONSE to Motion filed by Thyssenkrupp Waupaca Inc re 184 MOTION
                    Rule 7.4 Expedited Non−Dispositive Motion Regarding Plaintiffs Motion for
                    Partial Summary Judgment (ECF 147) and Defendants Memorandum of Law
                    in Opposition to Plaintiffs Motion for Partial Summary Judgment and in
                    Support of Defendants Cross−Mot MOTION Rule 7.4 Expedited
                    Non−Dispositive Motion Regarding Plaintiffs Motion for Partial Summary
                    Judgment (ECF 147) and Defendants Memorandum of Law in Opposition to
                    Plaintiffs Motion for Partial Summary Judgment and in Support of Defendants
                    Cross−Mot. (Benson, Paul)
11/03/2009   187    DECLARATION of Paul E. Benson in Opposition 186 to Plaintiffs' Rule 7.4
                    Expedited Non−Dispositive Motion 184 . (Benson, Paul)
11/03/2009   188    CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
11/04/2009   189    NOTICE of Hearing: Telephone Conference set for 11/9/2009 03:30 PM
                    before Judge William C Griesbach. (cc: all counsel)(tlf)
11/09/2009   190    TRANSCRIPT REQUEST − LETTER from Paul E. Benson, Esq. of Michael
                    Best & Friedrich LLP requesting copy of transcript to 11/9/09 motion hearing
                    on behalf of the Defendant. (Benson, Paul) Modified on 11/10/2009 to reflect
                    correct event (cav).
11/09/2009   191    Minute Entry for proceedings held before Judge William C Griesbach: Motion
                    Hearing held on 11/9/2009 re 184 MOTION Rule 7.4 Expedited
                    Non−Dispositive Motion Regarding Plaintiffs Motion for Partial Summary
                    Judgment (ECF 147) and Defendants Memorandum of Law in Opposition to
                    Plaintiffs Motion for Partial Summary Judgment and in Support of Defendants
                    Cross−Mot MOTION Rule 7.4 Expedited Non−Dispositive Motion Regarding
                    Plaintiffs Motion for Partial Summary Judgment (ECF 147) and Defendants
                    Memorandum of Law in Opposition to Plaintiffs Motion for Partial Summary
                    Judgment and in Support of Defendants Cross−Mot filed by Harley Granius,
                    Ryan DeKeyser, Carlo Lantz, Thomas Cooper. (Tape #110909) (cav)
                    (Entered: 11/10/2009)
11/10/2009   192    TRANSCRIPT REQUEST − LETTER from T. Joseph Snodgrass, Esq., of
                    Larson King, LLP requesting copy of transcript to 11/9/09 motion hearing.
                    (Snodgrass, T) Modified on 11/10/2009 (cav).
11/10/2009   193    ORDER re 184 MOTION Rule 7.4 Expedited Non−Dispositive Motion
                    Regarding Plaintiffs' Motion for Partial Summary Judgment (ECF 147) and
                    Defendant's Memorandum of Law in Opposition, signed by Judge William C.
                    Griesbach on 11−10−2009. Defendant is directed to resubmit its responses to
                    plaintiffs' proposed findings of fact and separate their responses from any
                    additional facts they wish the Court to consider in deciding the plaintiffs
                    motion for summary judgment. The amended response is due within sixteen

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 20 of 64 Document 1-1
                    days of the hearing. In addition, any proposed findings of fact upon which
                    defendants intend to reply in support of their own cross−motion for summary
                    judgment must be specifically set forth as required by Civil L.R. 56.2. Any
                    footnotes incorporating by reference other materials will be disregarded. See
                    Order for full detail. (cc: all counsel)(Griesbach, William)
11/17/2009   194    RESPONSE filed by Thyssenkrupp Waupaca Inc re 147 MOTION for Partial
                    Summary Judgment Defendants Additional Factual Propositions Relevant to
                    its Responses 171 to Plaintiffs Motion (Benson, Paul)
11/17/2009   195    RESPONSE by Thyssenkrupp Waupaca Inc in Response to 164 Plaintiffs
                    Statement of Proposed Findings of Fact and Conclusions of Law, and
                    Citations to Additional Factual Propositions Relevant to its Responses and to
                    this Motion 147 . (Benson, Paul) Modified on 11/18/2009 to create docket
                    entry relationship(cav).
11/17/2009   196    RESPONSE filed by Thyssenkrupp Waupaca Inc re 147 MOTION for Partial
                    Summary Judgment Waupacas Responses to Plaintiffs Statement of
                    Undisputed Facts, Waupacas Citations to Evidentiary Materials in the Record
                    Which Support the Existence of Certain Factual Disputes, and Waupacas
                    Citations to Additional Factual Propositions Relevant to its Responses and to
                    this Motion (Benson, Paul)
11/17/2009   197    Proposed Findings of Fact by Thyssenkrupp Waupaca Inc (Benson, Paul)
11/17/2009   198    CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
11/17/2009   199    LETTER from Paul E. Benson, Esq. of Michael Best & Friedrich LLP to
                    Honorable William C. Griesbach. (Benson, Paul)
11/23/2009   200    STIPULATION RE FURTHER BRIEFING DEADLINES RE
                    CROSS−MOTIONS FOR SUMMARY JUDGMENT by Thomas Cooper, Ryan
                    DeKeyser, Harley Granius, Carlo Lantz. (Attachments: # 1 Proposed Order, #
                    2 Certificate of Service)(Snodgrass, T)
11/24/2009   201    ORDER ADJUSTING BRIEFING DEADLINES re 200 Stipulation filed by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper, signed by
                    Judge William C Griesbach on 11−24−2009. Plaintiffs shall have until
                    December 18, 2009 to respond to Defendants' recent filings concerning the
                    motions and the cross−motions for summary judgment (ECF Nos. 169−183,
                    194−198). Defendant shall have until January 15, 2010 to respond to Plaintiffs'
                    filings of December 18, 2009 concerning the same. (cc: all
                    counsel)(Griesbach, William)
11/27/2009   202    TRANSCRIPT of Motion held on November 9, 2009 before Judge William C.
                    Griesbach Court Reporter/Transcriber Julie A. Bouressa, Contact at (920)
                    496−9313. Tape Number: 110909. Transcripts may be purchased through the
                    court reporter using the Transcript Order Form found here or viewed at the
                    court public terminal. NOTICE RE REDACTION OF TRANSCRIPTS: If
                    necessary, within 7 business days each party shall inform the Court of their
                    intent to redact personal identifiers by filing a Notice of Intent to Redact.
                    Please read the policy located on our website www.wied.uscourts.gov
                    Redaction Statement due 12/18/2009. Redacted Transcript Deadline set for
                    12/28/2009. Release of Transcript Restriction set for 2/25/2010. (Bouressa &
                    Gales, Reporter)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 21 of 64 Document 1-1
12/10/2009   203    7.4 MOTION Court Invite Amicus Brief from U.S. DOL Regarding Legal
                    Issues by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz.
                    (Attachments: # 1 Affidavit Affidavit of T. Joseph Snodgrass, # 2 Exhibit A, #
                    3 Certificate of Service)(Snodgrass, T)
12/11/2009          NOTICE to Atty. Snodgrass to mail courtesy copy of 203 7.4 MOTION.
                    Please refer to the Specific Litigant Instructions − Listed by Judge under Court
                    Information found at www.wied.uscourts.gov. (mec)
12/18/2009   204    MOTION to Exclude Declaration of Dr Mark A Roberts by Thomas Cooper,
                    Ryan DeKeyser, Harley Granius, Carlo Lantz. (Swanson, Kelly)
12/18/2009   205    BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz re 204 MOTION to Exclude Declaration of Dr Mark A Roberts.
                    (Attachments: # 1 Proposed Order)(Swanson, Kelly)
12/18/2009   206    MOTION to Exclude Declaration of Bryant Esch by Thomas Cooper, Ryan
                    DeKeyser, Harley Granius, Carlo Lantz. (Swanson, Kelly)
12/18/2009   207    BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz re 206 MOTION to Exclude Declaration of Bryant Esch.
                    (Attachments: # 1 Proposed Order)(Swanson, Kelly)
12/18/2009   208    MOTION to Exclude Declaration of Frederick Kohloff by Thomas Cooper,
                    Ryan DeKeyser, Harley Granius, Carlo Lantz. (Swanson, Kelly)
12/18/2009   209    BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz re 208 MOTION to Exclude Declaration of Frederick Kohloff.
                    (Attachments: # 1 Proposed Order)(Swanson, Kelly)
12/18/2009   210    MOTION to Exclude Declaration of Dr Jeffrey E Fernandez by Thomas
                    Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. (Swanson, Kelly)
12/18/2009   211    BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz re 210 MOTION to Exclude Declaration of Dr Jeffrey E
                    Fernandez. (Attachments: # 1 Proposed Order)(Swanson, Kelly)
12/18/2009   212    AFFIDAVIT of Kelly A. Swanson in Support of Motions to Exclude.
                    (Attachments: # 1 Exhibit Index, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, #
                    5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10
                    Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M, # 15
                    Exhibit N, # 16 Certificate of Service)(Swanson, Kelly)
12/18/2009   213    AMENDED DOCUMENT by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz. Affidavit of Monica Reimnitz (Attachments: # 1 Exhibit
                    N, # 2 Certificate of Service)(Swanson, Kelly)
12/18/2009   214    RESPONSE to Motion filed by Thyssenkrupp Waupaca Inc re 203 7.4
                    MOTION Court Invite Amicus Brief from U.S. DOL Regarding Legal Issues.
                    (Benson, Paul)
12/18/2009   215    DECLARATION of Debra D. Krajacic in support of 214 . (Benson, Paul)
12/18/2009   216    CERTIFICATE OF SERVICE by Thyssenkrupp Waupaca Inc (Benson, Paul)
12/18/2009   217    REPLY BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 147 MOTION for Partial Summary Judgment, 169

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 22 of 64 Document 1-1
                    Cross MOTION for Summary Judgment. (Snodgrass, T)
12/18/2009   218    RESPONSE to Motion filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 194 and 169 Cross MOTION for Summary Judgment
                    Defendant's Additional Facts (Doc 194). (Snodgrass, T)
12/18/2009   219    RESPONSE to Motion filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 197 and 169 Cross MOTION for Summary Judgment
                    Defendant's Proposed Findings of Act (Doc 197). (Snodgrass, T)
12/18/2009   220    RESPONSE to Motion filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 169 Cross MOTION for Summary Judgment
                    Plaintiffs' Addl Facts relevant to Defendant's Cross Motion for Summary
                    Judgment. (Attachments: # 1 Affidavit, # 2 Exhibit OO, # 3 Exhibit PP, # 4
                    Exhibit QQ, # 5 Exhibit RR, # 6 Exhibit SS, # 7 Exhibit TT, # 8 Exhibit UU, #
                    9 Exhibit VV, # 10 Exhibit WW, # 11 Exhibit XX, # 12 Exhibit YY, # 13
                    Exhibit ZZ, # 14 Exhibit AAA, # 15 Exhibit BBB, # 16 Exhibit CCC, # 17
                    Exhibit DDD, # 18 Exhibit EEE, # 19 Exhibit FFF, # 20 Exhibit GGG, # 21
                    Exhibit HHH, # 22 Exhibit III, # 23 Exhibit JJJ, # 24 Exhibit KKK, # 25
                    Exhibit LLL, # 26 Exhibit MMM, # 27 Exhibit NNN, # 28 Exhibit OOO, # 29
                    Exhibit PPP, # 30 Exhibit QQQ, # 31 Exhibit RRR)(Snodgrass, T)
12/18/2009   221    56(f) AFFIDAVIT of T. Joseph Snodgrass. (Snodgrass, T)
12/18/2009   222    CERTIFICATE OF SERVICE by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz (Snodgrass, T)
12/21/2009          Docket Annotation: A copy of every e−filed document which exceeds 10
                    pages (including attachments), must be delivered (regular mail is sufficient) to
                    the Green Bay Divisional Office of the Clerk promptly. The copy should
                    indicate, on its face, the date the document was e−filed and the documents
                    docket number. All courtesy copies should be fastened by either (1) a staple at
                    the upper−left−hand corner of the document, or (2) an Acco−fastener inserted
                    at the top of the document.Where lengthy or multiple exhibits are attached,
                    exhibit tabs should be used to delineate each exhibit. (cav)
12/23/2009   224    SEALED DOCUMENT. AFFIDAVIT of Troy F. Tatting. (mec) (aw).
                    (Entered: 12/28/2009)
12/23/2009   225    SEALED EXHIBITS 1−35 (VOLUME 1) to 224 Affidavit of Troy F. Tatting.
                    (mec) (Additional attachment(s) added on 2/24/2011: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit
                    7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit
                    12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17
                    Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21,
                    # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                    Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30,
                    # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35
                    Exhibit 35) (aw). (Entered: 12/28/2009)
12/23/2009   226    SEALED EXHIBITS 36−51 (VOLUME 2) to 224 Affidavit of Troy F.
                    Tatting.(mec) (Additional attachment(s) added on 2/23/2011: # 1 Exhibit 36, #
                    2 Exhibit 37, # 3 Exhibit 38, # 4 Exhibit 39, # 5 Exhibit 40, # 6 Exhibit 41, # 7
                    Exhibit 42, # 8 Exhibit 43, # 9 Exhibit 44, # 10 Exhibit 45, # 11 Exhibit 46, #
                    12 Exhibit 47, # 13 Exhibit 48, # 14 Exhibit 49, # 15 Exhibit 50, # 16 Exhibit

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 23 of 64 Document 1-1
                    51) (aw). (Entered: 12/28/2009)
12/23/2009   227    SEALED EXHIBITS 52−66 (VOLUME 3) to 224 Affidavit of Troy F.
                    Tatting. (mec) (Additional attachment(s) added on 2/23/2011: # 1 Exhibit 52,
                    # 2 Exhibit 53, # 3 Exhibit 54, # 4 Exhibit 55, # 5 Exhibit 56, # 6 Exhibit 57, #
                    7 Exhibit 58, # 8 Exhibit 59, # 9 Exhibit 60, # 10 Exhibit 61, # 11 Exhibit 62,
                    # 12 Exhibit 63, # 13 Exhibit 64, # 14 Exhibit 65, # 15 Exhibit 66) (aw).
                    (Entered: 12/28/2009)
12/23/2009   228    SEALED EXHIBIT QQQ to 220 Supplemental Affidavit of T. Joseph
                    Snodgrass. (mec) (aw). (Entered: 12/28/2009)
12/28/2009   223    ORDER signed by Judge William C Griesbach on 12/28/2009 denying 203 7.4
                    MOTION Requesting the Court Invite an Amicus Brief from U.S. DOL
                    Regarding Legal Issues. (cc: all counsel) (Griesbach, William)
01/13/2010   229    STIPULATION of the Parties Regarding the Deadline for Defendant to
                    Respond to Plaintiffs' December 18, 2009 Filings by Thyssenkrupp Waupaca
                    Inc. (Attachments: # 1 Text of Proposed Order)(Benson, Paul)
01/14/2010          MARGIN ORDER approving 229 Stipulation and GRANTING request filed
                    by Thyssenkrupp Waupaca Inc., signed by Judge William C. Griesbach on
                    01−14−2010. Defendant shall have until February 19, 2010, to file its
                    materials in response to Plaintiffs December 18, 2009 filings. Plaintiffs shall
                    have until March 15, 2010, to file their reply materials in support of their
                    Daubert motions. (cc: all counsel)(Griesbach, William) Modified on 1/14/2010
                    to correct year in date 01/14/10(cav).
02/11/2010   230    STIPULATION Further Stipulation of the Parties Regarding the Deadline for
                    Defendant to Respond to Plaintiffs' December 18, 2009 Filings and Regarding
                    Page Limits for Summary Judgment Reply Materials by Thyssenkrupp
                    Waupaca Inc. (Attachments: # 1 Text of Proposed Order)(Benson, Paul)
02/12/2010          NOTICE of Electronic Filing Error re 230 Stipulation, filed by Thyssenkrupp
                    Waupaca Inc ; Please ensure that the proposed order has been emailed to the
                    proposed email box for the assigned judge in Word or WordPerfect format.
                    Please refer to the user manuals on electronic case filing found at
                    www.wied.uscourts.gov (cav)
02/16/2010   231    ORDER 230 approving Stipulation, filed by Thyssenkrupp Waupaca Inc.,
                    signed by Judge William C. Griesbach on 02/16/2010. Defendant shall have
                    until February 22, 2010, to file its response to Plaintiffs December 18, 2009
                    filings. Plaintiffs shall have until March 18, 2010, to file their reply in support
                    of their Daubert motions. Defendant's reply brief in support of its motion for
                    summary judgment may not exceed 20 pages in length. (cc: all
                    counsel)(Griesbach, William)
02/22/2010   232    REPLY BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 169 Cross
                    MOTION for Summary Judgment. (Benson, Paul)
02/22/2010   233    Proposed Findings of Fact by Thyssenkrupp Waupaca Inc (Benson, Paul)
02/22/2010   234    REPLY filed by Thyssenkrupp Waupaca Inc re 220 Response to Motion,,, to
                    Plaintiffs' Additional Factual Propositions Relevant to Their Responses to
                    Defendant's Cross−Motion for Summary Judgment. (Benson, Paul)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 24 of 64 Document 1-1
02/22/2010   235    BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 208 MOTION to
                    Exclude Declaration of Frederick Kohloff, 204 MOTION to Exclude
                    Declaration of Dr Mark A Roberts, 206 MOTION to Exclude Declaration of
                    Bryant Esch, 210 MOTION to Exclude Declaration of Dr Jeffrey E Fernandez
                    Bench Memorandum. (Benson, Paul)
02/22/2010   236    BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 206 MOTION to
                    Exclude Declaration of Bryant Esch. (Benson, Paul)
02/22/2010   237    BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 210 MOTION to
                    Exclude Declaration of Dr Jeffrey E Fernandez. (Benson, Paul)
02/22/2010   238    BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 208 MOTION to
                    Exclude Declaration of Frederick Kohloff. (Benson, Paul)
02/22/2010   239    BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 204 MOTION to
                    Exclude Declaration of Dr Mark A Roberts. (Benson, Paul)
02/22/2010   240    DECLARATION of Paul E. Benson of February 22, 2010. (Attachments: # 1
                    Exhibit A − List of Factual Statements and Opinions in the Esch Declaration
                    that Plaintiffs have not Challenged, # 2 Exhibit B − List of Factual Statements
                    and Opinions in the Kohloff Declaration that Plaintiffs have not Challenged, #
                    3 Exhibit C − List of Factual Statements and Opinions in the Roberts
                    Declaration that Plaintiffs have not Challenged, # 4 Exhibit D − List of Factual
                    Statements and Opinions in the Fernandez Declaration that Plaintiffs have not
                    Challenged, # 5 Exhibit E − OEM Article "Contamination of Houses by
                    Workers Occupationally Exposed in Lead−Zinc−Copper Mine and Impact on
                    Blood Lead Concentrations in Families, # 6 Exhibit F − NIOSH Publication
                    97−125, Reduce Contamination at Home, # 7 Exhibit G − Article, Predictors
                    of Lead Absorption in Children of Lead Workers, Occup. Med Vol. 50, # 8
                    Exhibit H (Part 1 of 2) − Health Effects of Occupational Exposure to
                    Respirable Crystalline Silica, DHHS (NIOSH) Publication No. 2002−129
                    (April 2002), # 9 Exhibit H (Part 2 of 2) − Health Effects of Occupational
                    Exposure to Respirable Crystalline Silica, DHHS (NIOSH) Publication No.
                    2002−129 (April 2002), # 10 Exhibit I (Part 1 of 2) − Controlling Silica
                    Exposures in Construction, OSHA Publication No. 3362−4 (2009), # 11
                    Exhibit I (Part 2 of 2) − Controlling Silica Exposures in Construction, OSHA
                    Publication No. 3362−4 (2009), # 12 Exhibit J − Excerpts from Bryant Esch
                    3/10/09 Deposition, # 13 Exhibit K − Memorandum Opinion in Chao v. Tyson
                    Foods, Inc., United States District Court, Northern District of Alabama,
                    Southern Division, Case No. 2:02−CV−1174−VEH dated September 7, 2007,
                    # 14 Exhibit L − Minute Entry indicating denial of Plaintiffs Motion in
                    Johnson v. Koch Foods, LLC, No. 2:07−cv−00051 (E.D. Tenn.) dated January
                    25, 2010, # 15 Exhibit M − Misc. Unreported Cases)(Benson, Paul)
02/22/2010   241    Expedite MOTION to Seal Document (Civil L.R. 7(h)) by Thyssenkrupp
                    Waupaca Inc. (Attachments: # 1 Text of Proposed Order Granting Motion to
                    Seal Exhibits 1−127 to the Second Declaration of Kim. K. Voss,
                    CSP)(Benson, Paul)
02/22/2010   242    DECLARATION of Kim K. Voss, CSP (Second) − Exhibits to Filed Under
                    Seal − Request for Confidentiality Pending. (Benson, Paul)
02/22/2010   243    DECLARATION of Bryant Esch. (Attachments: # 1 Exhibit A − Example of
                    Parker Services Laboratory Report Test Results, # 2 Exhibit B − Example of
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 25 of 64 Document 1-1
                    Industrial Hygiene Air Results, # 3 Exhibit C (Part 1 of 2) − US EPA/ORCR
                    Article − Risk Evaluation of Spent Foundry Sands in Soil−Related
                    Applications, # 4 Exhibit C (Part 2 of 2) − US EPA/ORCR Article − Risk
                    Evaluation of Spent Foundry Sands in Soil−Related Applications)(Benson,
                    Paul)
02/22/2010   244    DECLARATION of Joey D. Leonard (Second). (Benson, Paul)
02/22/2010   245    DECLARATION of Rob Johnson. (Benson, Paul)
02/22/2010   246    DECLARATION of Jeffrey E. Fernandez (Second). (Attachments: # 1 Exhibit
                    A − Excerpt from Article, Ralph M. Barnes, Motion and Time Study: Design
                    Measurement of Work, pp. 269−70 (7th ed., John Wiley & Sons 1980), # 2
                    Exhibit B − Excerpt from Article, Benjamin Neibel & Andris Frievalds,
                    Methods, Standard and Work Design, p. 332 (10th ed., McGraw Hill 1999), #
                    3 Exhibit C − Real Time Data Statistics of Employees Donning and Doffing of
                    Ear Plugs, Hard Hats and Safety Glasses, # 4 Exhibit D − Start and End Points
                    of Activities Analyzed, # 5 Exhibit E − Simulation Data for Ear Plugs, Hard
                    Hat and Safety Glasses Summary Statistics, # 6 Exhibit F − Simulation Data
                    for Safety Boots, Uniform Pants and Uniform Shirt Summary Statistics, # 7
                    Exhibit G − Instructions to Supervisors/Leads, # 8 Exhibit H − Showering
                    Data by Shift and Gender, # 9 Exhibit I − Simmulation Data for Unique Items
                    Summary Statistics, # 10 Exhibit J − List of Swipe Data Dates, # 11 Exhibit K
                    − Employees Entering and Exiting the Facility with Uniform Pants/Shirts by
                    Shift, # 12 Exhibit L − Table regarding Employees Donning Items after Swipe
                    in and Doffing Items before Swipe Out, # 13 Exhibit M − Normality
                    Tables)(Benson, Paul)
02/22/2010   247    DECLARATION of Fredrick Kohloff, CSHM (Second). (Attachments: # 1
                    Exhibit A − ACGIH Policy Statement on TLVs and BEIs, # 2 Exhibit B −
                    NIOSH Charter Policy Statement, # 3 Exhibit C − OSHA Policy
                    Statement)(Benson, Paul)
02/22/2010   248    DECLARATION of Dr. Mark A. Roberts, M.D., Ph.D., FACOEM (Second).
                    (Attachments: # 1 Exhibit A − MSDS − Refractory Sales & Service Falcon
                    Plas 90 P 4/28/00, # 2 Exhibit B − MSDS − Unimin Corp. − Incast 90 − Silica
                    Sand, # 3 Exhibit C − US DOL OSHA Sec. 2 Congressional Findings and
                    Purpose, # 4 Exhibit D − US DOL OSHA Regulations − Lead
                    1910.1025)(Benson, Paul)
02/23/2010   249    EXHIBITS 1−127 242 Declaration of Kim K. Voss filed by Thyssenkrupp
                    Waupaca Inc. (mec) (Additional attachment(s) added on 2/24/2011: #
                    Modified on 12/14/2012 to unseal specific exhibits and add redacted exhibits
                    (cav). # 4 Exhibit 1, # 5 Exhibit 2, # 6 Sealed Exhibit 3, # 7 Sealed Exhibit 4, #
                    8 Sealed Exhibit 5, # 9 Sealed Exhibit 6, # 10 Sealed Exhibit 7, # 11 Sealed
                    Exhibit 8, # 12 Sealed Exhibit 9, # 13 Sealed Exhibit 10, # 14 Sealed Exhibit
                    11, # 15 Sealed Exhibit 12, # 16 Sealed Exhibit 13, # 17 Sealed Exhibit 14, #
                    18 Sealed Exhibit 15, # 19 Sealed Exhibit 16, # 20 Sealed Exhibit 17, # 21
                    Sealed Exhibit 18, # 22 Sealed Exhibit 19, # 23 Sealed Exhibit 2, # 24 Sealed
                    Exhibit 21, # 25 Sealed Exhibit 22, # 26 Sealed Exhibit 23, # 27 Sealed
                    Exhibit 24, # 28 Sealed Exhibit 25, # 29 Sealed Exhibit 26, # 30 Sealed
                    Exhibit 27, # 31 Sealed Exhibit 28, # 32 Sealed Exhibit 29, # 33 Exhibit 30, #
                    34 Exhibit 31, # 35 Sealed Exhibit 32, # 36 Sealed Exhibit 33, # 37 Sealed
                    Exhibit 34, # 38 Sealed Exhibit 35, # 39 Sealed Exhibit 36, # 40 Sealed
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 26 of 64 Document 1-1
                    Exhibit 37, # 41 Sealed Exhibit 38, # 42 Sealed Exhibit 39, # 43 Sealed
                    Exhibit 40, # 44 Sealed Exhibit 41, # 45 Sealed Exhibit 42, # 46 Sealed
                    Exhibit 43, # 47 Sealed Exhibit 44, # 48 Sealed Exhibit 45, # 49 Sealed
                    Exhibit 46, # 50 Sealed Exhibit 47, # 51 Sealed Exhibit 48, # 52 Sealed
                    Exhibit 49, # 53 Sealed Exhibit 50, # 54 Sealed Exhibit 51, # 55 Sealed
                    Exhibit 52, # 56 Sealed Exhibit 53, # 57 Sealed Exhibit 54, # 58 Sealed
                    Exhibit 55, # 59 Sealed Exhibit 56, # 60 Sealed Exhibit 57, # 61 Sealed
                    Exhibit 58, # 62 Sealed Exhibit 59, # 63 Sealed Exhibit 60, # 64 Sealed
                    Exhibit 61, # 65 Sealed Exhibit 62, # 66 Sealed Exhibit 63) (cav). Modified on
                    12/14/2012 (cav). (Additional attachment(s) added on 12/14/2012: # 67
                    Exhibit 64, # 68 Sealed Exhibit 65, # 69 Sealed Exhibit 66, # 70 Sealed
                    Exhibit 67, # 71 Sealed Exhibit 68, # 72 Sealed Exhibit 69, # 73 Sealed
                    Exhibit 70, # 74 Sealed Exhibit 71, # 75 Sealed Exhibit 72, # 76 Sealed
                    Exhibit 73, # 77 Sealed Exhibit 74, # 78 Sealed Exhibit 75, # 79 Redacted
                    Exhibit 76, # 80 Sealed Exhibit 77, # 81 Sealed Exhibit 78, # 82 Sealed
                    Exhibit 79, # 83 Sealed Exhibit 80, # 84 Sealed Exhibit 81, # 85 Sealed
                    Exhibit 82, # 86 Sealed Exhibit 83, # 87 Redacted Exhibit 84, # 88 Redacted
                    Exhibit 85, # 89 Exhibit 86, # 90 Sealed Exhibit 87, # 91 Sealed Exhibit 88, #
                    92 Sealed Exhibit 89, # 93 Sealed Exhibit 90, # 94 Sealed Exhibit 91, # 95
                    Redacted Exhibit 92, # 96 Redacted Exhibit 93, # 97 Sealed Exhibit 94, # 98
                    Sealed Exhibit 95, # 99 Sealed Exhibit 96, # 100 Sealed Exhibit 97, # 101
                    Sealed Exhibit 98, # 102 Sealed Exhibit 99, # 103 Sealed Exhibit 100, # 104
                    Sealed Exhibit 101, # 105 Sealed Exhibit 102, # 106 Sealed Exhibit 103, # 107
                    Sealed Exhibit 104, # 108 Sealed Exhibit 105, # 109 Sealed Exhibit 106, # 110
                    Sealed Exhibit 107, # 111 Sealed Exhibit 108, # 112 Sealed Exhibit 109, # 113
                    Sealed Exhibit 110, # 114 Sealed Exhibit 111, # 115 Sealed Exhibit 112, # 116
                    Sealed Exhibit 113, # 117 Exhibit 114, # 118 Sealed Exhibit 115, # 119 Sealed
                    Exhibit 116, # 120 Exhibit 117, # 121 Sealed Exhibit 118, # 122 Sealed
                    Exhibit 119, # 123 Sealed Exhibit 120, # 124 Sealed Exhibit 121, # 125 Sealed
                    Exhibit 122, # 126 Sealed Exhibit 123, # 127 Sealed Exhibit 124, # 128 Sealed
                    Exhibit 125, # 129 Sealed Exhibit 126, # 130 Sealed Exhibit 127) (cav).
02/23/2010   250    SEE DOCKET ENTRY 249 EXHIBITS to 242 Declaration of Kim K. Voss
                    filed by Thyssenkrupp Waupaca Inc.
03/12/2010   251    STIPULATION Further Stipulation of the Parties Regarding the Deadline for
                    Plaintiffs to Respond to Defendant's February 22, 2010 Filings by All
                    Plaintiffs. (Attachments: # 1 Text of Proposed Order, # 2 Certificate of
                    Service)(Rudd, John)
03/15/2010          MARGIN ORDER approving 251 Stipulation and GRANTING requested
                    extension, signed by Judge William C. Griesbach on 03/15/2010. Plaintiffs
                    may have until April 1, 2010, to file their reply materials in support of their
                    Daubert motions. (cc: all counsel)(Griesbach, William)
03/18/2010   252    EXPEDITED 7(h) MOTION to Strike − NON−DISPOSITIVE MOTION TO
                    STRIKE CERTAIN DOCUMENTS SUBMITTED IN REPLY TO
                    PLAINTIFFS RESPONSE TO DEFENDANTS CROSS−MOTION FOR
                    SUMMARY JUDGMENT by All Plaintiffs. (Attachments: # 1 Certificate of
                    Service)(Rudd, John) Modified on 3/19/2010 to reflect correct event (cav).
03/24/2010   253    RESPONSE to Motion filed by Thyssenkrupp Waupaca Inc re 252 MOTION
                    to Strike RULE 7(h) EXPEDITED NON−DISPOSITIVE MOTION TO

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 27 of 64 Document 1-1
                    STRIKE CERTAIN DOCUMENTS SUBMITTED IN REPLY TO PLAINTIFFS
                    RESPONSE TO DEFENDANTS CROSS−MOTION FOR SUMMARY
                    JUDGMENT. (Benson, Paul)
04/01/2010   254    REPLY BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 208 MOTION to Exclude Declaration of Frederick
                    Kohloff, 204 MOTION to Exclude Declaration of Dr Mark A Roberts, 206
                    MOTION to Exclude Declaration of Bryant Esch, 210 MOTION to Exclude
                    Declaration of Dr Jeffrey E Fernandez. (Swanson, Kelly)
04/01/2010   255    REPLY BRIEF in Support filed by All Plaintiffs re 204 MOTION to Exclude
                    Declaration of Dr Mark A Roberts. (Swanson, Kelly)
04/01/2010   256    REPLY BRIEF in Support filed by All Plaintiffs re 210 MOTION to Exclude
                    Declaration of Dr Jeffrey E Fernandez. (Swanson, Kelly)
04/01/2010   257    REPLY BRIEF in Support filed by All Plaintiffs re 208 MOTION to Exclude
                    Declaration of Frederick Kohloff. (Swanson, Kelly)
04/01/2010   258    REPLY BRIEF in Support filed by All Plaintiffs re 206 MOTION to Exclude
                    Declaration of Bryant Esch. (Swanson, Kelly)
04/01/2010   259    Second AFFIDAVIT of Kelly A. Swanson in Support of Plaintiffs' Motions to
                    Exclude the Declarations of Defendant's Experts. (Attachments: # 1 Exhibit O,
                    # 2 Exhibit P, # 3 Exhibit Q, # 4 Exhibit R, # 5 Exhibit S, # 6 Exhibit T, # 7
                    Exhibit U, # 8 Exhibit V, # 9 Exhibit W, pt 1, # 10 Exhibit W, pt 2, # 11
                    Docket Sheet W, pt 3, # 12 Certificate of Service)(Swanson, Kelly)
05/06/2010   260    LETTER from Paul E. Benson. (Attachments: # 1 Supplement Bamonte v.
                    City of Mesa Decision)(Benson, Paul)
05/07/2010   261    LETTER from T. Joseph Snodgrass to Judge William Griesbach.
                    (Attachments: # 1 Supplement, # 2 Certificate of Service T. Joseph
                    Snodgrass)(Snodgrass, T)
07/16/2010   262    ORDER granting 241 Motion to Seal Documents(Exhibits 1−127 cited in the
                    Second Declaration of Kim Voss 242 , CSP, signed by Judge William C.
                    Griesbach on 07/16/2010. Said exhibits are Docket nos. 249 and 250 . (cc: all
                    counsel) (Griesbach, William)
08/02/2010   263    LETTER from Troy F. Tatting to Hon. William C. Griesbach submitting
                    supplemental authority. (Attachments: # 1 Supplement, # 2 Certificate of
                    Service)(Tatting, Troy)
08/24/2010   264    LETTER from Paul E. Benson re pending Daubert Motion Plaintiff's filed to
                    exclude testimony of Defendant's expert, Dr. Jeffrey R. Fernandez.
                    (Attachments: # 1 Supplement Memorandum and Recommendation of
                    Magistrate Judge James E. Gates of U.S. Dist. Ct. E.D. of North Carolina
                    Southern Div. in Lewis v. Smithfield Packing Co.)(Benson, Paul)
08/25/2010   265    LETTER from T. Joseph Snodgrass to Hon. William C. Griesbach submitting
                    supplemental authority. (Attachments: # 1 Supplemental Authority, # 2
                    Certificate of Service)(Snodgrass, T) Modified on 8/26/2010 to correct docket
                    text (tlf).
09/29/2010   266

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 28 of 64 Document 1-1
                    ORDER signed by Judge William C Griesbach on 09/27/10 denying 147
                    Motion for Partial Summary Judgment; denying 169 Motion for Summary
                    Judgment; denying 204 Motion to Exclude; denying 206 Motion to Exclude;
                    denying 208 Motion to Exclude; denying 210 Motion to Exclude; denying 252
                    Motion to Strike. Telephone Scheduling Conference set for 10/12/2010 09:30
                    AM before Judge William C Griesbach. The Parties shall notify the clerk with
                    a telephone number for the scheduling conference (cc: all counsel) (Griesbach,
                    William)
09/29/2010   267    NOTICE of Hearing: (cc: all counsel)Telephone Scheduling Conference set
                    for 10/12/2010 09:30 AM before Judge William C Griesbach. (cav) (cav).
10/12/2010   268    TRANSCRIPT REQUEST for proceedings held on October 12, 2010 before
                    Judge William C Griesbach. (cav)
10/12/2010   269    Minute Entry for proceedings held before Judge William C Griesbach:
                    Scheduling Conference held on 10/12/2010. Discovery due by 9/30/2011;
                    Plaintiffs' Expert Witness List due by 4/12/2011; Defendant's Expert Witness
                    List due by 6/13/2011; Rebuttal Expert Witness List due by 8/13/2011; In
                    Person Status Conference set for 10/7/2011 10:00 AM before Judge William C
                    Griesbach. (Tape #101210) (mec)
10/13/2010   270    TRANSCRIPT REQUEST for proceedings held on 10/12/2010 before Judge
                    William C. Griesbach. (Snodgrass, T)
10/13/2010   271    TRANSCRIPT of Scheduling Conference held on October 12, 2010 before
                    Judge William C. Griesbach Court Reporter/Transcriber John W. Gales,
                    Contact at (920) 496−9313. Tape Number: 101210. Transcripts may be
                    purchased through the court reporter using the Transcript Order Form found
                    here or viewed at the court public terminal. NOTICE RE REDACTION OF
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov Redaction Statement due 11/4/2010. Redacted
                    Transcript Deadline set for 11/15/2010. Release of Transcript Restriction set
                    for 1/11/2011. (Bouressa & Gales, Reporter)
10/13/2010   272    SCHEDULING ORDER: signed by Judge William C Griesbach on October
                    13, 2010. Discovery due by 9/30/2011; Plaintiffs' Expert Witness List due by
                    4/12/2011. Defendant's Expert Witness List due by 6/13/2011. Rebuttal Expert
                    Witness List due by 8/13/2011. In−Person Status Conference set for 10/7/2011
                    10:00 AM before Judge William C Griesbach. (cc: all counsel)(Griesbach,
                    William)
12/08/2010   273    MOTION to Compel Production of Personnel Files, Time Records and
                    Medical Records by All Plaintiffs. (Snodgrass, T)
12/08/2010   274    BRIEF in Support filed by All Plaintiffs re 273 MOTION to Compel
                    Production of Personnel Files, Time Records and Medical Records.
                    (Snodgrass, T)
12/08/2010   275    AFFIDAVIT of T. Joseph Snodgrass in Support of Pls' Motion to Compel
                    Production of Personnel Files, Time Records and Medical Records.
                    (Attachments: # 1 Exhibit A − Def's Obj−Resp to Pls' 4th Set of RPD, # 2
                    Exhibit C − Unpublished Decisions & Orders)(Snodgrass, T)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 29 of 64 Document 1-1
12/08/2010   276    PROPOSED Order to Compel Production of Personnel Files, Time Records
                    and Medical Records filed by All Plaintiffs. (Snodgrass, T)
12/08/2010   277    CERTIFICATE OF SERVICE by All Plaintiffs (Snodgrass, T)
12/09/2010          NOTICE of Electronic Filing Error to T. Joseph Snodgrass re 276 Proposed
                    Document; Proposed Orders should be e−filed as an attachment to the
                    stipulation or motion and NOT e−filed as a separate document. Please ensure
                    that the proposed order has been emailed to the proposed email box for the
                    assigned judge in Word or WordPerfect format. This document does not need
                    to be re−filed; Please refer to the user manuals on electronic case filing found
                    at www.wied.uscourts.gov (aw)
12/13/2010   278    REDACTED EXHIBIT B to 275 Affidavit of T. Joseph Snodgrass by All
                    Plaintiffs. (aw) Modified on 12/13/2012 to change document from sealed to
                    redacted. (cav) (Entered: 12/14/2010)
12/14/2010   279    CERTIFICATE OF SERVICE by All Plaintiffs (aw)
01/03/2011   280    BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 273 MOTION to
                    Compel Production of Personnel Files, Time Records and Medical Records.
                    (Benson, Paul)
01/03/2011   281    DECLARATION of Paul E. Benson. (Attachments: # 1 Exhibit A, Letter
                    dated April 20, 2009 from Attorney T. Joseph Snodgrass of Larson King LLP
                    to Attorney Paul E, Benson of Michael Best & Friedrich LLP, # 2 Exhibit B,
                    Letter dated April 30, 2009 from Paul E. Benson of Michael Best & Friedrich
                    LLP to Attorney T. Joseph Snodgrass of Larson King LLP in response to his
                    April 20, 2009 letter, # 3 Exhibit C, Faxed letter dated June 29, 2009 from
                    Attorney T. Joseph Snodgrass of Larson King LLP to Attorney Paul E. Benson
                    of Michael Best & Friedrich LLP, # 4 Exhibit D, Letter dated October 28,
                    2010 from Attorney T. Joseph Snodgrass of Larson King LLP to Attorney
                    Paul E. Benson of Michael Best & Friedrich LLP enclosing to the Plaintiffs
                    Fourth Set of Requests for Production of Documents, # 5 Exhibit E,
                    Authorization for Release of Personnel Records Waupaca provided to
                    Plaintiffs Counsel along with its discovery responses, # 6 Exhibit F, HIPPA
                    Compliant Authorization for Use and Disclosure of Individually Identifiable
                    Health Information Waupaca provided to Plaintiffs Counsel along with its
                    discovery responses, # 7 Exhibit G, Copies of unpublished opinions and
                    orders)(Benson, Paul)
01/03/2011   282    DECLARATION of Joey D. Leonard (Third). (Benson, Paul)
01/03/2011   283    PROPOSED [Proposed] Amended Scheduling Order filed by Thyssenkrupp
                    Waupaca Inc. (Benson, Paul)
01/04/2011          NOTICE of Electronic Filing Error to Paul Benson re 283 Proposed
                    Document; Proposed Orders should be e−filed as an attachment to the
                    stipulation or motion and NOT e−filed as a separate document. Please ensure
                    that the proposed order has been emailed to the proposed email box for the
                    assigned judge in Word or WordPerfect format. This document does not need
                    to be re−filed; Please refer to the user manuals on electronic case filing found
                    at www.wied.uscourts.gov (aw)
01/20/2011   284

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 30 of 64 Document 1-1
                    REPLY BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 273 MOTION to Compel Production of Personnel
                    Files, Time Records and Medical Records (ECF No. 274). (Snodgrass, T)
01/20/2011   285    AFFIDAVIT of T. Joseph Snodgrass In Support of Plaintiffs' Reply In Support
                    of Motion To Compel Production of Personnel Files, Time Records and
                    Medical Records (ECF NO. 274). (Attachments: # 1 Exhibit A and
                    B)(Snodgrass, T)
01/20/2011   286    CERTIFICATE OF SERVICE by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz (Snodgrass, T)
02/17/2011   287    ORDER granting in part and denying in part 273 Motion to Compel, signed by
                    Judge William C. Griesbach on 02/17/2011. Plaintiffs motion to compel is
                    GRANTED as to Request No. 1 and DENIED as to Request No. 2. SEE
                    ORDER FOR FULL DETAIL. (cc: all counsel) (Griesbach, William)
02/18/2011   288    Rule 7(h) Expedited Non−Dispositive MOTION to Expedite Motion to Amend
                    the Scheduling Order by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz. (Attachments: # 1 Text of Proposed Order)(Snodgrass, T)
02/22/2011   289    ORDER GRANTING 288 7(h) motion to amend scheduling order, signed by
                    Judge William C Griesbach on 02/22/2011. The expert witness deadlines are
                    suspended pending the progression of further discovery. Plaintiffs and
                    Defendant shall file a status report within sixty (60) days of this Order with
                    proposed new dates for expert disclosures. (cc: all counsel) (Griesbach,
                    William)
04/01/2011   290    Rule 7(h) Expedited Non−Dispositive MOTION to Expedite Motion to
                    Compel Production of Medical Records by Thomas Cooper, Ryan DeKeyser,
                    Harley Granius, Carlo Lantz. (Attachments: # 1 Text of Proposed
                    Order)(Tatting, Troy)
04/01/2011   291    AFFIDAVIT of Troy F. Tatting IN SUPPORT OF PLAINTIFFS LOCAL
                    RULE 7(h) EXPEDITED NON−DISPOSITIVE MOTION TO COMPEL
                    PRODUCTION OF MEDICAL RECORDS. (Attachments: # 1 Exhibit A, # 2
                    Exhibit B)(Tatting, Troy)
04/11/2011   292    BRIEF in Opposition filed by All Defendants re 290 Rule 7(h) Expedited
                    Non−Dispositive MOTION to Expedite Motion to Compel Production of
                    Medical Records. (Quick, Mitchell)
04/11/2011   293    DECLARATION of Kim K. Voss. (Quick, Mitchell)
04/11/2011   294    DECLARATION of Paul E. Benson. (Attachments: # 1 Exhibit A−D)(Quick,
                    Mitchell)
04/13/2011   295    ORDER granting 290 Motion to Compel, signed by Judge William C.
                    Griesbach on 04/12/2011. Waupaca is ordered to produce for inspection and/or
                    copying within 30 days of the date of this order all documents sought in
                    Plaintiffs Requests for Production of Documents to Defendant relating to
                    medical records, dated February 23, 2011 and attached as Exhibit A to
                    Plaintiffs Local Rule 7(h) Motion to Compel. (cc: all counsel) (Griesbach
                    William)
04/22/2011   296

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 31 of 64 Document 1-1
                    STATUS REPORT and Stipulated Scheduling Order by Thomas Cooper,
                    Ryan DeKeyser, Harley Granius, Carlo Lantz. (Attachments: # 1 Proposed
                    Order, # 2 Certificate of Service)(Snodgrass, T)
05/16/2011   297    SCHEDULING ORDER: Plaintiffs Expert Witness List due by 8/1/2011;
                    Defendants Expert Witness List due by 10/1/2011; Rebuttal expert witness due
                    11/15/2011; Discovery due by 12/30/2011; Telephone Status Conference set
                    for 1/9/2012 09:00 AM before Judge William C Griesbach. Signed by Judge
                    William C Griesbach on 5/13/2011. (cc: all counsel)(Griesbach, William)
05/18/2011          NOTICE of Cancellation of Hearing: The In−Person Status Conference set for
                    10/7/2011 at 10:00 a.m. in the Court's prior 272 Scheduling Order is removed
                    from the court calendar. (cc: all counsel) (tlf) Modified on 5/18/2011 (tlf).
06/08/2011   298    SUGGESTION OF DEATH Upon the Record as to Jeffrey M. Kulas by
                    Thyssenkrupp Waupaca Inc. (Attachments: # 1 Exhibit A − Notice of Death
                    for Jeffrey M. Kulas)(Olson, Joseph)
06/08/2011   299    SUGGESTION OF DEATH Upon the Record as to Michael J. Van Epps by
                    Thyssenkrupp Waupaca Inc. (Attachments: # 1 Exhibit A − Notice of Death
                    for Michael J. Van Epps)(Olson, Joseph)
06/08/2011   300    SUGGESTION OF DEATH Upon the Record as to Patrick Leopold by
                    Thyssenkrupp Waupaca Inc. (Attachments: # 1 Exhibit A − Notice of Death
                    for Patrick Leopold)(Olson, Joseph)
06/08/2011   301    SUGGESTION OF DEATH Upon the Record as to Larry Kettlewell by
                    Thyssenkrupp Waupaca Inc. (Attachments: # 1 Exhibit A − Notice of Death
                    for Larry Kettlewell)(Olson, Joseph)
06/08/2011   302    DECLARATION of Joseph Louis Olson. (Attachments: # 1 Exhibit A −
                    Affidavit of Service of Rule 25(a) Statement Noting Death of Jeffrey Kulas
                    served upon Valerie Kulas, # 2 Exhibit B − Affidavit of Service of Rule 25(a)
                    Statement Noting Death of Michael J. Van Epps served upon Shannon R. Van
                    Epps, # 3 Exhibit C − Affidavit of Service of Rule 25(a) Statement Noting
                    Death of Larry Kettlewell served upon Susan Kettlewell, # 4 Exhibit D −
                    Affidavit of Service of Rule 25(a) Statement Noting Death of Patrick A.
                    Leopold served upon Cory Schumacher)(Olson, Joseph)
06/24/2011   303    MOTION, MOTION to Modify Trial Plan, or in the Alternative, Motion for
                    Order Regarding Disclosure of Experts by Thomas Cooper, Ryan DeKeyser,
                    Harley Granius, Carlo Lantz. (Snodgrass, T)
06/24/2011   304    BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz re 303 MOTION MOTION to Modify Trial Plan, or in the
                    Alternative, Motion for Order Regarding Disclosure of Experts. (Snodgrass,
                    T)
06/24/2011   305    AFFIDAVIT of T. Joseph Snodgrass in Support of Pls' Motion to Modify Trial
                    Plan, or in the Alternative, Motion for Order Regarding Disclosure of Experts.
                    (Attachments: # 1 Ex A, # 2 Ex B, # 3 Ex C)(Snodgrass, T)
06/24/2011   306    CERTIFICATE OF SERVICE by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re: Pls' Motion to Modify Trial Plan, or in the
                    Alternative, Motion for Order Regarding Disclosure of Experts (Snodgrass, T)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 32 of 64 Document 1-1
06/27/2011   307    NOTICE of Hearing on Motion − 303 MOTION to Modify Trial Plan, or in
                    the Alternative, Motion for Order Regarding Disclosure of Experts. Motion
                    Hearing set for 7/15/2011 03:00 PM in Location: 125 S. Jefferson St., Green
                    Bay, WI 54301 before Judge William C Griesbach. (cc: all counsel)(aw)
06/30/2011   308    Rule 7(h) Expedited Non−Dispositive MOTION to Compel Plaintiffs
                    Production of Medical Records from the 82 Opt−Ins at Plants 2 and 3 in
                    Waupaca, Wisconsin by Thyssenkrupp Waupaca Inc. (Attachments: # 1 Text
                    of Proposed Order On Defendant's Motion to Compel)(Benson, Paul)
06/30/2011   309    DECLARATION of Paul E. Benson. (Attachments: # 1 Exhibit A −
                    ThyssenKrupp Waupacas April 20, 2011 written discovery to Plaintiffs, # 2
                    Exhibit B (part 1 of 3) − Plaintiffs Responses and Objections to ThyssenKrupp
                    Waupacas written discovery, # 3 Exhibit B (part 2 of 3) − Plaintiffs Responses
                    and Objections to ThyssenKrupp Waupacas written discovery, # 4 Exhibit B
                    (part 3 of 3) − Plaintiffs Responses and Objections to ThyssenKrupp
                    Waupacas written discovery, # 5 Exhibit C − May 26, 2011 Attorney Paul
                    Benson letter to Attorney Gordon Rudd, # 6 Exhibit D − June 10, 2011
                    Attorney Gordon Rudd letter to Attorney Paul Benson, # 7 Exhibit E − June
                    17, 2011 Attorney Paul Benson letter to Attorney Gordon Rudd, # 8 Exhibit F
                    − June 27, 2011 Attorney Gordon Rudd letter to Attorney Paul Benson, # 9
                    Exhibit G − Plaintiffs February 23, 2011 written discovery request to
                    ThyssenKrupp Waupaca)(Benson, Paul)
07/07/2011   310    STIPULATION for Extension of Time by All Plaintiffs. (Attachments: # 1
                    Text of Proposed Order)(Rudd, John)
07/07/2011   311    CERTIFICATE OF SERVICE by All Plaintiffs (Rudd, John)
07/08/2011          TEXT ONLY ORDER approving 310 Stipulation and GRANTING requested
                    extension filed by Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas
                    Cooper, signed by Judge William C. Griesbach on 07/08/2011. Plaintiffs shall
                    have until July 12, 2011, to file materials in response to Defendants June 30,
                    2011 Expedited Non−Dispositive Motion to Compel Production. (cc: all
                    counsel)(Griesbach, William)
07/12/2011   312    BRIEF in Opposition filed by All Plaintiffs re 308 Rule 7(h) Expedited
                    Non−Dispositive MOTION to Compel Plaintiffs Production of Medical
                    Records from the 82 Opt−Ins at Plants 2 and 3 in Waupaca, WisconsinRule
                    7(h) Expedited Non−Dispositive MOTION to Compel Plaintiffs Production of
                    Medical Records from the 82 Opt−Ins at Plants 2 and 3 in Waupaca,
                    Wisconsin. (Regan, Anne)
07/12/2011   313    AFFIDAVIT of J. Gordon Rudd In Support of Plaintiffs Rule 7(h)(2)
                    Memorandum in Opposition to Defendants Rule 7(h) Expedited
                    Non−Dispositive Motion to Compel Production of Medical Records.
                    (Attachments: # 1 Exhibit A − Filed Under Seal, # 2 Exhibit B − Filed Under
                    Seal, # 3 Exhibit C − Unpublished Case)(Regan, Anne)
07/12/2011   314    CERTIFICATE OF SERVICE by All Plaintiffs (Regan, Anne)
07/14/2011   315    BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 303 MOTION
                    MOTION to Modify Trial Plan, or in the Alternative, Motion for Order
                    Regarding Disclosure of Experts. (Benson, Paul)


    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 33 of 64 Document 1-1
07/14/2011   316    DECLARATION of Paul E. Benson. (Attachments: # 1 Exhibit A − May 12,
                    2011 Opinion and Order in Espenscheid v. Directsat USA, LLC, 3:09−cv−625
                    (W.D.Wis. 2011 (Crabb, J.)), # 2 Exhibit B − May 23, 2011 Opinion and
                    Order in Espenscheid v. Directsat USA, LLC, 3:09−cv−625 (W.D.Wis. 2011
                    (Crabb, J.)), # 3 Exhibit C − July 1, 2011 letter from Attorney Troy Tatting to
                    Attorney Paul E. Benson, # 4 Exhibit D − July 1, 2011 email exchange
                    between Attorney Tatting and Attorney Paul E. Benson re: July 1, 2011 letter,
                    # 5 Exhibit E − July 7, 2011 email from Attorney Paul E. Benson to Attorney
                    Snodgrass and his response, # 6 Exhibit F − Cited Cases re: Courts have
                    frequently allowed defendants in FLSA collective actions to take much more
                    expansive discovery of the opt−in plaintiffs)(Benson, Paul)
07/14/2011   317    SEALED Exhibits A & B to 313 AFFIDAVIT of J. Gordon Rudd.
                    (Attachments: # 1 Exhibit B) (blr) (Entered: 07/15/2011)
07/15/2011   318    Minute Order. Proceedings held before Judge William C Griesbach: Motion
                    Hearing held on 7/15/2011. The Court DENIES 303 Motion to Modify;
                    GRANTS 308 Motion to Compel. (Tape #071511.) (mec) (Entered:
                    07/18/2011)
07/18/2011   319    TRANSCRIPT REQUEST for Motion Hearing held on 7/15/2011 before
                    Judge William C Griesbach. (tlf)
07/20/2011   320    TRANSCRIPT of Motion held on July 15, 2011 before Judge William C.
                    Griesbach Court Reporter/Transcriber John W. Gales, Contact at (920)
                    496−9313. Tape Number: 071511. Transcripts may be purchased through the
                    court reporter using the Transcript Order Form found here or viewed at the
                    court public terminal. NOTICE RE REDACTION OF TRANSCRIPTS: If
                    necessary, within 7 business days each party shall inform the Court of their
                    intent to redact personal identifiers by filing a Notice of Intent to Redact.
                    Please read the policy located on our website www.wied.uscourts.gov
                    Redaction Statement due 8/15/2011. Redacted Transcript Deadline set for
                    8/25/2011. Release of Transcript Restriction set for 10/21/2011. (Bouressa &
                    Gales, Reporter)
07/20/2011   321    TRANSCRIPT REQUEST for proceedings held on 07/15/2011 before Judge
                    William C. Griesbach. (Snodgrass, T)
07/29/2011   322    Rule 7(h) Expedited Non−Dispositive MOTION to Expedite to Amend the
                    Scheduling Order by All Plaintiffs. (Attachments: # 1 Text of Proposed Order
                    Proposed Order)(Snodgrass, T)
08/15/2011   323    STIPULATION of the Parties Regarding the Deadline for Plaintiffs to File
                    Motions to Substitute Opt−In Plaintiffs by All Plaintiffs. (Attachments: # 1
                    Text of Proposed Order)(Regan, Anne)
08/15/2011   324    CERTIFICATE OF SERVICE by All Plaintiffs Stipulation of the Parties
                    Regarding the Deadline for Plaintiffs to File Motions to Substitute Opt−In
                    Plaintiffs (Regan, Anne)
08/16/2011   325    ORDER re 323 Stipulation − Plaintiffs shall have until October 7, 2011 to file
                    Motions to Substitute for deceased opt−in Plaintiffs. Signed by Judge William
                    C Griesbach on 08/16/2011. (cc: all counsel)(Griesbach, William)
08/16/2011   326

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 34 of 64 Document 1-1
                    SCHEDULING ORDER − Discovery due by 2/28/2012 Plaintiffs Expert
                    Witness List due by 10/11/2011 Defendants Expert Witness List due by
                    12/1/2011. IN PERSON Status Conference set for 3/7/2012 01:30 PM in
                    Location: 125 S. Jefferson St., Green Bay, WI 54301 before Judge William C
                    Griesbach. Signed by Judge William C Griesbach on 08/16/2011 (cc: all
                    counsel) (Griesbach, William)
09/06/2011   327    Rule 7(h) Expedited Non−Dispositive MOTION to Substitute Party Valerie
                    Kulas in Place of Jeffrey Kulas by All Plaintiffs. (Attachments: # 1 Text of
                    Proposed Order)(Rudd, John)
09/06/2011   328    AFFIDAVIT of J. Gordon Rudd. (Attachments: # 1 Exhibit A − Dominciliary
                    Letters)(Rudd, John)
09/06/2011   329    Rule 7(h) Expedited Non−Dispositive MOTION to Substitute Party Susan
                    Kettlewell in Place of Larry Kettlewell by All Plaintiffs. (Attachments: # 1
                    Text of Proposed Order)(Rudd, John)
09/06/2011   330    AFFIDAVIT of J. Gordon Rudd. (Attachments: # 1 Exhibit A − Letters of
                    Special Administration)(Rudd, John)
09/06/2011   331    CERTIFICATE OF SERVICE by All Plaintiffs (Rudd, John)
09/20/2011   332    ORDER granting 327 and 329 Motions to Substitute Party; signed by Judge
                    William C Griesbach on 09/20/2011. (cc: all counsel) (Griesbach, William)
09/29/2011   333    Rule 7(h) Expedited Non−Dispositive MOTION to Substitute Party Shannon
                    Van Epps in Place of Michael Van Epps by All Plaintiffs. (Attachments: # 1
                    Text of Proposed Order)(Regan, Anne)
09/29/2011   334    AFFIDAVIT of Anne T. Regan. (Attachments: # 1 Exhibit A − Letters of
                    Special Administration)(Regan, Anne)
09/29/2011   335    CERTIFICATE OF SERVICE by All Plaintiffs (Regan, Anne)
09/30/2011   336    ORDER granting 333 Motion to Substitute Party; signed by Judge William C
                    Griesbach on 09/30/2011. (cc: all counsel) (Griesbach, William)
10/06/2011   337    STIPULATION of the Parties Regarding the Deadline for Plaintiffs to File
                    Motion to Substitute Opt−In Plaintiff Patrick Leopold by All Plaintiffs.
                    (Attachments: # 1 Text of Proposed Order)(Regan, Anne)
10/07/2011          TEXT ONLY ORDER approving 337 Stipulation filed by Harley Granius,
                    Ryan DeKeyser, Carlo Lantz, Thomas Cooper, signed by Judge William C.
                    Griesbach on 10/07/2011. Plaintiffs shall have additional time, until October
                    21, 2011, to file a motion to substitute a proper party in place of deceased
                    opt−in plaintiff Patrick Leopold. (cc: all counsel)(Griesbach, William)
10/19/2011   338    Rule 7(h) Expedited Non−Dispositive MOTION for Discovery to Allow
                    Defendant to Take a Second Deposition of the Plaintiffs' Experts, if Necessary
                    by Thyssenkrupp Waupaca Inc. (Benson, Paul)
10/19/2011   339    DECLARATION of Paul E. Benson. (Attachments: (1) INCORRECT
                    ATTACHMENT Exhibit A − Letter Attorney Paul E. Benson received from
                    plaintiffs counsel on October 3, 2011, # 2 Exhibit B − Redacted copy of a
                    letter Attorney Paul E. Benson sent to plaintiffs counsel on October 10, 2011,
                    # 3 Exhibit C − Courts Order in Kimberly−Clark Worldwide v. First Quality
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 35 of 64 Document 1-1
                    Baby Prods., (E.D.Wis. 9/21/11))(Benson, Paul) Modified on 10/19/2011 (blr).
                    (Additional attachment(s) added on 10/19/2011: # 4 Exhibit A − Letter
                    Attorney Paul E. Benson received from plaintiffs counsel on October 3, 2011)
                    (blr).
10/21/2011   340    Rule 7(h) Expedited Non−Dispositive MOTION to Substitute Party by All
                    Plaintiffs. (Attachments: # 1 Text of Proposed Order regarding Substitution of
                    Plaintiff)(Regan, Anne)
10/31/2011   341    RESPONSE to Motion filed by All Plaintiffs re 338 Rule 7(h) Expedited
                    Non−Dispositive MOTION for Discovery to Allow Defendant to Take a
                    Second Deposition of the Plaintiffs' Experts, if Necessary. (Regan, Anne)
10/31/2011   342    AFFIDAVIT of Anne T. Regan in Support of Plaintiffs' Response Opposing
                    Defendant's Rule 7(h) Expedited Non−Dispositive Motion. (Attachments: # 1
                    Exhibit A)(Regan, Anne)
11/01/2011          TEXT ONLY ORDER DENYING as premature 338 Rule 7(h) Expedited
                    Non−Dispositive MOTION for Discovery to Allow Defendant to Take a
                    Second Deposition of the Plaintiffs' Experts, if Necessary filed by
                    Thyssenkrupp Waupaca Inc, signed by Judge William C Griesbach on
                    11/01/2011. (cc: all counsel)(Griesbach, William)
11/04/2011   343    STIPULATION of the Parties Amending Scheduling Order [Dkt. #326] by
                    Thyssenkrupp Waupaca Inc. (Attachments: # 1 Text of Proposed
                    Order)(Benson, Paul)
11/04/2011   344    ORDER granting 340 Motion to Substitute Party, signed by Judge William C
                    Griesbach on 11/04/2011. Michele Leopold is substituted as a proper party in
                    place of deceased opt−in Plaintiff Patrick Leopold, pending the filing of her
                    Letter of Special Administration. (cc: all counsel) (Griesbach, William)
11/07/2011          TEXT ONLY ORDER approving 343 Stipulation filed by Thyssenkrupp
                    Waupaca Inc., signed by Judge William C Griesbach on 11/07/2011.
                    Defendants expert witness disclosures are due on or before February 1, 2012;
                    Rebuttal expert witness disclosures made in accordance with Fed. R. Civ. P.
                    26 are due on or before March 15, 2012; and all requests for discovery shall be
                    served by a date sufficiently early so that all discovery in this case can be
                    completed no later than April 30, 2012. The Clerk shall schedule an in−person
                    Status Conference. (cc: all counsel)(Griesbach, William)
11/07/2011          NOTICE of Hearing: Status Conference set for 5/1/2012 10:00 AM at 125 S.
                    Jefferson St − Rm 201, Green Bay, WI before Judge William C Griesbach.
                    (cc: all counsel)(tlf)
11/14/2011   345    AFFIDAVIT of Anne T. Regan . (Attachments: # 1 Exhibit A − Order for
                    Special Administration, # 2 Exhibit B − Letters of Special
                    Administration)(Regan, Anne)
12/19/2011   346    MOTION for Partial Summary Judgment by Thomas Cooper, Ryan DeKeyser,
                    Harley Granius, Carlo Lantz. (Swanson, Kelly)
12/19/2011   347    BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz re 346 MOTION for Partial Summary Judgment . (Attachments: #
                    1 Affidavit Kelly Swanson, # 2 Exhibit A, # 3 Exhibit B (Part 1 of 2), # 4
                    Exhibit B (Part 2 of 2), # 5 Exhibit C (Part 1 of 2), # 6 Exhibit C(Part 2 of
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 36 of 64 Document 1-1
                    2))(Swanson, Kelly)
12/21/2011   348    SEALED EXHIBIT A to the Affidavit of Kelly Swanson − Attachment 1 of
                    347 Brief in Support by All Plaintiffs. (aw) (aw).
12/28/2011   349    Rule 7(h) Expedited Non−Dispositive MOTION for Leave to File for Rule 23
                    Certification, Or, In the Alternative, For a Status Conference by All Plaintiffs.
                    (Attachments: # 1 Text of Proposed Order)(Regan, Anne)
12/29/2011   350    NOTICE of Hearing: TELEPHONE Status Conference set for 1/5/2012 09:30
                    AM before Judge William C Griesbach. See notice for full details. (cc: all
                    counsel)(aw)
01/04/2012   351    RESPONSE to Motion filed by Thyssenkrupp Waupaca Inc re 349 Rule 7(h)
                    Expedited Non−Dispositive MOTION for Leave to File for Rule 23
                    Certification, Or, In the Alternative, For a Status Conference . (Benson, Paul)
01/04/2012   352    DECLARATION of Joey D. Leonard . (Benson, Paul)
01/05/2012   353    Minute Order. Proceedings held before Judge William C Griesbach:
                    Telephone Status Conference held on 1/5/2012. The Court GRANTS 349
                    Motion for Leave to File Rule 23 Certification Motion. (Tape #010512.) (mec)
01/05/2012          NOTICE of Cancellation of Hearing. Telephone Status Conference on
                    1/9/2012 at 9:00 a.m. has been cancelled. (cc: all counsel) (mec)
01/05/2012   354    TRANSCRIPT REQUEST for Telephone Status Conference held on 1/5/2012
                    before Judge William C Griesbach. (tlf)
01/05/2012   355    TRANSCRIPT REQUEST for proceedings held on January 5, 2012 before
                    Judge William C. Griesbach. (Snodgrass, T)
01/06/2012   356    TRANSCRIPT of Telephone Status Conference held on January 5, 2012
                    before Judge William C. Griesbach Court Reporter/Transcriber John W. Gales,
                    Contact at (920) 496−9313. Tape Number: 010512. Transcripts may be
                    purchased through the court reporter using the Transcript Order Form found
                    here or viewed at the court public terminal. NOTICE RE REDACTION OF
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov Redaction Statement due 1/30/2012. Redacted
                    Transcript Deadline set for 2/9/2012. Release of Transcript Restriction set for
                    4/9/2012. (Bouressa & Gales, Reporter)
01/19/2012   357    Rule 7(h) Expedited Non−Dispositive MOTION to Strike the Replacement
                    Report of Plaintiffs' Damages Expert, Louis R. Lanier, Ph.D. by Thyssenkrupp
                    Waupaca Inc. (Attachments: # 1 Text of Proposed Order)(Benson, Paul)
01/19/2012   358    DECLARATION of Mitchell W. Quick . (Attachments: # 1 Exhibit A −
                    Expert Report of Dr. Lanier received by MBF via email on October 3, 2011,
                    and by regular mail thereafter, # 2 Exhibit B − Dr. Lanier 12/7/11 Deposition
                    excerpt of example of Dr. Lanier admission, # 3 Exhibit C − Amendment and
                    Supplement to the Expert Report of Louis R. Lanier received MBF via email
                    on January 12, 2012, and by regular mail thereafter, # 4 Exhibit D − Written
                    discovery that was served on MBF Via email on December 9, 2011, and by
                    regular mail thereafter, # 5 Exhibit E − ThyssenKrupp Waupacas response to

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 37 of 64 Document 1-1
                    this written discovery which we served on Plaintiffs counsel on January 6,
                    2012)(Benson, Paul)
01/19/2012   359    DECLARATION of Alan L. Moss, Ph.D. . (Benson, Paul)
01/23/2012   360    RESPONSE to Motion filed by Thyssenkrupp Waupaca Inc re 346 MOTION
                    for Partial Summary Judgment . (Quick, Mitchell)
01/23/2012   361    DECLARATION of Mitchell W. Quick, Esq. . (Attachments: # 1 Exhibit A −
                    Opinion and Order in Espenscheid v. DirectSat USA, LLC, 3:09−cv−625−bbc
                    (W.D. Wis. 2011 (Crabb, J.)), # 2 Exhibit B − Unreported Orders cited to in
                    Defendant's Response Brief)(Quick, Mitchell)
01/23/2012   362    DECLARATION of Joey D. Leonard . (Quick, Mitchell)
01/25/2012   363    NOTICE by All Plaintiffs OF PROCEDURAL OBJECTION TO
                    DEFENDANT'S NON−COMPLIANCE WITH LOCAL RULE 7(h) (Snodgrass,
                    T)
01/25/2012   364    RESPONSE filed by Thyssenkrupp Waupaca Inc re 363 Notice of Procedural
                    Objection to Defendant's Non−Compliance with Local Rule 7(h) (Benson,
                    Paul)
01/25/2012   365    DECLARATION of Paul E. Benson . (Attachments: # 1 Exhibit A − Letter
                    received by Atty. Benson from plaintiffs counsel on January 23, 2012, at 11:05
                    a.m. by email, # 2 Exhibit B − Letter Atty. Benson drafted and intended to
                    send to plaintiffs counsel 1/25/12, but did not do so because plaintiffs filed the
                    363 Motion before it was sent)(Benson, Paul)
01/26/2012   366    MOTION to Determine Sequence and Timing of Mathematical Calculations
                    for Plant 2/3 Opt−Ins by All Plaintiffs. (Snodgrass, T)
01/26/2012   367    BRIEF in Support filed by All Plaintiffs re 366 MOTION to Determine
                    Sequence and Timing of Mathematical Calculations for Plant 2/3 Opt−Ins .
                    (Attachments: # 1 Affidavit Declaration of T. Joseph Snodgrass, # 2 Exhibit
                    A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8
                    Exhibit G, # 9 Exhibit H)(Snodgrass, T)
01/26/2012   368    BRIEF in Opposition filed by All Plaintiffs re 357 Rule 7(h) Expedited
                    Non−Dispositive MOTION to Strike the Replacement Report of Plaintiffs'
                    Damages Expert, Louis R. Lanier, Ph.D. . (Attachments: # 1 Affidavit T.
                    Joseph Snodrass, # 2 Exhibit A−1, # 3 Exhibit A−2, # 4 Exhibit A−3, # 5
                    Exhibit A−4)(Snodgrass, T)
01/30/2012   369    NOTICE by All Plaintiffs NOTICE OF WITHDRAWAL OF CONSENTS TO
                    BECOME A PARTY PLAINTIFF UNDER THE FAIR LABOR STANDARDS
                    ACT (MATTHEW MUMBRUE, BRADLEY DIESTLER, HANK LYNCH,
                    ROBERT BERNARD, JR., AND SHANE RUCKER (Snodgrass, T)
02/06/2012   370    NOTICE of Hearing: Telephone Conference set for 2/10/2012 11:00 AM
                    before Judge William C Griesbach. The court will initiate the call. Counsel
                    are to provide the Office of the Clerk at 920−884−3720 with a telephone
                    number at which they can be reached.(cc: all counsel)(aw)
02/06/2012   371    REPLY BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 346 MOTION for Partial Summary Judgment .

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 38 of 64 Document 1-1
                    (Attachments: # 1 Appendix of Authorities)(Swanson, Kelly)
02/08/2012   372    MOTION to Certify Class Action Certification Pursuant to Fed. R. Civ. P. 23
                    by All Plaintiffs. (Snodgrass, T)
02/08/2012   373    BRIEF in Support filed by All Plaintiffs re 372 MOTION to Certify Class
                    Action Certification Pursuant to Fed. R. Civ. P. 23 . (Attachments: # 1
                    Affidavit T. Joseph Snodgrass, # 2 Exhibit Index, # 3 Exhibit A−K, # 4
                    Exhibit L−S, # 5 Exhibit T−Y, # 6 Exhibit Z (Part 1 of 5), # 7 Exhibit Z (Part
                    2 of 5), # 8 Exhibit Z (Part 3 of 5), # 9 Exhibit Z (Part 4 of 5), # 10 Exhibit Z
                    (Part 5 of 5), # 11 Exhibit AA−BB, # 12 Exhibit CC−EE, # 13 Exhibit FF−SS,
                    # 14 Exhibit TT−UU, # 15 Exhibit VV, # 16 Exhibit WW (Part 1 of 2), # 17
                    Exhibit WW (Part 2 of 2), # 18 Exhibit XX (Part 1 of 2), # 19 Exhibit XX
                    (Part 2 of 2), # 20 Exhibit YY)(Snodgrass, T)
02/10/2012   374    SEALED EXHIBITS KK, OO and PP, REDACTED EXHIBIT DD and
                    UNSEALED EXHIBITS P AND EE (EE submitted in CD format)to 373 filed
                    by All Plaintiffs. (aw) (aw). Modified on 12/11/2012 to unseal Exhibits P and
                    EE and attach Redacted Exhibit DD(cav).
02/10/2012   375    Minute Entry for proceedings held before Judge William C Griesbach:
                    Telephone Conference Motion Hearing held on 2/10/2012 re 357 Rule 7(h)
                    Expedited Non−Dispositive MOTION to Strike the Replacement Report of
                    Plaintiffs' Damages Expert, Louis R. Lanier, Ph.D. and 366 MOTION to
                    Determine Sequence and Timing of Mathematical Calculations for Plant 2/3
                    Opt−Ins. The court DENIES 357 Rule 7(h) Expedited Non−Dispositive
                    MOTION to Strike the Replacement Report of Plaintiffs' Damages Expert,
                    Louis R. Lanier, Ph.D. Status Conference set for 3/5/2012 09:30 AM before
                    Judge William C Griesbach. (Tape #021012) (mec)
02/13/2012   376    TRANSCRIPT of Telephone Conference held on February 10, 2012 before
                    Judge William C. Griesbach Court Reporter/Transcriber John W. Gales,
                    Contact at (920) 496−9313. Tape Number: 021012. Transcripts may be
                    purchased through the court reporter using the Transcript Order Form found
                    here or viewed at the court public terminal. NOTICE RE REDACTION OF
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov Redaction Statement due 3/8/2012. Redacted
                    Transcript Deadline set for 3/19/2012. Release of Transcript Restriction set for
                    5/17/2012. (Bouressa & Gales, Reporter)
02/17/2012   377    MOTION to Withdraw as Attorney Troy Tatting by All Plaintiffs. (Snodgrass,
                    T)
02/23/2012   378    NOTICE of Appearance by Shawn M Raiter on behalf of Thomas Cooper,
                    Ryan DeKeyser, Harley Granius, Carlo Lantz. Attorney(s) appearing: Shawn
                    M. Raiter (Raiter, Shawn)
02/24/2012          TEXT ONLY ORDER GRANTING 377 MOTION to Withdraw Attorney
                    Troy Tatting as counsel, signed by Judge William C Griesbach on 02/24/2012.
                    (cc: all counsel)(Griesbach, William)
02/29/2012   379    BRIEF filed by All Plaintiffs Plaintiffs' Bench Memorandum In Advance of
                    March 5, 2012 Hearing. (Attachments: # 1 Affidavit T. Joseph Snodgrass, # 2

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 39 of 64 Document 1-1
                    Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D (Part 1 of 2), # 6 Exhibit
                    D (Part 2 of 2))(Snodgrass, T)
03/02/2012   380    BRIEF filed by Thyssenkrupp Waupaca Inc Bench Memorandum on Case
                    Management and Trial Planning in Advance of the March 5, 2012 Hearing.
                    (Benson, Paul)
03/02/2012   381    DECLARATION of Paul E. Benson March 2, 2012. (Attachments: # 1 Exhibit
                    A − Plaintiffs January 13, 2012 written discovery to ThyssenKrupp Waupaca,
                    # 2 Exhibit B − Unpublished opinion in Abbe v. City of San Diego, 2007 WL
                    4146696 (S.D. Cal. Nov. 9, 2007))(Benson, Paul)
03/05/2012   382    TRANSCRIPT REQUEST for proceedings held on 03/05/12 before Judge
                    William C Griesbach. (cav)
03/05/2012   383    Minute Entry for proceedings held before Judge William C Griesbach: Status
                    Conference held on 3/5/2012. The Court stays all discovery pending its
                    decision on the legal standard. Telephone Status Conference set for 3/13/2012
                    10:30 AM before Judge William C Griesbach. (Tape #030512) (mec)
03/06/2012   384    TRANSCRIPT of Status Conference held on March 5, 2012 before Judge
                    William C. Griesbach Court Reporter/Transcriber John W. Gales, Contact at
                    (920) 496−9313. Tape Number: 030512. Transcripts may be purchased
                    through the court reporter using the Transcript Order Form found here or
                    viewed at the court public terminal. NOTICE RE REDACTION OF
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov Redaction Statement due 3/30/2012. Redacted
                    Transcript Deadline set for 4/9/2012. Release of Transcript Restriction set for
                    6/7/2012. (Bouressa & Gales, Reporter)
03/09/2012   385    LETTER from Mitchell W. Quick, Esq. per Case Management Hearing
                    stating position of Defendant, ThyssenKrupp Waupaca. (Quick, Mitchell)
03/09/2012   386    MOTION for Partial Summary Judgment to Determine the Applicable Legal
                    Standard and Elements of Proof Required Under the Fair Labor Standards
                    Act by All Plaintiffs. (Snodgrass, T)
03/09/2012   387    LETTER from T. Joseph Snodgrass to The Honorable William C. Griesbach
                    Outlining Plaintiffs' Position. (Snodgrass, T)
03/12/2012   388    NOTICE of Hearing: (cc: all counsel) Telephone Status Conference set for
                    3/13/2012 10:30 AM before Judge William C Griesbach. Counsel will
                    participate by telephone. All counsel who will be appearing by telephone are
                    to notify the Clerk regarding their participation. Verification of telephone
                    participation should be sent to wied_clerks_gb@wied.uscourts.gov. Please
                    contact the Office of the Clerk at 920−884−3721 if you should have any
                    questions(cav)
03/13/2012   389    TRANSCRIPT REQUEST for proceedings held on 3/13/2012 before Judge
                    William C Griesbach. (tlf)
03/13/2012   390    Minute Entry for proceedings held before Judge William C Griesbach: Status
                    Conference held on 3/13/2012. Motions due by 3/30/2012. (Tape #031312)
                    (cav)
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 40 of 64 Document 1-1
03/14/2012   391    TRANSCRIPT of Telephone Status Conference held on March 13, 2012
                    before Judge William C. Griesbach Court Reporter/Transcriber John W. Gales,
                    Contact at (920) 496−9313. Tape Number: 031312. Transcripts may be
                    purchased through the court reporter using the Transcript Order Form found
                    here or viewed at the court public terminal. NOTICE RE REDACTION OF
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov Redaction Statement due 4/9/2012. Redacted
                    Transcript Deadline set for 4/19/2012. Release of Transcript Restriction set for
                    6/15/2012. (Bouressa & Gales, Reporter)
03/22/2012   392    STIPULATION of the Parties to Extend Time for Filing Summary Judgment
                    Motions on the Appropriate Legal Standard Issue by Thyssenkrupp Waupaca
                    Inc. (Attachments: # 1 Text of Proposed Order)(Benson, Paul)
03/22/2012   393    NOTICE by All Plaintiffs Notice of Withdrawal of Consent to Become A Party
                    Plaintiff Under the Fair Labor Standards Act (Michael Linsmeier) (Snodgrass,
                    T)
03/23/2012          TEXT ONLY ORDER approving 392 Stipulation, signed by Judge William C
                    Griesbach on 03/23/2012. The time to file summary judgment motions and
                    briefs on the question of what the appropriate legal standard should be in this
                    case is extended to April 4, 2012. This order does not expand the briefing
                    beyond what the Court permitted at the March 13th Telephone Status
                    Conference. (cc: all counsel)(Griesbach, William)
04/04/2012   394    MOTION for Summary Judgment on the Legal Standard Applicable to this
                    Case and Notice of Motion by Thyssenkrupp Waupaca Inc. (Benson, Paul)
04/04/2012   395    BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 394 MOTION for
                    Summary Judgment on the Legal Standard Applicable to this Case and Notice
                    of Motion . (Benson, Paul)
04/04/2012   396    STATEMENT OF FACT by Thyssenkrupp Waupaca Inc (Proposed) in
                    Support of its 394 Motion for Summary Judgment on the Legal Standard
                    Applicable to this Case. (Benson, Paul)
04/04/2012   397    DECLARATION of Paul E. Benson . (Attachments: # 1 Exhibit A −
                    Evaluating the Exposure Levels Incurred While Laundering Crystalline
                    Silica−Contaminated Work Clothing, # 2 Exhibit B − Filed Under Seal −
                    Excerpts from the Confidential Deposition of William Nassetta, M.D., M.P.H.
                    dated January 11, 2012, # 3 Exhibit C − Declaration of Robert J. Herman
                    dated February 6, 2012, # 4 Exhibit D − Unreported cases cited in the
                    Defendants Brief in Support of its Motion for Summary Judgment on the
                    Legal Standard Applicable to this Case)(Benson, Paul)
04/04/2012   398    BRIEF in Support filed by All Plaintiffs re 386 MOTION for Partial Summary
                    Judgment to Determine the Applicable Legal Standard and Elements of Proof
                    Required Under the Fair Labor Standards Act . (Attachments: # 1 Affidavit T.
                    Joseph Snodgrass, # 2 Exhibit List Index, # 3 Exhibit A − OSHA Webpage, #
                    4 Exhibit B − See Docket Entry 401 , # 5 Exhibit C − 2007 See Docket Entry
                    401 , # 6 Exhibit D − See Docket Entry 401 , # 7 Exhibit E −See Docket Entry
                    401 , # 8 Exhibit F − 2007 MSDS Chem Inventory, # 9 Exhibit G − Bryant
                    Esch Depo 3/10/09, # 10 Exhibit H − See Docket Entry 401 , # 11 Exhibit I −
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 41 of 64 Document 1-1
                    See Docket Entry 401 , # 12 Exhibit J (1 OF 2) − NJ HazMat Fact Sheets, # 13
                    Exhibit J (2 OF 2) − NJ HazMat Fact Sheets), # 14 Exhibit K − OSHA Pub
                    Crystalline Silica, # 15 Exhibit L − OSHA Pub Natl Emphasis Prog for
                    Primary Metal Industries, # 16 Exhibit M − OSHA Pub Guidance for
                    Identification/Control of Safety/Health Hazard, # 17 Exhibit N −
                    USDOL/NIOSH Pub Tips for Preventing Silicosis, # 18 Exhibit O − OSHA
                    Pub Metalworking Fluids, # 19 Exhibit P − OSHA/AFS Pub Guide for
                    Selection/Use of Personal Protective Equip, # 20 Exhibit Q − OSHA Exec
                    Sum Hazard Com in 21st Cent Workplace, # 21 Exhibit R − Excerpt OSHA
                    Environmental Law Handbook, # 22 Exhibit S − OSHA Pub Hazard Com
                    Standard Final Rule, # 23 Exhibit T − OSHA Pub Chem Hazard
                    Communication, # 24 Exhibit U − OSHA Pub Workers' Rights, # 25 Exhibit V
                    − See Docket Entry 399 , # 26 Exhibit W − Unpublished
                    Opinions/Orders)(Snodgrass, T) Modified on 4/9/2012 to add descriptions of
                    exhibits (tlf).
04/04/2012   399    ATTACHMENTS Exhibit V (MSDS) to the Affidavit of T Joseph Snodgrass −
                    filed by All Plaintiffs filed as Attachment (1) to 398 Brief in Support of 386
                    MOTION for Partial Summary Judgment to Determine the Applicable Legal
                    Standard and Elements of Proof Required Under the Fair Labor Standards
                    Act. (Attachments: # 1 Exhibit V−1, # 2 Exhibit V−2, # 3 Exhibit V−3, # 4
                    Exhibit V−4, # 5 Exhibit V−5, # 6 Exhibit V−6, # 7 Exhibit V−7, # 8 Exhibit
                    V−8, # 9 Exhibit V−9, # 10 Exhibit V−10, # 11 Exhibit V−11, # 12 Exhibit
                    V−12, # 13 Exhibit V−13, # 14 Exhibit V−14, # 15 Exhibit V−15, # 16
                    Exhibit V−16, # 17 Exhibit V−17, # 18 Exhibit V−18, # 19 Exhibit V−19, #
                    20 Exhibit V−20, # 21 Exhibit V−21, # 22 Exhibit V−22, # 23 Exhibit V−23,
                    # 24 Exhibit V−24, # 25 Exhibit V−25)(Snodgrass, T) Modified on 4/9/2012
                    (tlf).
04/05/2012   400    SEALED EXHIBIT B to 397 Declaration of Paul E Benson filed by by
                    Thyssenkrupp Waupaca Inc. Exhibit B − Deposition Excerpt of William
                    Nassetta 1/11/2012. (aw)Modified on 4/9/2012 (tlf).
04/06/2012   401    SEALED EXHIBITS B, C, D, E, H and I filed by All Plaintiffs as Attachment
                    (1) to 398 Brief in Support of 386 MOTION for Partial Summary Judgment to
                    Determine the Applicable Legal Standard and Elements of Proof Required
                    Under the Fair Labor Standards Act. (aw). Exhibit B − 2005−2007 Hazard
                    Communication. (Additional attachment(s) added on 4/6/2012: # 1 Exhibit C −
                    2007 Safety Orientation, # 2 Exhibit D − New Hire Orientation, # 3 Exhibit E
                    −2005 Silica, Metal Fumes & Carbon Monoxide Exposures, # 4 Exhibit H −
                    Personal Protective Equipment, # 5 Exhibit I − Safety Orientation 2007) (aw).
                    Modified on 4/9/2012 (tlf).
04/27/2012          NOTICE of Cancellation of Hearing − In Person Scheduling Conference set
                    for May 1, 2012 at 10:00 a.m. has been removed from the Court's calendar.
                    (cc: all counsel) (aw)
05/02/2012   402    STIPULATION of the Parties to Extend Time for Filing Responses and
                    Replies to Summary Judgment Motions on the Appropriate Legal Standard
                    Issue by Thyssenkrupp Waupaca Inc. (Attachments: # 1 Text of Proposed
                    Order to Extend Time for Filing Responses and Replies to Summary Judgment
                    Motions on the Appropriate Legal Standard Issue)(Benson, Paul)
05/04/2012
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 42 of 64 Document 1-1
                    TEXT ONLY ORDER approving 402 Stipulation and GRANTING requested
                    extension request filed by Thyssenkrupp Waupaca Inc., signed by Judge
                    William C Griesbach on 05/04/2012. The deadline for filing response briefs in
                    opposition to thepending motions for summary judgment is extended to and
                    including May 14, 2012 and that the reply deadline is extended to June 8,
                    2012. (cc: all counsel)(Griesbach, William)
05/14/2012   403    RESPONSE filed by All Plaintiffs re 396 Statement of Fact OF PROPOSED
                    MATERIAL FACTS IN SUPPORT OF ITS MOTION FOR SUMMARY
                    JUDGMENT ON THE LEGAL STANDARD APPLICABLE TO THIS CASE
                    AND STATEMENT OF ADDITIONAL FACTS IN OPPOSITION TO
                    DEFENDANTS MOTION (Snodgrass, T)
05/14/2012   404    BRIEF in Opposition filed by All Plaintiffs re 394 MOTION for Summary
                    Judgment on the Legal Standard Applicable to this Case and Notice of Motion
                    . (Snodgrass, T)
05/14/2012   405    AFFIDAVIT of T. Joseph Snodgrass In Support of Plaintiffs' Opposition to
                    Defendant's Motion for Summary Judgment on the "Legal Standard"
                    Applicable to this Case. (Attachments: # 1 Exhibit List to the Affidavit of T.
                    Joseph Snodgrass, # 2 Exhibit 1 − MSDS, # 3 Exhibit 2 − Safety Violation
                    Warnings, # 4 Exhibit 3 − Excel SS of Dates of Silica Air Testing, # 5 Exhibit
                    4 −Excerpts Depo. of W. Nassetta, # 6 Exhibit 5 − Tennessee Code
                    Annotation § 5788.13, # 7 Exhibit 6 − Tennessee Code Ann. § 54−404, # 8
                    Exhibit 7 − OSHA Webpage − Tennessee Plan, # 9 Exhibit 8 − Occupational
                    Safety & Health Law, # 10 Exhibit 9 − Photograph − Decision in Sandifer v.
                    U.S. Steel Corp, # 11 Exhibit 10 − Brief of Sec. of Labor re: Pirant v. USPS, #
                    12 Exhibit 11 − Environmental Law Handbook, # 13 Exhibit 12 − Brief of
                    Sec. of Labor re: Perez v. Montaire Farms, # 14 Exhibit 13 − Unpublished
                    Opinions)(Snodgrass, T) Modified on 5/15/2012 to add exhibit numbers (tlf).
05/14/2012   406    RESPONSE to Motion filed by Thyssenkrupp Waupaca Inc re 386 MOTION
                    for Partial Summary Judgment to Determine the Applicable Legal Standard
                    and Elements of Proof Required Under the Fair Labor Standards Act Brief in
                    Opposition to Plaintiffs Motion for Partial Summary Judgment to Determine
                    the Applicable Legal Standard and Elements of Proof Required Under the
                    Fair Labor Standards Act. (Benson, Paul)
05/14/2012   407    RESPONSE filed by Thyssenkrupp Waupaca Inc to Plaintiffs' Statement of
                    Undisputed Material Facts in Support of Their Motion for Partial Summary
                    Judgment on the "Legal Standard" Applicable to this Case (Benson, Paul)
05/14/2012   408    STATEMENT OF FACT by Thyssenkrupp Waupaca Inc Defendants
                    Statement of Additional Facts that Require Denial of Plaintiffs Motion for
                    Partial Summary Judgment. (Benson, Paul)
05/14/2012   409    DECLARATION of Paul E. Benson . (Attachments: # 1 Ex A − McClure,
                    Number of New FLSA Lawsuits Filed Each Year Continues to Rise, (October
                    14, 2010), # 2 Ex B − Nicol, et al., Accuracy, Comprehensibility, and Use of
                    Material Safety Data Sheets: A Review, Am. J. Ind. Med., 51:861−876 (2008),
                    # 3 Ex C − Isadore Rosenthal and Albert J. Ignatowski The Operational
                    Material Safety Data Sheet Key to the Effectiveness of a Generic Approach to
                    the Control of Health and Safety Risks: I. An Approach to Managing Risks for
                    Nonspecifically Regulated Substances, Appl. Occup. Environ. Hyg. 8(8)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 43 of 64 Document 1-1
                    (August 1993), # 4 Ex D − Dracket Products Material Safety Data Sheet for
                    Liquid Drano Professional Strength−Retail (April 22, 1993), # 5 Ex E − The
                    Scotts Company Material Safety Data Sheet for Miracle−Gro Liquid All
                    Purpose Plant Food 8−7−6 (November 29, 2000), # 6 Ex F − Columbus
                    Chemical Industries, Inc. Material Safety Data Sheet for Ammonia
                    (Household) (January 23, 2009), # 7 Ex G − Material Safety Data Sheet for
                    Water (November 1, 2010), # 8 Ex H − Unreported cases cited in the
                    Defendants Brief in Opposition to Plaintiffs Motion for Partial Summary
                    Judgment to Determine the Applicable Legal Standard and Elements of Proof
                    Required Under the Fair Labor Standards Act)(Benson, Paul) Modified on
                    5/15/2012 to include exhibit letters (tlf).
05/14/2012   410    DECLARATION of Bryant Esch . (Benson, Paul)
05/14/2012   411    DECLARATION of Brian Lepinski . (Benson, Paul)
05/14/2012   412    DECLARATION of Marty Myers . (Benson, Paul)
05/16/2012   413    SEALED EXHIBITS 2 and 4 to 405 Declaration of T Joseph Snodgrass filed
                    by All Plaintiffs. (aw) (Additional attachment(s) added on 5/16/2012: # 1 Ex
                    4) (aw).
06/01/2012   414    STIPULATION OF THE PARTIES TO EXTEND TIME FOR FILING
                    REPLIES TO SUMMARY JUDGMENT MOTIONS ON THE APPROPRIATE
                    LEGAL STANDARD ISSUE by All Parties. (Attachments: # 1 Text of
                    Proposed Order STIPULATION OF THE PARTIES TO EXTEND TIME
                    FOR FILING REPLIES)(Snodgrass, T)
06/02/2012          TEXT ONLY ORDER approving 414 Stipulation and GRANTING requested
                    extension of time to file reply, signed by Judge William C Griesbach on
                    06/02/2012. The deadline for filing the parties reply briefs in support of
                    pending motions for summary judgment on the appropriate legal standard
                    issue is extended to and including June 15, 2012. (cc: all counsel)(Griesbach,
                    William)
06/13/2012   415    STIPULATION of the Parties to Extend Time for Filing Replies to Summary
                    Judgment Motions on the Appropriate Legal Standard Issue by All Parties.
                    (Attachments: # 1 Text of Proposed Order)(Benson, Paul)
06/14/2012          TEXT ONLY ORDER approving 415 Stipulation signed by Judge William C
                    Griesbach on 6/14/2012. The deadline for filing reply briefs in support of
                    motions for summary judgment on the appropriate legal standard issue is
                    extended to 6/18/2012. (cc: all counsel)(Griesbach, William)
06/15/2012   416    LETTER from Troy Tatting requesting termination of ECF notifications .
                    (Tatting, Troy)
06/18/2012   417    REPLY BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 394
                    MOTION for Summary Judgment on the Legal Standard Applicable to this
                    Case and Notice of Motion . (Benson, Paul)
06/18/2012   418    REPLY filed by Thyssenkrupp Waupaca Inc re 403 Response (Non−Motion),
                    to Plaintiffs Responses to Defendants Statement of Proposed Material Facts in
                    Support of its Motion for Summary Judgment on the Legal Standard
                    Applicable to this Case and Statement of Additional Facts in Opposition to
                    Defendants Motion. (Benson, Paul)
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 44 of 64 Document 1-1
06/18/2012   419    STATEMENT OF FACT by Thyssenkrupp Waupaca Inc Reply Facts in
                    Support of its Motion for Summary Judgment on the "Legal Standard"
                    Applicable to this Case. (Benson, Paul)
06/18/2012   420    DECLARATION of Paul E. Benson . (Attachments: # 1 Exhibit A − Excerpts
                    from Report of Plaintiffs Expert Eugene Ruenger, PhD., CIH dated October 3,
                    2011, # 2 Exhibit B − FILED UNDER SEAL − excerpts from the confidential
                    deposition transcript of Robert Radwin dated January 13, 2012, # 3 Exhibit C
                    − List of the Chemical Constituents of Dry Air, # 4 Exhibit C−1 − MSDS for
                    Oxygen, # 5 Exhibit C−2 − MSDS for Carbon Dioxide, # 6 Exhibit C−3 −
                    MSDS for Nitrous Oxide, # 7 Exhibit C−4 − MSDS for Ozone, # 8 Exhibit
                    C−5 − MSDS for Carbon Monoxide, # 9 Exhibit C−6 − MSDS for Sulfur
                    Dioxide, # 10 Exhibit C− 7 − MSDS for Nitrogen Dioxide, # 11 Exhibit C−8 −
                    MSDS for Ammonia, # 12 Exhibit D − The Chemical Abstracts Service
                    homepage available at http://www.cas.org/, # 13 Exhibit E − Unreported cases
                    cited in the Defendants Reply Brief in Support of its Motion for Summary
                    Judgment on the Legal Standard Applicable to this Case)(Benson, Paul)
06/18/2012   421    DECLARATION of Joey D. Leonard . (Benson, Paul)
06/18/2012   422    REPLY BRIEF in Support filed by All Plaintiffs re 386 MOTION for Partial
                    Summary Judgment to Determine the Applicable Legal Standard and
                    Elements of Proof Required Under the Fair Labor Standards Act . (Lelo,
                    Kelly)
06/18/2012   423    AFFIDAVIT of Kelly A. Lelo . (Attachments: # 1 Exhibit List, # 2 Exhibit X
                    − OSHA Standard, September 20, 1988, # 3 Exhibit Y − OSHA Standard,
                    September 25, 1991, # 4 Exhibit Z − OSHA Standard, May 15, 1992, # 5
                    Exhibit AA − OSHA Standard, May 31, 1994, # 6 Exhibit BB − OSHA
                    Standard, Dec. 22, 2008, # 7 Exhibit CC − OSHA Standard, Apr. 18, 2008, # 8
                    Exhibit DD − OSHA Standard, Apr. 4, 1991, # 9 Exhibit EE −OSHA
                    Standard, Aug. 27, 2003, # 10 Exhibit FF − OSHA Standard, Jun. 27, 1988, #
                    11 Exhibit GG −OSHA Standard, Dec. 21, 1990, # 12 Exhibit HH − The
                    Foundry Managers Guide, # 13 Exhibit II −Declaration of John R. Dake, # 14
                    Exhibit JJ − Declaration of John Wilkinson, # 15 Exhibit KK −Declaration of
                    Debra L. Wilde, # 16 Exhibit LL − Search for Citations by Establishment, # 17
                    Exhibit MM − Declaration of Eugene Ruenger, Ph.D., CIH, # 18 Exhibit NN
                    −deposition of Bryant Esch, # 19 Exhibit OO − Plaintiffs Second Set of
                    Requests for Production of Documents to Defendant, # 20 Exhibit PP − (Filed
                    Under Seal, see 426 ) −ThyssenKrupp Waupacas Notification of Air
                    Monitoring Results, # 21 Exhibit QQ − (Filed Under Seal, see 426 ) −Notice
                    regarding OSHAs Lead Standard, # 22 Exhibit RR − Frequently Asked
                    Questions: Hazard Communication, # 23 Exhibit SS − (Filed Under Seal, see
                    426 ) −Medical Records for Brian Lepinski, # 24 Exhibit TT − unpublished
                    opinions)(Lelo, Kelly)
06/18/2012   424    RESPONSE filed by All Plaintiffs re 408 Statement of Fact (Lelo, Kelly)
06/19/2012   425    SEALED EXHIBIT B to 420 Declaration of Paul E Benson filed by
                    Thyssenkrupp Waupaca Inc. (aw) (aw).
06/20/2012   426    SEALED EXHIBITS PP, QQ and SS to 423 Affidavit of Kelly A Lelo by All
                    Plaintiffs. (aw) (Additional attachment(s) added on 6/20/2012: # 1 Sealed Ex
                    QQ, # 2 Sealed Ex SS part 1, # 3 Sealed Ex SS part 2, # 4 Sealed Ex SS part 3)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 45 of 64 Document 1-1
                    (aw).
07/19/2012   427    ORDER GRANTING 394 Motion for Summary Judgment and DENYING
                    386 Motion for Partial Summary Judgment, signed by Judge William C.
                    Griesbach on 07/19/2012. As a matter of law the time spent by Plaintiffs
                    donning and doffing work clothes, as well as showering at the end of the day,
                    even when performed on the employers premises, are not compensable under
                    the FLSA. These activities are not required by the law, required by the
                    employer or required by the nature of the work. The parties shall advise the
                    Court within the next ten days whether they believe anything further
                    remains to be determined before judgment can be entered. See Order for
                    full detail. (cc: all counsel) (Griesbach, William)
07/30/2012   428    LETTER from Mitchell W. Quick . (Attachments: # 1 Supplement 7/17/12
                    Decision by Magistrate Judge Callahan)(Quick, Mitchell)
07/30/2012   429    LETTER from T. Joseph Snodgrass to the Hon. William C. Griesbach.
                    (Snodgrass, T)
07/31/2012   430    ORDER signed by Judge William C Griesbach on July 31, 2012. The Court
                    directs the parties to file simultaneous briefs within the next 10 days on the
                    question of whether the state law claims survive. (cc: all counsel)(Griesbach,
                    William)
08/06/2012   431    STIPULATION of the Parties to Extend Time for Filing Briefing on State Law
                    Claims by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz.
                    (Attachments: # 1 Certificate of Service)(Lelo, Kelly)
08/07/2012          TEXT ONLY ORDER approving 431 Stipulation and GRANTING an
                    extension of the deadline for filing the parties briefs regarding state law claims
                    to August17, 2012, signed by Judge William C Griesbach on 08/07/2012. (cc:
                    all counsel)(Griesbach, William)
08/17/2012   432    BRIEF filed by Thyssenkrupp Waupaca Inc on the Disposition of Plaintiffs'
                    Remaining State Claims. (Benson, Paul)
08/17/2012   433    DECLARATION of Paul E. Benson . (Attachments: # 1 Exhibit A −
                    Unreported cases cited in the Defendants Brief on the Disposition of Plaintiffs
                    Remaining State Law Claims)(Benson, Paul)
08/17/2012   434    BRIEF filed by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz
                    re 430 Order in Support of Plaintiff's Viability of Wisconsin State Law Claims.
                    (Snodgrass, T)
08/17/2012   435    AFFIDAVIT of T. Joseph Snodgrass in Support of Plaintiffs' Memorandum on
                    the Viability of Wisconsin State Law Claims. (Attachments: # 1 Exhibit A −
                    excerpts from transcript of 2−10−12 telephonic hearing, # 2 Exhibit B −
                    excerpts from transcript of 3−5−12 status conf, # 3 Exhibit C − excerpts from
                    transcript of 3−13−12 status conf, # 4 Exhibit D − WI Statute Chapter 13, # 5
                    Exhibit E − Wi Statute Chapter 109, (SEALED EXHIBITS F, G, and H at end
                    of docket entry), # 6 Exhibit I − Barber WI Employment Law Letter, # 7
                    Exhibit J − Ruenger Expert Report, # 8 Exhibit K − Rosenman Expert Report,
                    # 9 Exhibit L − Nassetta Expert Report, # 10 Exhibit M − Excerpts from Esch
                    deposition transcript, # 11 Exhibit N − Unpublished Opinions)(Snodgrass, T)
                    (Additional attachment(s) added on 8/21/2012: # 12 SEALED Exhibit F −

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 46 of 64 Document 1-1
                    Declaration of Thomas Cooper, # 13 SEALED Exhibit G − Declaration of
                    Carlo Lantz, # 14 SEALED Exhibit H − ThyssenKrupp's 9/2005 Hazard
                    Communication re Silica, Metal Fumes & Carbon Monoxide Exposures) (tlf).
08/17/2012   436    CERTIFICATE OF SERVICE by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz to Plaintiffs' Memorandum and Affdavit of T. Joseph
                    Snodgrass re Viability of WI State Law Claims (Snodgrass, T)
09/06/2012   437    DECISION AND ORDER FOR JUDGMENT dismissing Plaintiffs claims in
                    their entirety, signed by Judge William C Griesbach on 09/06/2012. See
                    Decision for full detail. The Clerk is directed to enter judgment in favor of the
                    Defendant and against the Plaintiffs. (cc: all counsel)(Griesbach, William)
09/07/2012   438    JUDGMENT entered by Deputy Clerk dismissing this action with prejudice;
                    approved by Judge William C Griesbach on 9/7/2012. (cc: all counsel)(tlf)
09/20/2012   439    BILL OF COSTS Proposed by Thyssenkrupp Waupaca Inc (Attachments: # 1
                    Supplement September 20, 2012 Declaration of Paul E. Benson with
                    Supporting Documents to Bill of Costs)(Benson, Paul)
09/20/2012   440    ORDER DIRECTING COUNSEL TO DESIGNATE PLEADINGS TO
                    REMAIN UNDER SEAL, signed by Judge William C Griesbach on
                    09/20/2012. The parties are hereby directed to designate within the next thirty
                    days what, if any, material filed under seal should remain confidential and
                    why. Absent a showing of good cause as required under Fed. R. Civ. P.
                    26(c)(1), all matters previously filed under seal will be unsealed. (cc: all
                    counsel)(Griesbach, William)
09/21/2012   441    BRIEFING LETTER Electronically Transmitted to Parties. (mec)
09/25/2012   442    LETTER re 440 from T. Joseph Snodgrass to Hon. William C. Griesbach.
                    (Snodgrass, T)
09/26/2012   443    LETTER re 440 from Attorney Paul E. Benson regarding Bill of Costs
                    briefing. (Attachments: # 1 Supplement Unpublished Authority − Campbell v.
                    Johnson, Case No. 04−C−661−C, 2006 U.S. Dist. LEXIS 5529 (W.D. Wis.
                    Feb. 10, 2006), # 2 Supplement Unpublished Authority − Wise v. Beth, Case
                    No. 07−CV−1150, 2009 U.S. Dist. LEXIS 111111 (E.D. Wis. Nov. 6,
                    2009))(Benson, Paul)
10/02/2012   444    ORDER DENYING 442 Letter request to hold in abeyance the taxation of
                    costs, signed by Judge William C. Griesbach on 10/02/2012. Plaintiffs will be
                    granted an extension of time to file their objections and supporting brief. The
                    Clerk is directed to enter a new briefing schedule (See Order for full
                    detail.)(cc: all counsel)(Griesbach, William)
10/03/2012   445    BRIEFING LETTER Electronically Transmitted to Parties. (mec)
10/08/2012   446    NOTICE OF APPEAL as to 438 Judgment by Thomas Cooper, Ryan
                    DeKeyser, Harley Granius, Carlo Lantz. Filing Fee PAID $455, receipt
                    number 0757−1565646 (cc: all counsel) (Regan, Anne)
10/08/2012   447    Docketing Statement by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz re 446 Notice of Appeal (cc: all counsel) (Regan, Anne)
10/09/2012   448

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 47 of 64 Document 1-1
                    7th Circuit Information Sheet re: 446 Notice of Appeal (Attachments: # 1
                    Information Sheet p 2)(cav)
10/09/2012   449    Attorney Cover Letter re: 446 Notice of Appeal (cav)
10/09/2012   450    DOCUMENT FILED IN ERROR − WRONG EVENT − Transmission of
                    Notice of Appeal and Docket Sheet to the Federal Circuit re 446 Notice of
                    Appeal (cav) Modified on 10/10/2012 (cav).
10/10/2012   451    Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals re
                    446 Notice of Appeal (cav)
10/10/2012   452    USCA Case Number 12−3306 re: 446 Notice of Appeal filed by Harley
                    Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper. (tlf)
10/17/2012   453    OBJECTIONS by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo
                    Lantz to Defendant's Request for Bill of Costs. (Regan, Anne)
10/17/2012   454    AFFIDAVIT of Anne T. Regan in Support of Plaintiffs' Objections to
                    Defendant's Request for Bill of Costs. (Attachments: # 1 Exhibit A −
                    Discovery Production Protocol, # 2 Exhibit B − Maximum Transcript Rates
                    for E.D. Wi., # 3 Exhibit C − Objections to Copying Costs, # 4 Exhibit D −
                    Objections to Transcript Costs, # 5 Exhibit E − Unreported Cases)(Regan,
                    Anne)
10/19/2012   455    LETTER from Paul E. Benson, Esq. regarding designation of pleadings to
                    remain under seal per Court Order 440 . (Attachments: # 1 Supplement List
                    of Pleadings designating those to remain under seal)(Benson, Paul)
10/19/2012   456    DESIGNATION of Record on Appeal by Thomas Cooper, Ryan DeKeyser,
                    Harley Granius, Carlo Lantz re 446 Notice of Appeal (Regan, Anne)
10/22/2012   457    LETTER from T. Joseph Snodgrass to Hon. William C. Griesbach re: Pls'
                    response to Def's designation of material to remain under seal. (Snodgrass, T)
10/23/2012          TEXT ONLY ORDER re 457 Letter setting Defendant's time to file, signed by
                    Judge William C Griesbach on 10/23/2012. Defendant has indicated those
                    portions of the record that it believes should remain sealed and Plaintiff has
                    responded. Defendant's Reply, if any, should be filed on or before November
                    2, 2012, after which time the Court will decide the matter. (cc: all
                    counsel)(Griesbach, William)
10/24/2012   458    RESPONSE filed by Thyssenkrupp Waupaca Inc re 453 Objections to
                    Waupaca's Bill of Costs (Benson, Paul)
10/24/2012   459    DECLARATION of Paul E. Benson . (Attachments: # 1 Exhibit A −
                    Spreadsheet of Waupacas Justification of Transcript Costs, # 2 Exhibit B −
                    August 3, 2009 Email to the Eastern District Clerk of Courts attaching a
                    Transcript Request Form, # 3 Exhibit C − Spreadsheet of Waupacas
                    Justification of Copying Costs, # 4 Exhibit D − Spreadsheet of Waupacas
                    Invoice Costs Not Included in Bill of Costs Calculations, # 5 Exhibit E −
                    Unreported cases cited in the Defendants Brief in Response to Plaintiffs
                    Objections to Waupacas Bill of Costs)(Benson, Paul)
10/31/2012   460    REPLY filed by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo
                    Lantz re 458 Response (Non−Motion) . (Lelo, Kelly)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 48 of 64 Document 1-1
10/31/2012   461    AFFIDAVIT of Kelly A. Lelo in support of Plaintiffs' Reply to Defendant's
                    Response to Plaintiff's Objections to Bill of Costs. (Attachments: # 1 Exhibit A
                    − Unpublished Decisions)(Lelo, Kelly)
11/01/2012   462    LETTER from Paul E. Benson in follow up to Court Text Order of 10/23/12
                    and in response to Plaintiffs' 10/22/12 letter 457 . (Attachments: # 1
                    Supplement Redacted Dkt. # [423−20] Ex. PP to Affidavit of Kelly A. Lelo, #
                    2 Supplement Redacted Dkt. # [423−21] Ex. QQ to Affidavit of Kelly A. Lelo,
                    # 3 Supplement Redacted Dkt. # 153 Ex. Q to Affidavit of T. Joseph
                    Snodgrass, # 4 Supplement Redacted Dkt. # 153 Ex. S to Affidavit of T.
                    Joseph Snodgrass, # 5 Supplement Redacted Dkt. # 153 Ex. T to Affidavit of
                    T. Joseph Snodgrass, # 6 Supplement Redacted Dkt. # 225 Ex. 1−35 to
                    Affidavit of Troy F. Tatting, # 7 Supplement Redacted Dkt. # 226 Ex. 36−51
                    to Affidavit of Troy F. Tatting, # 8 Supplement Redacted Dkt. # 227 Ex.
                    52−66 to Affidavit of Troy F. Tatting)(Benson, Paul)
11/05/2012   463    Rule 7(h) Expedited Non−Dispositive MOTION to Expedite to Strike New
                    Arguments Raised in Plaintiffs' Reply to Defendant's Response to Plaintiffs'
                    Objections to Bill of Costs (Dkt. #460, pp. 9−11) or, in the Alternative,
                    Defendant's Motion for Leave to File Sur−Reply in Support of its Bill of Costs
                    by Thyssenkrupp Waupaca Inc. (Attachments: # 1 Supplement Defendant's
                    [Proposed] Sur−Reply to Plaintiffs' Reply to Defendant's Response to
                    Plaintiffs' Objections to Bill of Costs, # 2 Supplement November 5, 2012
                    Declaration of Paul E. Benson, # 3 Supplement Exhibit A to Declaration of
                    Paul E. Benson − Unreported Cases)(Benson, Paul) Motion terminated on
                    11/8/2012; Costs Taxed in favor of Defendants on 11/9/2012 (tlf).
11/06/2012   464    ORDER TO UNSEAL and directing counsel to contact the Clerk forthwith to
                    consult on how to properly provide redacted versions of sealed documents,
                    redacting protected information consistent with F.R.C.P. 5.2, so that the entire
                    record can be unsealed for appeal, signed by Chief Judge William C Griesbach
                    on 11/06/2012. The redacted documents shall be filed within 30 days. SEE
                    ORDER FOR FULL DETAIL. (cc: all counsel)(Griesbach, William)
11/08/2012   465    COSTS TAXED for Thyssenkrupp Waupaca Inc by Chief Deputy Clerk in
                    amount of $ 70,529.58 against Plaintiffs. (cc: all counsel) (tlf) (Entered:
                    11/09/2012)
11/12/2012   466    LETTER from T. Joseph Snodgrass to the Honorable William C. Griesbach.
                    (Snodgrass, T)
11/13/2012   467    LETTER from Paul E. Benson as follow up to Order Concerning Documents
                    Under Seal dated November 6, 2012 464 . (Attachments: # 1 Exhibit A − List
                    of Documents to Remain Sealed with Multiple Docket Nos., # 2 Exhibit B −
                    List of Documents to Remain Sealed and Additional Sealed Pleadings Not
                    Previously Addressed)(Benson, Paul)
11/16/2012   468    LETTER from the Court to Counsel directing that the Court views all of the
                    opt−ins in the above matter as plaintiffs who have placed their medical
                    condition at issue. Thus, absent special circumstances, it would appear that
                    their medical records are not entitled to the kind of confidentiality sought. If
                    plaintiff disagrees and wishes to address the matter, they should do so within
                    the next three days. Otherwise, the parties should proceed with the
                    understanding that the medical records of opt−in parties are not confidential

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 49 of 64 Document 1-1
                    and that any privilege attending them has been waived.. (cc: All Counsel)
                    (Griesbach, William)
11/19/2012   469    LETTER from T. Joseph Snodgrass to the Hon. William C. Griesbach.
                    (Snodgrass, T)
11/20/2012          NOTICE of Hearing: (cc: all counsel) Telephone Conference set for
                    11/21/2012 11:00 AM before Chief Judge William C Griesbach. The Court
                    will initiate the telephone call. Both Mr. Snodgrass and Mr. Benson should
                    contact the clerk with a number they can be reached at the time of the
                    conference. If any other party wishes to be included on the conference they
                    should contact the clerk. (cav)
11/21/2012   470    Minute Entry for proceedings held before Chief Judge William C Griesbach:
                    Telephone Conference held on 11/21/2012. The Court and parties address
                    issues surround unsealing documents. The Court vacates section of previous
                    order and allow the sealing of all medical documents. The parties shall confer
                    and submit a list of documents to the clerk by December 10, 2012. (Tape
                    #112112) (cav) (Entered: 11/23/2012)
11/26/2012   471    ORDER REGARDING UNSEALING OF THE RECORD, signed by Chief
                    Judge William C Griesbach on 11/26/2012. The Court VACATES that portion
                    of 464 which required the unsealing of medical records of individual
                    employees and any other individuals that were submitted as part of the
                    evidence in this case. The court finds good cause based on the privacy
                    concerns of the individuals affected. The time within which to comply with the
                    Courts order directing the parties to advise the clerk as to the specific portions
                    of the record that is to remain under seal is extended to December 15, 2012.
                    (cc: all counsel)(Griesbach, William)
11/28/2012   472    TRANSCRIPT REQUEST for Telephone Conference held on 11/21/2012
                    before Judge William C Griesbach. (tlf)
12/07/2012   473    LETTER from Attorney Paul E. Benson to Clerk of Court as follow up to
                    Judge Griesbach's Order of November 26, 2012 471 . (Attachments: # 1
                    Supplement List of Documents to be Unsealed in Their Entirety per Order 471
                    , # 2 Supplement List of Sealed Documents to be Replaced with a Redacted
                    Version per Order 471 )(Benson, Paul)
01/07/2013   474    TRANSCRIPT of Telephone Conference held on November 21, 2012 before
                    Judge William C. Griesbach Court Reporter/Transcriber John W. Gales,
                    Contact at (920) 496−9313. Tape Number: 112112. Transcripts may be
                    purchased using the Transcript Order Form found on our website or viewed at
                    the court public terminal. NOTICE RE REDACTION OF
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov Redaction Statement due 1/31/2013. Redacted
                    Transcript Deadline set for 2/11/2013. Release of Transcript Restriction set for
                    4/11/2013. (Bouressa & Gales, Reporter)
03/13/2013          Appeal Record Prepared re 446 Notice of Appeal. (tlf)
03/29/2013   475    Appeal Record Request received from 7th Cir. Re: USCA Case Number
                    12−3306. (tlf)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 50 of 64 Document 1-1
03/29/2013   476    Certified Record on Appeal Transmitted to US Court of Appeals re 446 Notice
                    of Appeal. Record on appeal sent via UPS, consisting of: 12 Vol Pleadings in
                    electronic format on CD; 42 Loose pleadings in electronic format on CD: Dkt
                    Nos. 28 (parts 1−3), 44, 66, 71, 180, 212 (parts 1−2), 220 (parts 1−2), 240
                    (parts 1−3), 243, 259 (parts 1−2), 278, 309 (parts 1−2), 347, 361, 373 (parts
                    1−5), 379, 398 (parts 1−4), 399 (parts 1−6), 405, 420, 423, and 435; 11 Loose
                    pleadings in paper format: Dkt. Nos. 152, 154−163; 1 Attachments to Loose
                    Pleading 7, Dkt No. 180: Dkt Nos. 180−6, 180−7, and 180−8 in electronic
                    format on 3 CDs; 10 Vol transcripts in electronic format on CD: Dkt Nos. 140,
                    146, 202, 271, 320, 356,376, 384, 391, and 474; 17 Vol in camera material(s):
                    Dkt Nos. 153 (parts 1−2), 164, 224, 225, 226 (parts 1−2), 227, 228, 317, 348,
                    400, 401, 413, 425, 426 (parts 1−2); 1 Vol in camera attachments to Loose
                    Pleading 42, Dkt No. 435: Dkt Nos. 435−12, 435−13, and 435−14. (cc: all
                    counsel) (Attachments: # 1 Pleadings Index)(tlf) Record filed in USCA on
                    4/3/2013 (tlf).
04/17/2013   477    MOTION to Supplement the Record on Appeal by Thyssenkrupp Waupaca
                    Inc. (Benson, Paul)
04/18/2013   478    ORDER CONCERNING 477 MOTION to Supplement the Record on Appeal
                    signed by Chief Judge William C Griesbach on 4/18/2013. Plaintiffs'
                    response/objections due by 4/19/2013 12:00 PM. If plaintiffs do not object, it
                    would be appreciated if they so notify the Court to allow this matter to be
                    addressed forthwith. (cc: all counsel)(Griesbach, William)
04/18/2013   479    NOTICE by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz of
                    Non−Objection (Attachments: # 1 Certificate of Service)(Snodgrass, T)
04/18/2013          TEXT ONLY ORDER GRANTING 477 MOTION to Supplement the Record
                    on Appeal filed by Thyssenkrupp Waupaca Inc., signed by Chief Judge
                    William C Griesbach on 04/18/2013. (cc: all counsel)(Griesbach, William)
04/18/2013   480    Supplemental Record on Appeal sent to USCA for USCA Case Number
                    12−3306 consisting of 1 Vol Pleadings, 5 Loose Pleadings (Dkt Nos. 139 and
                    462 parts 1−4) re 446 Notice of Appeal. Record transmitted electronically via
                    email. (Attachments: # 1 Pleadings Index)(tlf) Filed in USCA on 4/19/2013
                    (tlf).
04/29/2014   481    USCA Mandate (certified copy) as to 446 Notice of Appeal; USCA Number
                    12−3306. The decision of the district court is reversed and the case is
                    remanded for further proceedings consistent with this opinion; case reopened.
                    Partial record submitted in paper format to be returned at a later date.
                    (Attachments: # 1 Certified Opinion, # 2 Final Judgment, # 3 Order Denying
                    Rehearing)(tlf)
05/01/2014   482    NOTICE of Hearing: (cc: all counsel) Telephone Conference set for 5/8/2014
                    01:30 PM before Chief Judge William C Griesbach. Please see attached
                    instructions.(cav)
05/06/2014   483    MOTION to Stay All Proceedings Pending the Outcome of Defendant's
                    Petition for Writ of Certiorari by Thyssenkrupp Waupaca Inc. (Benson, Paul)
05/06/2014   484    BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 483 MOTION to
                    Stay All Proceedings Pending the Outcome of Defendant's Petition for Writ of
                    Certiorari . (Benson, Paul)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 51 of 64 Document 1-1
05/06/2014   485    May 6, 2014 DECLARATION of Paul E. Benson In Support of Defendant's
                    Brief in Support of its Motion to Stay All Proceedings Pending the Outcome of
                    the Defendant's Petition for Writ of Certiorari (Attachments: # 1 Exhibit A −
                    Petition for En Banc Review, # 2 Exhibit B − Seventh Circuit request to file
                    Answer, # 3 Exhibit C − Answer to Petition, # 4 Exhibit D − Seventh Circuit's
                    Order denying rehearing, # 5 Exhibit E − Motion for Stay filed with Seventh
                    Circuit, # 6 Exhibit F − Opposition for Motion for Stay, # 7 Exhibit G −
                    Seventh Circuit's Order denying stay, # 8 Exhibit H − NOW v Scheidler and
                    Mikkelsen v Zund)(Benson, Paul) Modified on 5/6/2014 (mec).
05/07/2014   486    LETTER from T. Joseph Snodgrass to the Hon. William C. Griesbach.
                    (Snodgrass, T)
05/08/2014   487    Minute Entry for proceedings held before Chief Judge William C Griesbach:
                    Motion Hearing held on 5/8/2014 DENYING re 483 MOTION to Stay All
                    Proceedings Pending the Outcome of Defendant's Petition for Writ of
                    Certiorari filed by Thyssenkrupp Waupaca Inc. The parties to submit a case
                    management plan(s) within 10 days. (Tape #050814) (cav) (Entered:
                    05/09/2014)
05/09/2014   488    TRANSCRIPT REQUEST for proceedings held on 5/8/14 before Judge
                    William C Griesbach. (cav)
05/12/2014   489    TRANSCRIPT REQUEST for proceedings held on 05/08/2014 before Judge
                    William C. Griesbach. (Snodgrass, T)
05/14/2014   490    TRANSCRIPT of Telephone Status Conferene held on May 8, 2014 before
                    Judge William C. Griesbach Court Reporter/Transcriber John W. Gales,
                    Contact at (920) 496−9313. Tape Number: 050814. Transcripts may be
                    purchased using the Transcript Order Form found on our website or viewed at
                    the court public terminal. NOTICE RE REDACTION OF
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov Redaction Statement due 6/9/2014. Redacted
                    Transcript Deadline set for 6/19/2014. Release of Transcript Restriction set for
                    8/15/2014. (Gales Reporting, Reporter)
05/19/2014   491    LETTER from T. Joseph Snodgrass to the Hon. William C. Griesbach.
                    (Snodgrass, T)
05/22/2014   492    Appeal Record Returned consisting of 11 Vol Loose Pleadings (Dkt #152,
                    154−163) and 1 Attachment to Loose Pleading 7 (Dkt #180: 180−6, 180−7,
                    and 180−8 in electronic format on 3 CDs) re 446 Notice of Appeal; USCA
                    Case No 12−3306. (tlf) (tlf).
05/30/2014   493    LETTER from Paul E. Benson . (Benson, Paul)
06/16/2014   494    BRIEF filed by Thyssenkrupp Waupaca Inc Defendant's Brief on the Meaning
                    of the "Required by The Nature of the Work" Legal Standard, as Applied in
                    This Case. (Benson, Paul)
06/16/2014   495    BRIEF filed by All Plaintiffs Plaintiffs' Statement Regarding the "Nature of
                    the Work" Legal Standard. (Snodgrass, T)
06/30/2014   496
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 52 of 64 Document 1-1
                    RESPONSE filed by Thyssenkrupp Waupaca Inc re 495 Brief (Non−Motion)
                    (Attachments: # 1 Exhibit A − Defendant−Appellee's Motion for Stay of
                    Mandate Pending Filing of a Petition for Certiorari, # 2 Exhibit B − Wrongly
                    Decided Cases Using Plaintiffs' "Merely Potentially Unsafe" Legal
                    Standard)(Benson, Paul)
06/30/2014   497    REPLY filed by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo
                    Lantz re 494 Brief (Non−Motion) Plaintiffs' Statement Regarding the "Nature
                    of the Work" Legal Standard. (Snodgrass, T)
07/01/2014   498    LETTER from Joseph Louis Olson Regarding Docket #469. (Olson, Joseph)
07/02/2014   499    ORDER DENYING 498 Letter request to strike [496−2] Wrongly Decided
                    Cases Using Plaintiffs Merely Potentially Unsafe Legal Standard, filed by
                    Thyssenkrupp Waupaca Inc, issued as part of its briefing as directed in 487
                    Hearing directing parties to submit additional briefing on nature of the work
                    legal standard, signed by Chief Judge William C Griesbach on 07/02/2014.
                    Instead, the Court will allow Plaintiffs ten days to file an additional response
                    to Defendants non−complying exhibit, limited to five pages. See Order for full
                    detail. SEE ORDER FOR FULL DETAIL. (cc: all counsel)(Griesbach,
                    William)
07/14/2014   500    RESPONSE filed by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo
                    Lantz re 499 Order,, to Waupaca's Exhibit B (ECF No. 496−2) (Snodgrass, T)
08/05/2014   501    LETTER from Paul E. Benson . (Attachments: # 1 Exhibit Attachment 1 −
                    Letter to Attorney T. Joseph Snodgrass from the Supreme Court of the United
                    States, Office of the Clerk, Dated July 28, 2014, regarding Court's request for
                    a response to Petition for a Writ of Certiorari, # 2 Exhibit Attachment 2 −
                    Petition for a Writ of Certiorari Dated July 1, 2014)(Benson, Paul)
10/15/2014   502    LETTER from Paul E. Benson Supreme Court of United States Status after
                    Reply. (Attachments: # 1 Supplement Brief of Amici Curiae in Support of
                    Waupaca's Petition, # 2 Supplement Reply Brief to Petition for Writ of
                    Certiorari)(Benson, Paul)
11/03/2014   503    LETTER from Paul E. Benson regarding U.S. Supreme Court Denies Petition.
                    (Benson, Paul)
11/25/2014   504    DECISION AND ORDER regarding the "nature of the work" legal standard.
                    See Order for detail. The Clerk is directed to set this matter on the court's
                    calendar for a telephone conference to discuss further scheduling after the
                    parties have had an opportunity to confer with each other. Signed by Chief
                    Judge William C Griesbach on 11/25/2014. (cc: all counsel) (Griesbach,
                    William)
12/04/2014          NOTICE of Hearing: (cc: all counsel)Telephone Scheduling Conference set
                    for 12/23/2014 02:30 PM before Chief Judge William C Griesbach. As the
                    court will initiate the call, Counsel are to provide the number at which they
                    can be reached to the Office of the Clerk. Notice may be provided by
                    telephone at 920−455−7381 or by email at
                    wied_clerks_gb@wied.uscourts.gov.(cav)
12/23/2014   505    Minute Entry for proceedings held before Chief Judge William C Griesbach:
                    Telephone Conference held on 12/23/2014. Telephone Conference set for

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 53 of 64 Document 1-1
                    3/9/2015 04:00 PM before Chief Judge William C Griesbach. (Tape #122314)
                    (aw) (Entered: 12/24/2014)
01/05/2015   506    TRANSCRIPT REQUEST for Telephone Conference held on 12/23/2014
                    before Judge William C Griesbach. (tlf)
01/05/2015   507    MOTION to Sever and Transfer by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz. (Attachments: # 1 Text of Proposed Order)(Snodgrass,
                    T)
01/05/2015   508    BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz re 507 MOTION to Sever and Transfer . (Snodgrass, T)
01/05/2015   509    AFFIDAVIT of T. Joseph Snodgrass in Support of Plaintiffs' Motion to Sever
                    and Transfer. (Attachments: # 1 Exhibit A − Happy's Pizza Jt Motion to
                    Transfer Venue, # 2 Exhibit B − unpublished opinions)(Snodgrass, T)
01/05/2015   510    CERTIFICATE OF SERVICE by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz (Snodgrass, T)
01/08/2015   511    TRANSCRIPT of TELEPHONE CONFERENCE held on 12/23/2014 before
                    Judge William Griesbach Court Reporter/Transcriber John Schindhelm,
                    Contact at www.johnschindhelm.com to order directly... Or. Transcripts may
                    be purchased using the Transcript Order Form found on our website or viewed
                    at the court public terminal. NOTICE RE REDACTION OF
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov Redaction Statement due 2/2/2015. Redacted
                    Transcript Deadline set for 2/12/2015. Release of Transcript Restriction set for
                    4/13/2015. (Schindhelm, John)
01/26/2015   512    RESPONSE to Motion filed by Thyssenkrupp Waupaca Inc re 507 MOTION
                    to Sever and Transfer . (Attachments: # 1 Supplement Addenda − Cottle v.
                    Falcon Holdings Mgmt., LLC)(Benson, Paul)
01/26/2015   513    MOTION to Compel Production of Foundry Worker MSDS Database by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. (Attachments:
                    # 1 Text of Proposed Order)(Snodgrass, T)
01/26/2015   514    BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz re 513 MOTION to Compel Production of Foundry Worker
                    MSDS Database . (Snodgrass, T)
01/26/2015   515    AFFIDAVIT of T. Joseph Snodgrass in Support of Plaintiffs' Motion to
                    Compel Production of Foundry Worker MSDS Database. (Attachments: # 1
                    Exhibit A − 12/3/14 Letter, # 2 Exhibit B − 7/16/14 Letter, # 3 Exhibit C −
                    7/28/14 Letter, # 4 Exhibit D − 8/28/14 Letter, # 5 Exhibit E − Declaration of
                    Daniel Leavitt)(Snodgrass, T)
01/26/2015   516    CERTIFICATE OF SERVICE by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz to Plaintiffs' Motion to Compel Production of Foundry
                    Worker MSDS Database (Snodgrass, T)
02/09/2015   517    REPLY BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 507 MOTION to Sever and Transfer . (Snodgrass, T)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 54 of 64 Document 1-1
02/09/2015   518    AFFIDAVIT of T. Joseph Snodgrass in Support of Plaintiffs' Reply
                    Memorandum in Support of Motion to Sever and Transfer. (Attachments: # 1
                    Exhibit A − Service letter dated 1/16/09, # 2 Exhibit B − Pls' Notice of Rule
                    30(b)(1) Deposition dated 12/16/11, # 3 Exhibit C − judicial caseload profile,
                    # 4 Exhibit List D − unpublished opinions)(Snodgrass, T)
02/09/2015   519    CERTIFICATE OF SERVICE by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz to Plaintiffs' Reply in Support of Their Motion to Sever
                    and Transfer (Snodgrass, T)
02/12/2015   520    DECISION AND ORDER denying 507 Motion to Sever and Transfer; signed
                    by Chief Judge William C Griesbach on 2/11/2015. (cc: all counsel)
                    (Griesbach, William)
02/20/2015   521    MOTION for Reconsideration of the Courts November 25, 2014 Decision and
                    Order by Thyssenkrupp Waupaca Inc. (Benson, Paul)
02/20/2015   522    BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 521 MOTION for
                    Reconsideration of the Courts November 25, 2014 Decision and Order .
                    (Benson, Paul)
02/20/2015   523    February 20, 2015 DECLARATION of Paul E. Benson (Attachments: # 1
                    Exhibit A − Unreported Cases cited in Defendants Brief in Support of Motion
                    for Reconsideration of the Courts November 25, 2014 Decision and
                    Order)(Benson, Paul)
02/23/2015   524    BRIEF in Opposition filed by Thyssenkrupp Waupaca Inc re 513 MOTION to
                    Compel Production of Foundry Worker MSDS Database . (Benson, Paul)
02/23/2015   525    February 23, 2015 DECLARATION of Paul E. Benson (Attachments: # 1
                    Exhibit A − Letter from Attorney Snodgrass to Attorney Benson dated July 9,
                    2014., # 2 Exhibit B − Letter from Attorney Benson to Attorney Snodgrass
                    dated July 16, 2014, # 3 Exhibit C − Email from Attorney Snodgrass to
                    Attorney Benson dated July 21, 2014, # 4 Exhibit D − Letter from Attorney
                    Benson to Attorney Snodgrass dated July 28, 2014, # 5 Exhibit E − Letter
                    from Attorney Snodgrass to Attorney Benson dated August 8, 2014, # 6
                    Exhibit F − Letter from Attorney Benson to Attorney Snodgrass dated August
                    28, 2014, # 7 Exhibit G − Letter from Attorney Snodgrass to Attorney Benson
                    dated September 16, 2014, # 8 Exhibit H − Letter from Attorney Benson to
                    Attorney Snodgrass dated October 1, 2014, # 9 Exhibit I − Email from
                    Attorney Snodgrass to Attorney Benson dated October 16, 2014, # 10 Exhibit
                    J − Email from Attorney Snodgrass to Attorney Benson dated October 16,
                    2014, # 11 Exhibit K − Email from Attorney Snodgrass to Attorney Benson
                    dated October 27, 2014, # 12 Exhibit L − Email from Attorney Benson to
                    Attorney Snodgrass dated October 30, 2014, # 13 Exhibit M − Email from
                    Attorney Snodgrass to Attorney Benson dated November 3, 2014, # 14 Exhibit
                    N − Letter from Attorney Snodgrass to Attorney Benson dated November 7,
                    2014, # 15 Exhibit O − Letter from Attorney Benson to Attorney Snodgrass
                    dated December 3, 2014)(Benson, Paul)
02/23/2015   526    2/23/15 DECLARATION of Bryant Esch (Benson, Paul)
02/23/2015   527    2/23/15 DECLARATION of Nicole Lehman (Benson, Paul)
03/05/2015   528

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 55 of 64 Document 1-1
                    STIPULATION of the Parties to Extend Time for Filing Plaintiffs' Reply Brief
                    in Support of Motion to Compel Production of Foundry Worker MSSDS
                    Database (ECF No. 513) by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz. (Snodgrass, T)
03/06/2015          TEXT ONLY ORDER approving 528 Stipulation and GRANTING requested
                    extension of time to file Reply Brief to 513 , filed by Harley Granius, Ryan
                    DeKeyser, Carlo Lantz, Thomas Cooper, signed by Chief Judge William C
                    Griesbach on 03/06/2015. (cc: all counsel)(Griesbach, William)
03/09/2015   529    DECISION AND ORDER denying 521 Motion for Reconsideration signed by
                    Chief Judge William C Griesbach on 3/9/2015. (cc: all counsel) (Griesbach,
                    William)
03/09/2015   530    Minute Entry for proceedings held before Chief Judge William C Griesbach:
                    Telephone Conference held on 3/9/2015. Decertification and class certification
                    motions due by 7/15/2015. (Tape #030915) (cav) (Entered: 03/10/2015)
03/13/2015   531    REPLY BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 513 MOTION to Compel Production of Foundry
                    Worker MSDS Database . (Snodgrass, T)
03/13/2015   532    AFFIDAVIT of T. Joseph Snodgrass in Support of Plaintiffs' Reply to its
                    Motion to Compel Production of Foundry Worker MSDS Database.
                    (Attachments: # 1 Exhibit A − 10/30/14 Benson Letter to Snodgrass, # 2
                    Exhibit B − unpublished opinions)(Snodgrass, T)
04/08/2015   533    MOTION for Order Certifying an Interlocutory Appeal from this Court's
                    March 9, 2015 Order by Thyssenkrupp Waupaca Inc. (Benson, Paul)
04/08/2015   534    BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 533 MOTION for
                    Order Certifying an Interlocutory Appeal from this Court's March 9, 2015
                    Order . (Benson, Paul)
04/08/2015   535    DECLARATION of Paul E. Benson (Attachments: # 1 Exhibit A:
                    Unpublished Cases)(Benson, Paul)
04/10/2015   536    DECISION AND ORDER GRANTING 513 Motion to Compel signed by
                    Chief Judge William C Griesbach on April 10, 2015. See attached order. (cc:
                    all counsel) (Griesbach, William)
04/10/2015   537    ORDER DENYING 533 Motion for Certification of Interlocutory Appeal,
                    signed by Chief Judge William C Griesbach on April 10, 2015. See attached
                    order. (cc: all counsel) (Griesbach, William)
07/01/2015   538    STIPULATION of the Parties to Extend Time for Filing Motions for Rule 23
                    Class Certification and Decertification of the FLSA Collective Action Class by
                    Thyssenkrupp Waupaca Inc. (Attachments: # 1 Text of Proposed
                    Order)(Benson, Paul)
07/02/2015          TEXT ONLY ORDER approving 538 Stipulation filed by Thyssenkrupp
                    Waupaca Inc, signed by Chief Judge William C Griesbach on 07/02/2015. The
                    deadline for filing the Plaintiffs motion for Rule 23 class certification and the
                    Defendants motion for decertification of the FLSA collective action class is
                    extended to July 31, 2015. (cc: all counsel)(Griesbach, William)


    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 56 of 64 Document 1-1
07/24/2015   539    STIPULATION of the Parties to Enlarge the Page Limit for Rule 23 Class
                    Certification and Decertification of the FLSA Collective Action Class by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz. (Attachments:
                    # 1 Text of Proposed Order)(Regan, Anne)
07/27/2015          TEXT ONLY ORDER approving 539 Stipulation to expand page limitations,
                    filed by Harley Granius, Ryan DeKeyser, Carlo Lantz, and Thomas Cooper,
                    signed by Chief Judge William C Griesbach on 07/27/2015. The page limit for
                    Plaintiffs Motion for Rule 23 class certification, and Defendants motion for
                    decertification of the FLSA collective action class is enlarged to thirty−five
                    pages. (cc: all counsel)(Griesbach, William)
07/27/2015   540    STIPULATION of the Parties to Further Extend Time for Filing Motions for
                    Rule 23 Class Certification and Decertification of the FLSA Collective Action
                    Class by Thyssenkrupp Waupaca Inc. (Attachments: # 1 Text of Proposed
                    Order)(Benson, Paul)
07/28/2015          TEXT ONLY ORDER approving 540 Stipulation, filed by Thyssenkrupp
                    Waupaca Inc., signed by Chief Judge William C Griesbach on 07/28/2015.
                    The deadline for filing the Plaintiffs motion for Rule 23 class certification and
                    the Defendants motion for decertification of the FLSA collective action class
                    is moved to August 7, 2015. (cc: all counsel)(Griesbach, William)
08/07/2015   541    MOTION for Order Defendant's Notice of Motion and Motion for
                    Decertification of The Collective Action Class by Thyssenkrupp Waupaca Inc.
                    (Benson, Paul)
08/07/2015   542    8/7/15 DECLARATION of Brian Kaminske (Benson, Paul)
08/07/2015   543    8/7/15 DECLARATION of Larry Chandler (Benson, Paul)
08/07/2015   544    8/7/15 DECLARATION of Phillip Eatherton (Benson, Paul)
08/07/2015   545    8/7/15 DECLARATION of Gary Greubel (Benson, Paul)
08/07/2015   546    8/7/15 DECLARATION of Barbara Flees (Benson, Paul)
08/07/2015   547    MOTION to Certify Class Pursuant to Fed. R. Civ. P. 23 by Thomas Cooper,
                    Ryan DeKeyser, Harley Granius, Carlo Lantz. (Attachments: # 1 Text of
                    Proposed Order)(Snodgrass, T)
08/07/2015   548    BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley Granius,
                    Carlo Lantz re 547 MOTION to Certify Class Pursuant to Fed. R. Civ. P. 23 .
                    (Snodgrass, T)
08/07/2015   549    8/7/15 DECLARATION of Dr. Mark A. Roberts, M.D., Ph.D., FACOEM
                    (Attachments: # 1 Exhibit A − Cirriculum Vitae of Dr. Mark A. Roberts, # 2
                    Exhibit B − EPA Fact Sheet − Risk Assessment)(Benson, Paul)
08/07/2015   550    8/7/15 DECLARATION of Thomas J. Slavin, MS, MBA, CIH, CSHM, CSP,
                    CPEA (Attachments: # 1 Exhibit A − Cirriculum Vitae of Thomas J. Slavin, #
                    2 Exhibit B − List of Hygiene Data−Materials Relied Upon, # 3 Exhibit C −
                    References, # 4 Exhibit D − Tables A−I through A−VI)(Benson, Paul)
08/07/2015   551    8/7/15 DECLARATION of Bryant Esch (Attachments: # 1 Exhibit A − Plant I
                    Overview, # 2 Exhibit B − Plant 23 Overview, # 3 Exhibit C − Plant 4
                    Overview, # 4 Exhibit D − Plant 5 Overview, # 5 Exhibit E − Plant 6
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 57 of 64 Document 1-1
                    Overview)(Benson, Paul)
08/07/2015   552    AFFIDAVIT of T. Joseph Snodgrass in support of Plaintiffs' Motion for Class
                    Action Certification Pursuant to Fed. R. Civ. P. 23. (Attachments: # 1 Exhibit
                    List, # 2 Exhibit A − Dkt. 373−3, Ex. C, D & E, # 3 Exhibit B − Dkt. 373−3,
                    Ex F, # 4 Exhibit C − Dkt. 373−3, Ex. G, # 5 Exhibit D − Dkt. 373−3, Ex. H, #
                    6 Exhibit E − Dkt. 373−3, Ex. I, # 7 Exhibit F − Dkt. 373−3, Ex. J, # 8 Exhibit
                    G − Leonard depo excerpts, # 9 Exhibit H − Dkt. 435, Ex. F, # 10 Exhibit I −
                    Dkt. 435, Ex. G, # 11 Exhibit J − Dkt. 423−13, Ex. II, # 12 Exhibit K − Dkt.
                    423−14, Ex. JJ, # 13 Exhibit L − Dkt. 423−15, Ex. KK, # 14 Exhibit M −
                    Armstrong declaration, # 15 Exhibit N − Cummings declaration, # 16 Exhibit
                    O − Glenetski declaration, # 17 Exhibit P − Riley declaration, # 18 Exhibit Q
                    − Zynda declaration, # 19 Exhibit R − Cooper deposition excerpts, # 20
                    Exhibit S − DeKeyser deposition excerpts, # 21 Exhibit T − Lantz deposition
                    excerpts, # 22 Exhibit U − Esch deposition excerpts, # 23 Exhibit V − Dkt.
                    405, # 24 Exhibit W − Dkt. 405−3, Ex. 2, # 25 Exhibit X − Dkt. 181, # 26
                    Exhibit Y − Dkt. 398−4, Ex. B, # 27 Exhibit Z − Dkt. 398−5, Ex. C, # 28
                    Exhibit AA − Dkt. 398−7, Ex. E, # 29 Exhibit BB − Dkt. 410, # 30 Exhibit CC
                    − Dkt. 220−16, Ex. CCC, # 31 Exhibit DD − Dkt. 220−21, Ex. HHH, # 32
                    Exhibit EE − 6/5/15 Benson Letter, # 33 Exhibit FF − Def's Obj/Resp to Pls'
                    4th Set of Interrogs, # 34 Exhibit GG − Cooper declaration, # 35 Exhibit HH −
                    Dkt. 44−3, Ex. B, # 36 Exhibit II − Dkt. 44−5, Ex. D, # 37 Exhibit JJ − Dkt.
                    74, # 38 Exhibit KK − Dkt. 73, # 39 Exhibit LL − Dkt. 373−5, Ex. V, # 40
                    Exhibit MM − Dkt. 373−5, Ex. W, # 41 Exhibit NN − Dkt. 373−5, Ex. X, # 42
                    Exhibit OO − Dkt. 398−8, Ex. F, # 43 Exhibit PP − Rosenman expert report, #
                    44 Exhibit QQ − Nassetta expert report, # 45 Exhibit RR − Roberts expert
                    report, # 46 Exhibit SS − Mosher expert report, # 47 Exhibit TT − firm
                    resumes, # 48 Exhibit UU − selected produced docs, # 49 Exhibit WW − Dkt.
                    373−3, Ex. A, # 50 Exhibit unpublished cases)(Snodgrass, T)
08/07/2015   553    ATTACHMENTS Ex. VV to the Affidavit of T. Joseph Snodgrass in Support of
                    Plaintiffs' Motion for Class Certification Pursuant to Fed. R. Civ. P. 23 by
                    Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz re 552
                    Affidavit,,,,,,,,. This document and/or certain attachments are SEALED and
                    only viewable by permission of the court(Snodgrass, T)
08/07/2015   554    BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 541 MOTION for
                    Order Defendant's Notice of Motion and Motion for Decertification of The
                    Collective Action Class . (Benson, Paul)
08/07/2015   555    8/7/15 DECLARATION of Benjamin A. Kaplan (Attachments: # 1 Exhibit A
                    − batchgeo.com map for the Plant 1 opt−in plaintiffs' addresses, # 2 Exhibit B
                    − batchgeo.com map for the Plant 2/3 opt−in plaintiffs' addresses, # 3 Exhibit
                    C − batchgeo.com map for the Plant 4 opt−in plaintiffs' addresses, # 4 Exhibit
                    D − batchgeo.com map for Plant 5 opt−in plaintiffs' addresses, # 5 Exhibit E −
                    batchgeo.com map for the Plant 6 opt−in plaintiffs' addresses, # 6 Exhibit F −
                    Letter dated 6/10/15 from plaintiffs' counsel Joe Snodgrass to Paul Benson, # 7
                    Exhibit G − Part 1 Pages 1−20 6/25/15 Deposition Transcript of Ryan
                    DeKeyser, # 8 Exhibit G − Part 2 Pages 21−40 6/25/15 Deposition Transcript
                    of Ryan DeKeyser, # 9 Exhibit H − Part 1 Pages 1−20 6/25/15 Deposition
                    Transcript of Thomas Cooper, # 10 Exhibit H − Part 2 Pages 21−42 6/25/15
                    Deposition Transcript of Thomas Cooper, # 11 Exhibit I − Part 1 Pages 1−20
                    6/26/15 Deposition Transcript of Carlo Lantz, # 12 Exhibit I − Part 2 Pages

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 58 of 64 Document 1-1
                    21−33 6/26/15 Deposition Transcript of Carlo Lantz, # 13 Exhibit J − Part 1
                    Pages 1−75 Unpublised Cases cited in Defendant's Brief in Support of its
                    Motion for an Order Decertifying the Collective Action Class, # 14 Exhibit J −
                    Part 2 Pages 76−150 Unpublised Cases cited in Defendant's Brief in Support
                    of its Motion for an Order Decertifying the Collective Action Class, # 15
                    Exhibit J − Part 3 Pages 151−214 Unpublised Cases cited in Defendant's Brief
                    in Support of its Motion for an Order Decertifying the Collective Action
                    Class)(Benson, Paul)
08/07/2015   556    8/7/15 DECLARATION of Joey D. Leonard (Benson, Paul)
08/18/2015   557    STIPULATION of the Parties Regarding the Time for Filing Response
                    Materials to the Pending Motions for Rule 23 Class Certification and
                    Decertification of the FLSA Collective Action Class by Thyssenkrupp
                    Waupaca Inc. (Attachments: # 1 Text of Proposed Order)(Benson, Paul)
08/19/2015          TEXT ONLY ORDER approving 557 Stipulation requesting extension, filed
                    by Thyssenkrupp Waupaca Inc., signed by Chief Judge William C Griesbach
                    on 08/19/2015. The time for the parties to file materials in response to
                    Plaintiffs motion for Rule 23 class certification and Defendants motion for
                    decertification of the FLSA collective action class is extended to October 1,
                    2015. (cc: all counsel)(Griesbach, William)
09/22/2015   558    STIPULATION of the Parties to Extend Time for Filing Response Materials
                    to the Pending Motions For Rule 23 Class Certification and Decertification of
                    the FLSA Collective Action Class by Thyssenkrupp Waupaca Inc.
                    (Attachments: # 1 Text of Proposed Order)(Benson, Paul)
09/23/2015          TEXT ONLY ORDER approving 558 Stipulation and GRANTING an
                    extension of time for the filing of response briefs to 541 Motion for
                    Decertification and 547 Motion to Certify Class, filed by Thyssenkrupp
                    Waupaca Inc., signed by Chief Judge William C Griesbach on 09/23/2015.
                    (cc: all counsel)(Griesbach, William)
10/08/2015   559    BRIEF in Opposition filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 541 MOTION for Order Defendant's Notice of Motion
                    and Motion for Decertification of The Collective Action Class . (Regan, Anne)
10/08/2015   560    AFFIDAVIT of Anne T. Regan . (Attachments: # 1 Exhibit List, # 2 Exhibit
                    A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8
                    Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit L, # 13
                    Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit
                    Q)(Regan, Anne)
10/08/2015   561    ATTACHMENTS Ex. K to the Affidavit of Anne T. Regan by Thomas Cooper,
                    Ryan DeKeyser, Harley Granius, Carlo Lantz re 560 Affidavit,. This document
                    and/or certain attachments are SEALED and only viewable by permission of
                    the court(Regan, Anne)
10/08/2015   562    AFFIDAVIT of Monica Detert . (Regan, Anne)
10/08/2015   563    RESPONSE to Motion filed by Thyssenkrupp Waupaca Inc re 547 MOTION
                    to Certify Class Pursuant to Fed. R. Civ. P. 23 Defendant's Brief in Response.
                    (Benson, Paul)
10/08/2015   564
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 59 of 64 Document 1-1
                    10/8/15 DECLARATION of THOMAS J. SLAVIN, MS, MBA, CIH, CSHM,
                    CSP, CPEA (Attachments: # 1 Exhibit A − Jt. Industrial Hygiene Assoc.
                    Member Ethical Principles, # 2 Exhibit B − OSHA Log Dermatitis
                    Cases)(Benson, Paul)
10/08/2015   565    10/8/15 DECLARATION of DR. MARK A. ROBERTS, M.D., Ph.D.,
                    FACOEM (Benson, Paul)
10/08/2015   566    10/8/15 DECLARATION of Joey D. Leonard (Benson, Paul)
10/08/2015   567    10/8/15 DECLARATION of Benjamin A. Kaplan (Attachments: # 1 Exhibit A
                    April 20, 2015 letter sent by Paul Benson, # 2 Exhibit B − April 24, 2015 letter
                    sent by plaintiffs counsel Joe Snodgrass, # 3 Exhibit C − May 4, 2015 letter
                    sent by Paul Benson, # 4 Exhibit D − May 5, 2015 letter sent by plaintiffs
                    counsel Joe Snodgrass, # 5 Exhibit E − May 19, 2015 letter sent by Paul
                    Benson, # 6 Exhibit F − May 26, 2015 sent by Paul Benson, # 7 Exhibit G −
                    May 29, 2015 letter sent by Paul, # 8 Exhibit H − June 3, 2015 letter sent by
                    plaintiffs counsel Joe Snodgrass, # 9 Exhibit I − June 5, 2015 letter sent by
                    Paul Benson, # 10 Exhibit J − June 5, 2015 letter sent by Paul Benson, # 11
                    Exhibit K − Viet et al. eds. 2008. Guideline on Occupational Exposure
                    Reconstruction., # 12 Exhibit L − (1 of 3) Keil et al. eds. 2009. Mathematical
                    Models for Estimating Occupational Exposures to Chemicals., # 13 Exhibit L
                    − (2 of 3) Keil et al. eds. 2009. Mathematical Models for Estimating
                    Occupational Exposures to Chemicals., # 14 Exhibit L − (3 of 3) Keil et al.
                    eds. 2009. Mathematical Models for Estimating Occupational Exposures to
                    Chemicals., # 15 Exhibit M − Kromhout et al. 1993. A Comprehensive
                    Evaluation of Within− And Between−Worker Components of Occupational
                    Exposure to Chemical Agents., # 16 Exhibit N − Rappaport et al. 1993.
                    Variation of Exposure Between Workers in Homogeneous Exposure Groups.,
                    # 17 Exhibit O − Westberg et al. 2005. Exposure to Low Molecular Weight
                    Isocyanates and Formaldehyde in Foundries Using Hot Box Core Binders., #
                    18 Exhibit P − Transcript from the September 18, 2015 deposition of Bryant
                    Esch, # 19 Exhibit Q − Transcript from the September 23, 2015 deposition of
                    John J. Cummings, # 20 Exhibit R − Transcript from the September 24, 2015
                    deposition of Joseph E. Glenetski, # 21 Exhibit S − Transcript from the
                    September 24, 2015 deposition of Dean P. Riley, Jr., # 22 Exhibit T −
                    Transcript from the September 23, 2015 deposition of Debra L. Wilde., # 23
                    Exhibit U − Transcript from the September 23, 2015 deposition of Paul S.
                    Zynda., # 24 Exhibit V − Risk Assessment of Spent Foundry Sands In
                    Soil−Related Applications prepared by the U.S. EPA and USDA, # 25 Exhibit
                    W − Unpublished Cases)(Benson, Paul) (Attachments 11 and 15−17 replaced
                    on 10/14/2015 with corrected copies of Exhibits K, M, N and O.) (tlf).
                    (Attachment 18 replaced on 12/15/2015 with corrected copy of Exhibit P.)
                    (tlf).
10/19/2015   568    STIPULATION of the Parties Regarding the Time for Filing Reply Materials
                    to the Pending Motions for Rule 23 Class Certification and Decertification of
                    the FLSA Collective Action Class by Thyssenkrupp Waupaca Inc.
                    (Attachments: # 1 Text of Proposed Order)(Benson, Paul)
10/20/2015          TEXT ONLY ORDER approving 568 Stipulation for extension to file brief,
                    filed by Thyssenkrupp Waupaca Inc., signed by Chief Judge William C
                    Griesbach on 10/20/2015. Plaintiffs' time to file their reply brief in support of

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 60 of 64 Document 1-1
                    Plaintiffs motion for Rule 23 class certification, and the time for the Defendant
                    to file its reply brief in support of Defendants motion for decertification of the
                    FLSA collective action class, is extended to November 12, 2015. Each party
                    shall be allowed to file a reply brief up to 20 pages in length. (cc: all
                    counsel)(Griesbach, William)
11/12/2015   569    REPLY BRIEF in Support filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 547 MOTION to Certify Class Pursuant to Fed. R.
                    Civ. P. 23 . (Snodgrass, T)
11/12/2015   570    AFFIDAVIT of T. Joseph Snodgrass in support of Plaintiffs' Reply to Their
                    Motion for Class Action Certification. (Attachments: # 1 Exhibit Index, # 2
                    Exhibit C − 3rd Armstrong Decl., # 3 Exhibit D − Esch depo excerpts, # 4
                    Exhibit E − Riley depo excerpts, # 5 Exhibit F − Glenetski depo excerpts, # 6
                    Exhibit G − Cummings depo excerpts, # 7 Exhibit H − Nassetta depo excerpts,
                    # 8 Exhibit I − Leonard depo excerpts, # 9 Exhibit J − Wilde depo excerpts, #
                    10 Exhibit K − unpublished opinions)(Snodgrass, T)
11/12/2015   571    ATTACHMENTS Exhibit A by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 570 Affidavit,,. This document and/or certain
                    attachments are restricted to case participants and attorneys of record should
                    use their efiling login and password to view this document(Snodgrass, T)
11/12/2015   572    ATTACHMENTS Exhibit B by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz re 570 Affidavit,,. This document and/or certain
                    attachments are restricted to case participants and attorneys of record should
                    use their efiling login and password to view this document(Snodgrass, T)
11/12/2015   573    REPLY BRIEF in Support filed by Thyssenkrupp Waupaca Inc re 541
                    MOTION for Order Defendant's Notice of Motion and Motion for
                    Decertification of The Collective Action Class . (Benson, Paul)
11/12/2015   574    DECLARATION of Thomas J. Slavin, MS, MBA, CIH, CSHM, CSP, CPEA
                    (Attachments: # 1 Exhibit A − Management and Exposure Categories (AIHA,
                    2015, p. 8), # 2 Exhibit B − Hierarchy of Controls (NIOSH 2015), # 3 Exhibit
                    C − Additional References Used in Response)(Benson, Paul)
11/12/2015   575    11/12/15 DECLARATION of Dr. Mark A. Roberts, M.D., Ph.D., FACOEM
                    (Benson, Paul)
11/12/2015   576    11/12/15 DECLARATION of Benjamin A. Kaplan in support of Defendants
                    Reply Brief in Support of Its Motion for an Order Decertifying the Collective
                    Action Class (Attachments: # 1 Exhibit A − Unpublished Cases not previously
                    provided at 555 and 567 )(Benson, Paul)
12/01/2015   577    NOTICE by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz of
                    Errata Filing Relating to Docket No. 548 (Attachments: # 1 Corrected Pls'
                    Rule 23 Memo of Law)(Snodgrass, T)
12/14/2015   578    Rule 7(h) Expedited Non−Dispositive MOTION to Expedite Unopposed
                    Motion for Leave to Substitute Insanter the Corrected Deposition Transcript of
                    Bryant Esch as Exhibit P to the October 8, 2015 Declaration of Benjamin A.
                    Kaplan at Dkt.# 567−18 by Thyssenkrupp Waupaca Inc. (Attachments: # 1
                    Exhibit 1 − Corrected Deposition Transcript of Bryant Esch as Ex. P to the
                    10/8/15 Declaration of Benjamin A. Kaplan [567−18])(Benson, Paul)

    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 61 of 64 Document 1-1
12/15/2015          TEXT ONLY ORDER granting 578 Rule 7(h) Expedited Non−Dispositive
                    MOTION to Expedite Unopposed Motion for Leave to Substitute Insanter the
                    Corrected Deposition Transcript of Bryant Esch as Exhibit P to the October 8,
                    2015 Declaration of Benjamin A. Kaplan at Dkt.# 567−18 by Thyssenkrupp
                    Waupaca Inc. The corrected deposition transcript has been attached to docket
                    entry 567 . (cc: all counsel) (Griesbach, William)
03/10/2016   579    LETTER from Attorney Anne T. Regan . (Attachments: # 1 Supplement
                    Unpublished Authority − United Food & Commerical Workers Union, Local
                    1473, et al. v. Hormel Foods Corporation, No. 2014AP1880, 2016 WL
                    785216)(Regan, Anne)
03/15/2016   580    LETTER from Paul E. Benson . (Benson, Paul)
03/30/2016   581    LETTER from Attorney Anne T. Regan . (Attachments: # 1 Supplement
                    Unpublished Authority − Tyson Foods, Inc. v. Bouaphakeo, −−−S.Ct.−−−,
                    2016 WL 1092414 (2016))(Regan, Anne)
03/31/2016   582    DECISION AND ORDER granting 547 Plaintiffs' Motion to Certify Class and
                    granting−in−part and denying−in−part 541 Defendant's Motion to De−Certify
                    Class. See order for detail. Proposed amended complaints for each subclass
                    shall be filed no later than May 6, 2016. The case is set for a telephone status
                    conference on May 16, 2016, at 9:30 a.m. Signed by Chief Judge William C
                    Griesbach on 3/31/2016. (cc: all counsel) (Griesbach, William)
03/31/2016          NOTICE of Hearing: (cc: all counsel) Telephone Conference set for 5/16/2016
                    09:30 AM in By Telephone before Chief Judge William C Griesbach. The
                    court will initiate the call. An appearance by telephone requires the person so
                    appearing to provide the telephone number at which he or she can be reached
                    to the Office of the Clerk by e−mail (wied_clerks_gb@wied.uscourts.gov) or
                    by telephone (920−455−7381) prior to the hearing date.(cav)
05/04/2016   583    LETTER from Paul E. Benson . (Benson, Paul)
05/06/2016   584    LETTER from Anne T. Regan . (Attachments: # 1 [Proposed] Amended
                    Complaint, # 2 [Proposed] Amended Complaint (Redline), # 3 [Proposed]
                    Indiana Complaint, # 4 [Proposed] Tennessee Complaint)(Regan, Anne)
05/13/2016   585    LETTER from Paul E. Benson Payment of Appellate Fees Required by Order.
                    (Attachments: # 1 Attachment−Check)(Benson, Paul)
05/16/2016   586    Minute Entry for proceedings held before Chief Judge William C Griesbach:
                    Status Conference held on 5/16/2016. The case is stayed pending the outcome
                    of the interlocutory appeal. (Tape #051616) (cav)
05/16/2016   587    NOTICE OF APPEAL as to 582 Order on Motion to Certify Class, 504 Order,
                    537 Order, 520 Order on Motion to Sever, and 529 Order on Motion for
                    Reconsideration by Thyssenkrupp Waupaca Inc. Filing Fee PAID $505,
                    receipt number GB4689004280. (cc: all counsel) (tlf)
05/16/2016   588    Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals re
                    587 Notice of Appeal. (tlf)
05/17/2016   589    USCA Case Number 16−2159 USCA Dekeyser 05/16/2016 re: 587 Notice of
                    Appeal, filed by Thyssenkrupp Waupaca Inc. (tp)


    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 62 of 64 Document 1-1
05/24/2016   590    MOTION to Withdraw as Attorney Anne T. Regan by Thomas Cooper, Ryan
                    DeKeyser, Harley Granius, Carlo Lantz. (Attachments: # 1 Text of Proposed
                    Order)(Rudd, John)
05/25/2016   591    ORDER re 590 MOTION to Withdraw as Attorney Anne T. Regan filed by
                    Harley Granius, Ryan DeKeyser, Carlo Lantz, Thomas Cooper (cc: all
                    counsel)(Griesbach, William)
10/14/2016   592    NOTICE by Thomas Cooper, Ryan DeKeyser, Harley Granius, Carlo Lantz of
                    Scott Stremkowski's Withdrawal of Consent to Participate (Rudd, John)
03/13/2017   593    Appeal Record Request received from 7th Cir. Re: USCA Case Number
                    16−2159. (tlf)
03/13/2017   594    Certified Record on Appeal Transmitted to US Court of Appeals consisting of
                    23 Vol Pleadings, 4 Vol Sealed Pleadings, 19 Loose Pleadings (Dkt #28, 66,
                    71, 212, 220, 240, 259, 278, 309, 373, 379, 398, 399, 423, 462, 552, 560, 567,
                    and 570), 12 Vol Transcripts (Dkt #140, 146, 202, 271, 320, 356, 376, 385,
                    391, 474, 490, and 511), and 6 Vol In−Camera (Dkt #153, 226, 249, 374, 426,
                    and 435) re 587 Notice of Appeal; USCA Case 16−2159. Documents
                    transmitted on 2 CDs via U.S. Mail. (cc: all counsel) (Attachments: # 1
                    Pleadings Index, # 2 Sealed Pleadings Index)(tlf) Record filed in USCA on
                    3/16/2017 (tlf).
04/11/2017   595    ORDER of USCA re 587 Notice of Appeal, filed by Thyssenkrupp Waupaca
                    Inc. The district court is directed to resend portions of the appellate record to
                    accommodate the sealing of Docket Nos. 317 and 317−1. Note: Files
                    transmitted to USCA on 4/11/2017. (tlf) Documents received and filed in
                    USCA on 4/12/2017 (tlf).
08/11/2017   596    USCA Mandate (certified copy) as to 587 Notice of Appeal filed by
                    Thyssenkrupp Waupaca Inc; USCA Number 16−2159. The judgment of the
                    district court is affirmed, with costs. (Attachments: # 1 Certified Opinion, # 2
                    Final Judgment, # 3 Order Denying Rehearing, # 4 Bill of Costs)(tlf)
08/14/2017   597    NOTICE of Hearing: Telephone Scheduling Conference set for 8/18/2017
                    09:00 AM before Chief Judge William C Griesbach. See attached notice for
                    participant instructions. (cc: all counsel)(tlf)
08/18/2017   598    Minute Entry for proceedings held before Chief Judge William C Griesbach:
                    Telephone Scheduling Conference held on 8/18/2017. (Tape #081817) (mac)
08/25/2017   599    SEE NO. 600 DOCUMENT REFILED WITH ATTACHED OPT−INS.
                    PROPOSED Order Severing and Transferring the Claims of the
                    Non−Wisconsin Opt−Ins filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz. (Attachments: # 1 Exhibit 1 − Wisconsin Amended
                    Complaint, # 2 Exhibit 2 − Indiana Complaint, # 3 Exhibit 3 − Tennessee
                    Complaint)(Rudd, John) Modified on 9/5/2017 (lh).
09/01/2017   600    JOINT PROPOSED Order Severing and Transfering the Claims of the
                    Non−Wisconsin Opt−Ins filed by Thomas Cooper, Ryan DeKeyser, Harley
                    Granius, Carlo Lantz. (Attachments: # 1 Exhibit 1 − WI Amended Complaint,
                    # 2 Exhibit 2 − IN Complaint w/Opt−Ins, # 3 Exhibit 3 − TN Complaint
                    w/Opt−Ins)(Snodgrass, T) Modified as joint (agreed upon) on 9/5/2017 (lh).
09/06/2017   601    LETTER from Paul E. Benson . (Benson, Paul)
    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 63 of 64 Document 1-1
09/07/2017   602    65 ORDER SEVERING AND TRANSFERRING CLAIMS OF
                       NON−WISCONSIN OPT−INS signed by Chief Judge William C Griesbach
                       on 9/7/2017. The claims of opt−in plaintiffs relating to Defendant's foundry in
                       Tell City, IN are severed and transferred to USDC−SDIN, Evansville Division
                       for further proceedings. The claims of opt−in plaintiffs relating to Defendant's
                       foundry in Etowah, TN are severed and transferred to USDC−EDTN,
                       Chattanooga Division for further proceedings. Defendant's time to respond to
                       the operative complaints in any transferee district is 30 days from the date the
                       electronic docket indicates the case has been transferred. Defendant shall
                       respond to the Wisconsin complaint within 30 days of this Order.
                       (Attachments: # 1 Ex 1 Wisconsin Amended Complaint, # 2 Ex 2 Indiana
                       Complaint with attached Opt−In Forms, # 3 Ex 3 Tennessee Complaint with
                       attached Opt−In Forms) (cc: all counsel)(Griesbach, William)
09/07/2017   603        COMPLAINT IN COLLECTIVE ACTION filed by all Plaintiffs against
                        Waupaca Foundry to be filed in USDC−SDIN, Evansville Division.
                        (Attachments: # 1 Opt−In Forms)(tlf)
09/07/2017   604   435 COMPLAINT IN COLLECTIVE ACTION filed by all Plaintiffs against
                       Waupaca Foundry to be filed in USDC−EDTN, Chattanooga Division.
                       (Attachments: # 1 Opt−In Forms)(tlf)
09/07/2017   605        TEXT ONLY ORDER GRANTING 601 Letter request for extension to
                        September 15, 2017 to submit proposals, signed by Chief Judge William C
                        Griesbach on 09/07/2017. (cc: all counsel)(Griesbach, William)




    Case 1:18-cv-01193-WCG Filed 09/07/17 Page 64 of 64 Document 1-1
